            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 1 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  TLPGM9S                  Yes                       Personal                   4/26/2021                1
  Z3OFEBQ                  Yes                       Personal                   4/26/2021                1
  E2YN2FR                  Yes                       Personal                   4/26/2021                1
  NX3QUXJ                  Yes                       Personal                   4/26/2021                1
  63JS0ZQ                  Yes                       Personal                   4/26/2021                1
  DFFV88T                  Yes                       Personal                   4/26/2021                1
  Z5NSPSX                  Yes                       Personal                   4/27/2021                1
  OYTS3VT                  Yes                       Personal                   4/27/2021                1
  3O4HHSL                  Yes                       Personal                   4/26/2021                1
  818Q8AA                  Yes                       Personal                   4/26/2021                1
  4S6D3Y0                  Yes                       Personal                   4/26/2021                1
  5L9Z0QK                  Yes                       Personal                   4/26/2021                1
  MZEHXSY                  Yes                       Personal                   4/26/2021                1
  FGJA7Z6                  Yes                       Personal                   4/26/2021                1
  IDSSASW                  Yes                       Personal                   4/26/2021                1
  GOGP8C0                  Yes                       Personal                   4/26/2021                1
  SF7ZQ63                  Yes                       Personal                   4/26/2021                1
  YI4RE97                  Yes                       Personal                   4/26/2021                1
  4QP1LCR                  Yes                       Personal                   4/26/2021                1
  20CDILX                  Yes                       Personal                   4/27/2021                1
  WRF7O2C                  Yes                       Personal                   4/26/2021                1
  QWBLH8N                  Yes                       Personal                   4/26/2021                1
  G8PX539                  Yes                       Personal                   4/27/2021                1
  U14QE0N                  Yes                       Personal                   4/26/2021                1
  5MH7U4P                  Yes                       Personal                   4/26/2021                1
  B60QBFL                  Yes                       Personal                   4/26/2021                1
  EYSMKSU                  Yes                       Personal                   4/26/2021                1
  XULFLWF                  Yes                       Personal                   4/26/2021                1
  OX80HKF                  Yes                       Personal                   4/26/2021                1
  0VN3VF9                  Yes                       Personal                   4/26/2021                1
  QFAXCFC                  Yes                       Personal                   4/26/2021                1
  HL4L1UB                  Yes                       Personal                   4/27/2021                1
  9UD0RWK                  Yes                       Personal                   4/27/2021                1
  SWN5HTN                  Yes                       Personal                   4/26/2021                1
  3WSQ8N3                  Yes                       Personal                   4/26/2021                1
  A93JY2O                  Yes                       Personal                   4/26/2021                1
  3IUG1ZV                  Yes                       Personal                   4/27/2021                1
  X7UFWTF                  Yes                       Personal                   4/27/2021                1
  WFRTJ1E                  Yes                       Personal                   4/26/2021                1
  HNCK4XZ                  Yes                       Personal                   4/26/2021                1
  POXJ04N                  Yes                       Personal                   4/26/2021                1
  FRO55WL                  Yes                       Personal                   4/26/2021                1
  VQRVDUJ                  Yes                       Personal                   4/27/2021                1
  N21Q5ZZ                  Yes                       Personal                   4/27/2021                1
  ZXNDAF4                  Yes                       Personal                   4/27/2021                1
  IJE36N6                  Yes                       Personal                   4/26/2021                1
  TBLVIKY                  Yes                       Personal                   4/27/2021                1
  886ND2B                  Yes                       Personal                   4/26/2021                1
  JS6OGDH                  Yes                       Personal                   4/27/2021                1
  HUJBO6W                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 2 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  3Y9D1SW                  Yes                       Personal                   4/27/2021                1
  9M43ZI4                  Yes                       Personal                   4/26/2021                1
  YEGHFY6                  Yes                       Personal                   4/26/2021                1
  K0B8113                  Yes                       Personal                   4/26/2021                1
  UTYB9A3                  Yes                       Personal                   4/26/2021                1
  Z65I4EC                  Yes                       Personal                   4/27/2021                1
  86H6DFL                  Yes                       Personal                   4/26/2021                1
  Q1OMBMC                  Yes                       Personal                   4/27/2021                1
  5IOFIN1                  Yes                       Personal                   4/26/2021                1
  JW0AYZ9                  Yes                       Personal                   4/26/2021                1
  L46DUDM                  Yes                       Personal                   4/26/2021                1
  P4RHF8H                  Yes                       Personal                   4/25/2021                1
  Z2TU1IA                  Yes                       Personal                   4/26/2021                1
  SJ2BS73                  Yes                       Personal                   4/27/2021                1
  P166XZ5                  Yes                       Personal                   4/26/2021                1
  JMD00HO                  Yes                       Personal                   4/26/2021                1
  U21OHUT                  Yes                       Personal                   4/26/2021                1
  1TJ0WD7                  Yes                       Personal                   4/26/2021                1
  CVP2QTF                  Yes                       Personal                   4/26/2021                1
  0K63K3Y                  Yes                       Personal                   4/26/2021                1
  P0UDREK                  Yes                       Personal                   4/24/2021                1
  FJE4KC9                  Yes                       Personal                   4/27/2021                1
  3WNIC5O                  Yes                       Personal                   4/26/2021                1
  YL2A3X4                  Yes                       Personal                   4/26/2021                1
  OX8Z1IK                  Yes                       Personal                   4/27/2021                1
  BNZS9ZO                  Yes                       Personal                   4/26/2021                1
  Z6BSXKT                  Yes                       Personal                   4/27/2021                1
  U07AE4B                  Yes                       Personal                   4/27/2021                1
  O20LF4Y                  Yes                       Personal                   4/26/2021                1
  WWKTA8F                  Yes                       Personal                   4/26/2021                1
  6P8PRJH                  Yes                       Personal                   4/26/2021                1
  MZUP08K                  Yes                       Personal                   4/27/2021                1
  Z76DE7Z                  Yes                       Personal                   4/26/2021                1
  JLDXKOO                  Yes                       Personal                   4/27/2021                1
  0EULUTL                  Yes                       Personal                   4/27/2021                1
  KXJZOTC                  Yes                       Personal                   4/26/2021                1
  78MJTJW                  Yes                       Personal                   4/26/2021                1
  OID8C11                  Yes                       Personal                   4/26/2021                1
  8Y6G87A                  Yes                       Personal                   4/26/2021                1
  MYUH6GM                  Yes                       Personal                   4/26/2021                1
  ARNORDQ                  Yes                       Personal                   4/26/2021                1
  ADJWNV6                  Yes                       Personal                   4/26/2021                1
  WWWAUXB                  Yes                       Personal                   4/27/2021                1
  UY22UFB                  Yes                       Personal                   4/26/2021                1
  F49NEKW                  Yes                       Personal                   4/27/2021                1
  LV6D7RU                  Yes                       Personal                   4/27/2021                1
  JQ7YII6                  Yes                       Personal                   4/26/2021                1
  UFZRVFL                  Yes                       Personal                   4/26/2021                1
  O1SVLI5                  Yes                       Personal                   4/27/2021                1
  CYT9ZCA                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 3 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  1UE4WWG                  Yes                       Personal                   4/27/2021                1
  S7DSAF0                  Yes                       Personal                   4/26/2021                1
  9JHE02A                  Yes                       Personal                   4/27/2021                1
  S2X39LL                  Yes                       Personal                   4/27/2021                1
  MF5N0IN                  Yes                       Personal                   4/26/2021                1
  U5RLVUX                  Yes                       Personal                   4/26/2021                1
  RU54AN6                  Yes                       Personal                   4/27/2021                1
  KJ6PM39                  Yes                       Personal                   4/27/2021                1
  CG55955                  Yes                       Personal                   4/26/2021                1
  O42FI75                  Yes                       Personal                   4/26/2021                1
  7SG8F2F                  Yes                       Personal                   4/26/2021                1
  XVEXKL8                  Yes                       Personal                   4/26/2021                1
  1527UQU                  Yes                       Personal                   4/27/2021                1
  2RHRHKF                  Yes                       Personal                   4/26/2021                1
  SCOZOAP                  Yes                       Personal                   4/26/2021                1
  LSZO387                  Yes                       Personal                   4/27/2021                1
  6IKC5MF                  Yes                       Personal                   4/27/2021                1
  RH0LMF0                  Yes                       Personal                   4/27/2021                1
  1EVSLT2                  Yes                       Personal                   4/26/2021                1
  NX17KMR                  Yes                       Personal                   4/26/2021                1
  QPHBK08                  Yes                       Personal                   4/26/2021                1
  610AVJA                  Yes                       Personal                   4/26/2021                1
  S5XUQDI                  Yes                       Personal                   4/26/2021                1
  Q99WP5F                  Yes                       Personal                   4/24/2021                1
  5KZ4N5U                  Yes                       Personal                   4/26/2021                1
  STZ5E22                  Yes                       Personal                   4/26/2021                1
  Q1RJ3V8                  Yes                       Personal                   4/26/2021                1
  4CN75QL                  Yes                       Personal                   4/26/2021                1
  42RHFTV                  Yes                       Personal                   4/26/2021                1
  0RI1Y7M                  Yes                       Personal                   4/26/2021                1
  ZG072AT                  Yes                       Personal                   4/26/2021                1
  ODRH720                  Yes                       Personal                   4/26/2021                1
  NSLA3HW                  Yes                       Personal                   4/26/2021                1
  4OEB0A9                  Yes                       Personal                   4/26/2021                1
  C7VXQSM                  Yes                       Personal                   4/26/2021                1
  35NRD5S                  Yes                       Personal                   4/26/2021                1
  NK2YHY4                  Yes                       Personal                   4/26/2021                1
  7PTQT0G                  Yes                       Personal                   4/26/2021                1
  YVLUMAF                  Yes                       Personal                   4/27/2021                1
  J1MWY96                  Yes                       Personal                   4/27/2021                1
  TC3NJI2                  Yes                       Personal                   4/26/2021                1
  SFPORZG                  Yes                       Personal                   4/26/2021                1
  42U6Z2D                  Yes                       Personal                   4/26/2021                1
  5ASXHDL                  Yes                       Personal                   4/26/2021                1
  ZB0E0M8                  Yes                       Personal                   4/26/2021                1
  WQZIRPH                  Yes                       Personal                   4/25/2021                1
  V5JZGZA                  Yes                       Personal                   4/23/2021                1
  AL32914                  Yes                       Personal                   4/27/2021                1
  H8WOE6E                  Yes                       Personal                   4/26/2021                1
  IA1TTWV                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 4 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  HQXF75T                  Yes                       Personal                   4/27/2021                1
  QNPCMS6                  Yes                       Personal                   4/26/2021                1
  Z1KRWC3                  Yes                       Personal                   4/27/2021                1
  YOE2NJ3                  Yes                       Personal                   4/27/2021                1
  6CLPZ1Q                  Yes                       Personal                   4/26/2021                1
  5S89KBQ                  Yes                       Personal                   4/26/2021                1
  ELUX9NV                  Yes                       Personal                   4/27/2021                1
  Q9FUE75                  Yes                       Personal                   4/26/2021                1
  ZDBZQR4                  Yes                       Personal                   4/26/2021                1
  FXMFBYY                  Yes                       Personal                   4/27/2021                1
  IV0F4SV                  Yes                       Personal                   4/27/2021                1
  AI7JFCQ                  Yes                       Personal                   4/27/2021                1
  N43JW3B                  Yes                       Personal                   4/26/2021                1
  8VAYD64                  Yes                       Personal                   4/26/2021                1
  C85O85D                  Yes                       Personal                   4/26/2021                1
  6Z849W9                  Yes                       Personal                   4/25/2021                1
  XDPQ88V                  Yes                       Personal                   4/26/2021                1
  QFNS8YR                  Yes                       Personal                   4/26/2021                1
  I2HKQP8                  Yes                       Personal                   4/26/2021                1
  WOR1LKJ                  Yes                       Personal                   4/26/2021                1
  96XB7N9                  Yes                       Personal                   4/26/2021                1
  JDAWLFU                  Yes                       Personal                   4/26/2021                1
  BDDDG9Q                  Yes                       Personal                   4/27/2021                1
  WJ5XJ2F                  Yes                       Personal                   4/25/2021                1
  DCOMB8O                  Yes                       Personal                   4/27/2021                1
  E4PBZDX                  Yes                       Personal                   4/26/2021                1
  YQKARW0                  Yes                       Personal                   4/26/2021                1
  XHCGSUH                  Yes                       Personal                   4/27/2021                1
  UXL2TXU                  Yes                       Personal                   4/26/2021                1
  BMOBC0Q                  Yes                       Personal                   4/26/2021                1
  K34JVN4                  Yes                       Personal                   4/26/2021                1
  ECFBYPV                  Yes                       Personal                   4/27/2021                1
  P87KO1J                  Yes                       Personal                   4/26/2021                1
  JBGUT02                  Yes                       Personal                   4/26/2021                1
  J5N9V15                  Yes                       Personal                   4/26/2021                1
  ZCUM53I                  Yes                       Personal                   4/27/2021                1
  SZFNQC1                  Yes                       Personal                   4/26/2021                1
  RLFD0YT                  Yes                       Personal                   4/27/2021                1
  DKESHV8                  Yes                       Personal                   4/27/2021                1
  BOV5VAV                  Yes                       Personal                   4/27/2021                1
  W80S3HH                  Yes                       Personal                   4/26/2021                1
  03Z6Q3Z                  Yes                       Personal                   4/26/2021                1
  A50DKHI                  Yes                       Personal                   4/26/2021                1
  NYWI9H9                  Yes                       Personal                   4/26/2021                1
  HTKCJC9                  Yes                       Personal                   4/26/2021                1
  F7X4956                  Yes                       Personal                   4/26/2021                1
  RZ5OOBN                  Yes                       Personal                   4/26/2021                1
  MCC2OXU                  Yes                       Personal                   4/27/2021                1
  WP457SC                  Yes                       Personal                   4/27/2021                1
  11WNL99                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 5 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  6SG5551                  Yes                       Personal                   4/26/2021                1
  3H4ZS1C                  Yes                       Personal                   4/26/2021                1
  RL4SEAX                  Yes                       Personal                   4/26/2021                1
  OAK4P0G                  Yes                       Personal                   4/26/2021                1
  OQTSMN6                  Yes                       Personal                   4/27/2021                1
  J7JMF3R                  Yes                       Personal                   4/27/2021                1
  C23IVCV                  Yes                       Personal                   4/26/2021                1
  OXO4M73                  Yes                       Personal                   4/27/2021                1
  VLILUFB                  Yes                       Personal                   4/26/2021                1
  L6R9BF2                  Yes                       Personal                   4/26/2021                1
  5RZKRM2                  Yes                       Personal                   4/26/2021                1
  FJDRR34                  Yes                       Personal                   4/26/2021                1
  S1EEAUL                  Yes                       Personal                   4/26/2021                1
  2IQSKQS                  Yes                       Personal                   4/26/2021                1
  GVWILWD                  Yes                       Personal                   4/26/2021                1
  LK9L2NB                  Yes                       Personal                   4/26/2021                1
  C0LLIUP                  Yes                       Personal                   4/26/2021                1
  YEB8V8S                  Yes                       Personal                   4/26/2021                1
  IIYABGS                  Yes                       Personal                   4/27/2021                1
  AQ9X44R                  Yes                       Personal                   4/26/2021                1
  AAPH1M2                  Yes                       Personal                   4/27/2021                1
  VX8L945                  Yes                       Personal                   4/27/2021                1
  JS4RR1V                  Yes                       Personal                   4/26/2021                1
  4D7RULB                  Yes                       Personal                   4/26/2021                1
  UX60PH2                  Yes                       Personal                   4/26/2021                1
  1STR1QQ                  Yes                       Personal                   4/26/2021                1
  3XOFCUW                  Yes                       Personal                   4/26/2021                1
  G5UP82R                  Yes                       Personal                   4/26/2021                1
  01GQMJH                  Yes                       Personal                   4/27/2021                1
  5JL43JY                  Yes                       Personal                   4/26/2021                1
  VZ9A0LE                  Yes                       Personal                   4/26/2021                1
  3L2C7TG                  Yes                       Personal                   4/27/2021                1
  41WMOFE                  Yes                       Personal                   4/26/2021                1
  OTTD03U                  Yes                       Personal                   4/26/2021                1
  OBHE7PB                  Yes                       Personal                   4/26/2021                1
  KR7MLAF                  Yes                       Personal                   4/26/2021                1
  4XQZGXW                  Yes                       Personal                   4/27/2021                1
  L4ZK4SM                  Yes                       Personal                   4/26/2021                1
  QKGAABC                  Yes                       Personal                   4/26/2021                1
  TM55R97                  Yes                       Personal                   4/26/2021                1
  8LLBE9C                  Yes                       Personal                   4/26/2021                1
  1C4BEPW                  Yes                       Personal                   4/23/2021                1
  69O8U1E                  Yes                       Personal                   4/26/2021                1
  RG0WQ05                  Yes                       Personal                   4/27/2021                1
  AMJ9DZS                  Yes                       Personal                   4/26/2021                1
  67VDKK3                  Yes                       Personal                   4/26/2021                1
  XRVFJVQ                  Yes                       Personal                   4/26/2021                1
  H5VCUG6                  Yes                       Personal                   4/26/2021                1
  V80PKNO                  Yes                       Personal                   4/27/2021                1
  VS0E42E                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 6 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  FHW0SEQ                  Yes                       Personal                   4/26/2021                1
  S00H5PS                  Yes                       Personal                   4/26/2021                1
  6ZOWLOI                  Yes                       Personal                   4/26/2021                1
  ABZ2T2X                  Yes                       Personal                   4/26/2021                1
  N5DOKPJ                  Yes                       Personal                   4/27/2021                1
  SPZWWD4                  Yes                       Personal                   4/26/2021                1
  7RA2WK4                  Yes                       Personal                   4/26/2021                1
  H83KAXD                  Yes                       Personal                   4/26/2021                1
  ZFDKU4X                  Yes                       Personal                   4/26/2021                1
  GRGG6ET                  Yes                       Personal                   4/26/2021                1
  V6YU2XB                  Yes                       Personal                   4/26/2021                1
  SXX6J4W                  Yes                       Personal                   4/27/2021                1
  O9HGM7V                  Yes                       Personal                   4/27/2021                1
  JZJSD56                  Yes                       Personal                   4/26/2021                1
  7B6NO1Z                  Yes                       Personal                   4/26/2021                1
  J1JMRR8                  Yes                       Personal                   4/26/2021                1
  TT4RRPA                  Yes                       Personal                   4/27/2021                1
  LGA8HZW                  Yes                       Personal                   4/27/2021                1
  VLD4ZK9                  Yes                       Personal                   4/26/2021                1
  FUEOXJO                  Yes                       Personal                   4/26/2021                1
  KW6Q38D                  Yes                       Personal                   4/26/2021                1
  TFU8J72                  Yes                       Personal                   4/27/2021                1
  6REIGOJ                  Yes                       Personal                   4/26/2021                1
  LFO9XHI                  Yes                       Personal                   4/26/2021                1
  YVM5JXQ                  Yes                       Personal                   4/27/2021                1
  HQAPVOZ                  Yes                       Personal                   4/26/2021                1
  2NBE96V                  Yes                       Personal                   4/26/2021                1
  HK0Q1IU                  Yes                       Personal                   4/27/2021                1
  UVZ3LCD                  Yes                       Personal                   4/27/2021                1
  HZM80SK                  Yes                       Personal                   4/27/2021                1
  J1AIZ1R                  Yes                       Personal                   4/26/2021                1
  3A5DW4M                  Yes                       Personal                   4/27/2021                1
  7EPZFUB                  Yes                       Personal                   4/27/2021                1
  8OK7RHW                  Yes                       Personal                   4/26/2021                1
  ICKU5ZF                  Yes                       Personal                   4/27/2021                1
  VSIQ63L                  Yes                       Personal                   4/24/2021                1
  4XWHUXW                  Yes                       Personal                   4/27/2021                1
  TSZ8MZY                  Yes                       Personal                   4/26/2021                1
  ERA4F92                  Yes                       Personal                   4/27/2021                1
  TR9XIHW                  Yes                       Personal                   4/26/2021                1
  8A90VU1                  Yes                       Personal                   4/26/2021                1
  2PMPL01                  Yes                       Personal                   4/27/2021                1
  Q56HRDI                  Yes                       Personal                   4/26/2021                1
  Y70518I                  Yes                       Personal                   4/26/2021                1
  64EG3EJ                  Yes                       Personal                   4/26/2021                1
  D8MRVMX                  Yes                       Personal                   4/27/2021                1
  X8K9KAM                  Yes                       Personal                   4/26/2021                1
  NKMAFDB                  Yes                       Personal                   4/27/2021                1
  K4D2NFC                  Yes                       Personal                   4/26/2021                1
  2CPYVRF                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 7 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  YLE8D8X                  Yes                       Personal                   4/26/2021                1
  VXCK9NV                  Yes                       Personal                   4/26/2021                1
  MLN07FA                  Yes                       Personal                   4/26/2021                1
  US4ISZ7                  Yes                       Personal                   4/27/2021                1
  CD0USYQ                  Yes                       Personal                   4/27/2021                1
  KJ2KKJ4                  Yes                       Personal                   4/26/2021                1
  DM2WQ67                  Yes                       Personal                   4/26/2021                1
  IWRSAY8                  Yes                       Personal                   4/26/2021                1
  TRWH1IT                  Yes                       Personal                   4/26/2021                1
  T0H8D9W                  Yes                       Personal                   4/26/2021                1
  RDWPJJN                  Yes                       Personal                   4/26/2021                1
  V84ZYL6                  Yes                       Personal                   4/26/2021                1
  W7Z90DZ                  Yes                       Personal                   4/26/2021                1
  J3HOQXT                  Yes                       Personal                   4/27/2021                1
  JDLH1UB                  Yes                       Personal                   4/27/2021                1
  495HDZH                  Yes                       Personal                   4/27/2021                1
  33LOIZL                  Yes                       Personal                   4/26/2021                1
  NVHKZ7O                  Yes                       Personal                   4/23/2021                1
  FJJDAU0                  Yes                       Personal                   4/27/2021                1
  QX8CN4J                  Yes                       Personal                   4/27/2021                1
  S7YU9UM                  Yes                       Personal                   4/26/2021                1
  LZLFJV1                  Yes                       Personal                   4/26/2021                1
  YPB6XRM                  Yes                       Personal                   4/27/2021                1
  WQYITK7                  Yes                       Personal                   4/26/2021                1
  OBJ1TFS                  Yes                       Personal                   4/27/2021                1
  W55CSK4                  Yes                       Personal                   4/27/2021                1
  CM7B4JU                  Yes                       Personal                   4/26/2021                1
  6NFCCVS                  Yes                       Personal                   4/27/2021                1
  NC13XCV                  Yes                       Personal                   4/26/2021                1
  2S6SYY6                  Yes                       Personal                   4/27/2021                1
  DSKV2S4                  Yes                       Personal                   4/26/2021                1
  WE4M6OG                  Yes                       Personal                   4/26/2021                1
  6HL9XQB                  Yes                       Personal                   4/26/2021                1
  1ZTPVO8                  Yes                       Personal                   4/26/2021                1
  WGMU4QO                  Yes                       Personal                   4/26/2021                1
  FMUQ6J0                  Yes                       Personal                   4/26/2021                1
  WHFEWWX                  Yes                       Personal                   4/26/2021                1
  Y075X1Y                  Yes                       Personal                   4/26/2021                1
  EXR8IEO                  Yes                       Personal                   4/26/2021                1
  ZB01X7E                  Yes                       Personal                   4/26/2021                1
  0LGQ3LU                  Yes                       Personal                   4/26/2021                1
  KASR7TX                  Yes                       Personal                   4/23/2021                1
  7A1GDRM                  Yes                       Personal                   4/26/2021                1
  T6LW89V                  Yes                       Personal                   4/26/2021                1
  JHAB11H                  Yes                       Personal                   4/26/2021                1
  1G9DM0P                  Yes                       Personal                   4/26/2021                1
  I31PRQA                  Yes                       Personal                   4/26/2021                1
  09QAB8X                  Yes                       Personal                   4/26/2021                1
  KZ8AVNB                  Yes                       Personal                   4/26/2021                1
  RHREPZF                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 8 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  GMR1IO8                  Yes                       Personal                   4/26/2021                1
  3QZ8PTW                  Yes                       Personal                   4/26/2021                1
  BLSPF0M                  Yes                       Personal                   4/26/2021                1
  OLN1LL5                  Yes                       Personal                   4/26/2021                1
  0LBTT0I                  Yes                       Personal                   4/27/2021                1
  CCQD2Y1                  Yes                       Personal                   4/26/2021                1
  0Y147KG                  Yes                       Personal                   4/27/2021                1
  DRQMG78                  Yes                       Personal                   4/27/2021                1
  C923ESO                  Yes                       Personal                   4/26/2021                1
  5Q58XYR                  Yes                       Personal                   4/26/2021                1
  ZOBA9OG                  Yes                       Personal                   4/26/2021                1
  JH5DHSX                  Yes                       Personal                   4/27/2021                1
  A4UMHGA                  Yes                       Personal                   4/26/2021                1
  CQFQPG6                  Yes                       Personal                   4/26/2021                1
  AFGFAVU                  Yes                       Personal                   4/27/2021                1
  H75OYSH                  Yes                       Personal                   4/26/2021                1
  CGLB15G                  Yes                       Personal                   4/27/2021                1
  SLSIBCW                  Yes                       Personal                   4/26/2021                1
  G6TSJCA                  Yes                       Personal                   4/26/2021                1
  NDRY80C                  Yes                       Personal                   4/26/2021                1
  4P69OO6                  Yes                       Personal                   4/26/2021                1
  6S4Y5KS                  Yes                       Personal                   4/27/2021                1
  2QLZDT3                  Yes                       Personal                   4/26/2021                1
  0FE0PWF                  Yes                       Personal                   4/26/2021                1
  OOEUW0D                  Yes                       Personal                   4/26/2021                1
  SXTYU7X                  Yes                       Personal                   4/26/2021                1
  ZWU4STQ                  Yes                       Personal                   4/26/2021                1
  C5CQCJD                  Yes                       Personal                   4/26/2021                1
  8Q6E8X2                  Yes                       Personal                   4/26/2021                1
  COROKTD                  Yes                       Personal                   4/26/2021                1
  4XCXR56                  Yes                       Personal                   4/26/2021                1
  U2OLXEW                  Yes                       Personal                   4/26/2021                1
  WC1T10Z                  Yes                       Personal                   4/26/2021                1
  02OMZY2                  Yes                       Personal                   4/26/2021                1
  NCA8BEB                  Yes                       Personal                   4/26/2021                1
  WMQQYFE                  Yes                       Personal                   4/27/2021                1
  K1IHI39                  Yes                       Personal                   4/26/2021                1
  DRIJRVO                  Yes                       Personal                   4/27/2021                1
  ASYWMU5                  Yes                       Personal                   4/26/2021                1
  Z479IJ9                  Yes                       Personal                   4/26/2021                1
  DP9KQXI                  Yes                       Personal                   4/27/2021                1
  RD4BCD0                  Yes                       Personal                   4/26/2021                1
  3RTAL8F                  Yes                       Personal                   4/27/2021                1
  N3CS9TZ                  Yes                       Personal                   4/26/2021                1
  UTQVO5V                  Yes                       Personal                   4/23/2021                1
  H1G9DU2                  Yes                       Personal                   4/26/2021                1
  7IXICED                  Yes                       Personal                   4/27/2021                1
  177CIX9                  Yes                       Personal                   4/27/2021                1
  IM5HOGC                  Yes                       Personal                   4/26/2021                1
  21ZFJNN                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 9 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  MI5S98U                  Yes                       Personal                   4/26/2021                1
  G166BMD                  Yes                       Personal                   4/27/2021                1
  TV5BOQ2                  Yes                       Personal                   4/26/2021                1
  KK09SBN                  Yes                       Personal                   4/26/2021                1
  CN142ZY                  Yes                       Personal                   4/26/2021                1
  MAUN0QZ                  Yes                       Personal                   4/26/2021                1
  HBNU4X7                  Yes                       Personal                   4/26/2021                1
  PXKG7CZ                  Yes                       Personal                   4/27/2021                1
  BDP853N                  Yes                       Personal                   4/23/2021                1
  DF6ZWBR                  Yes                       Personal                   4/27/2021                1
  KAR8SNA                  Yes                       Personal                   4/26/2021                1
  JFOO9ON                  Yes                       Personal                   4/26/2021                1
  BGS454L                  Yes                       Personal                   4/27/2021                1
  UBBCDRT                  Yes                       Personal                   4/26/2021                1
  B8QAG4U                  Yes                       Personal                   4/26/2021                1
  J8AWCBB                  Yes                       Personal                   4/27/2021                1
  05F4B4H                  Yes                       Personal                   4/26/2021                1
  IRUYJFR                  Yes                       Personal                   4/27/2021                1
  1SRGC9W                  Yes                       Personal                   4/26/2021                1
  CW0DSA9                  Yes                       Personal                   4/26/2021                1
  6T3G1O8                  Yes                       Personal                   4/26/2021                1
  IJE5B8H                  Yes                       Personal                   4/27/2021                1
  IDTM917                  Yes                       Personal                   4/26/2021                1
  VC8U5VR                  Yes                       Personal                   4/26/2021                1
  JXLL0LG                  Yes                       Personal                   4/26/2021                1
  HP7K5SB                  Yes                       Personal                   4/26/2021                1
  3DT3LTM                  Yes                       Personal                   4/26/2021                1
  VCX4G9Q                  Yes                       Personal                   4/26/2021                1
  XN66SIF                  Yes                       Personal                   4/26/2021                1
  P5AYDY7                  Yes                       Personal                   4/27/2021                1
  2LJCGGX                  Yes                       Personal                   4/27/2021                1
  OISPJ0K                  Yes                       Personal                   4/27/2021                1
  JJLURTK                  Yes                       Personal                   4/26/2021                1
  JEPOSW6                  Yes                       Personal                   4/26/2021                1
  13NVPZM                  Yes                       Personal                   4/26/2021                1
  RSAO3E9                  Yes                       Personal                   4/26/2021                1
  NG3Q71Z                  Yes                       Personal                   4/26/2021                1
  3IVASDD                  Yes                       Personal                   4/23/2021                1
  591342Q                  Yes                       Personal                   4/27/2021                1
  5U0P14U                  Yes                       Personal                   4/26/2021                1
  JFOWIQ8                  Yes                       Personal                   4/26/2021                1
  R0BSJ1O                  Yes                       Personal                   4/26/2021                1
  DC0AI67                  Yes                       Personal                   4/26/2021                1
  9CWB5UI                  Yes                       Personal                   4/27/2021                1
  6SN11QP                  Yes                       Personal                   4/26/2021                1
  AB1ZNZ3                  Yes                       Personal                   4/27/2021                1
  2OOFCBN                  Yes                       Personal                   4/26/2021                1
  5WNKLW8                  Yes                       Personal                   4/27/2021                1
  HA06ONZ                  Yes                       Personal                   4/27/2021                1
  TFOI47W                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 10 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  DA14SI8                  Yes                       Personal                   4/26/2021                1
  G3OR0YL                  Yes                       Personal                   4/26/2021                1
  GU563KW                  Yes                       Personal                   4/26/2021                1
  K14038T                  Yes                       Personal                   4/26/2021                1
  A15MJI7                  Yes                       Personal                   4/27/2021                1
  X6LN2B7                  Yes                       Personal                   4/27/2021                1
  IMXIVUL                  Yes                       Personal                   4/26/2021                1
  2IGQST0                  Yes                       Personal                   4/27/2021                1
  4KCT4YA                  Yes                       Personal                   4/26/2021                1
  8UZMLTX                  Yes                       Personal                   4/26/2021                1
  XF2033F                  Yes                       Personal                   4/26/2021                1
  CQD3ACA                  Yes                       Personal                   4/26/2021                1
  8AATYFU                  Yes                       Personal                   4/26/2021                1
  L91XW3R                  Yes                       Personal                   4/26/2021                1
  K9NXWCN                  Yes                       Personal                   4/27/2021                1
  Z0B0S7M                  Yes                       Personal                   4/26/2021                1
  2WYQR2U                  Yes                       Personal                   4/26/2021                1
  TS7ZPT3                  Yes                       Personal                   4/26/2021                1
  82530V7                  Yes                       Personal                   4/26/2021                1
  UNS06NV                  Yes                       Personal                   4/25/2021                1
  8QNSZKR                  Yes                       Personal                   4/27/2021                1
  TNODRY2                  Yes                       Personal                   4/26/2021                1
  GBZFDFD                  Yes                       Personal                   4/26/2021                1
  7WEHB5V                  Yes                       Personal                   4/27/2021                1
  TJ9KT8Z                  Yes                       Personal                   4/27/2021                1
  7R51N2S                  Yes                       Personal                   4/26/2021                1
  60GCYBG                  Yes                       Personal                   4/26/2021                1
  VT50PU0                  Yes                       Personal                   4/27/2021                1
  JCEJ4BO                  Yes                       Personal                   4/27/2021                1
  5DKL2G4                  Yes                       Personal                   4/27/2021                1
  R0LHZQH                  Yes                       Personal                   4/26/2021                1
  K7I0AXH                  Yes                       Personal                   4/26/2021                1
  CX37ZRT                  Yes                       Personal                   4/26/2021                1
  CTOUZZP                  Yes                       Personal                   4/26/2021                1
  RQUGXCE                  Yes                       Personal                   4/27/2021                1
  MG2835A                  Yes                       Personal                   4/26/2021                1
  ALULFZL                  Yes                       Personal                   4/26/2021                1
  NY1GAOD                  Yes                       Personal                   4/26/2021                1
  G9P1Z8C                  Yes                       Personal                   4/26/2021                1
  LAQOB7R                  Yes                       Personal                   4/26/2021                1
  GQ4X2A7                  Yes                       Personal                   4/26/2021                1
  LDRP5ZO                  Yes                       Personal                   4/26/2021                1
  362U7SK                  Yes                       Personal                   4/27/2021                1
  R2TSUJX                  Yes                       Personal                   4/26/2021                1
  RW8F4WQ                  Yes                       Personal                   4/26/2021                1
  0ZUWH6E                  Yes                       Personal                   4/27/2021                1
  ETXMDH9                  Yes                       Personal                   4/26/2021                1
  74FNKCU                  Yes                       Personal                   4/27/2021                1
  VMVY2MX                  Yes                       Personal                   4/26/2021                1
  0LYMZ5E                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 11 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  RPKJO8W                  Yes                       Personal                   4/27/2021                1
  ABNT1J0                  Yes                       Personal                   4/27/2021                1
  J3UEUXB                  Yes                       Personal                   4/26/2021                1
  KXD1GG1                  Yes                       Personal                   4/26/2021                1
  S8R6ANG                  Yes                       Personal                   4/26/2021                1
  P9ZU04C                  Yes                       Personal                   4/26/2021                1
  0NV81DX                  Yes                       Personal                   4/26/2021                1
  ZZZK1HD                  Yes                       Personal                   4/27/2021                1
  XMNOTGQ                  Yes                       Personal                   4/26/2021                1
  2KFQE1O                  Yes                       Personal                   4/26/2021                1
  47VATQA                  Yes                       Personal                   4/26/2021                1
  F8VO7WD                  Yes                       Personal                   4/26/2021                1
  X4MDVA7                  Yes                       Personal                   4/27/2021                1
  5FV8EKZ                  Yes                       Personal                   4/26/2021                1
  9K34D8O                  Yes                       Personal                   4/27/2021                1
  BGPPN3C                  Yes                       Personal                   4/27/2021                1
  U9KXN6P                  Yes                       Personal                   4/26/2021                1
  3OTQT5A                  Yes                       Personal                   4/26/2021                1
  XNCPFQE                  Yes                       Personal                   4/26/2021                1
  1NYJ3PT                  Yes                       Personal                   4/26/2021                1
  B56LKAU                  Yes                       Personal                   4/26/2021                1
  HQT708F                  Yes                       Personal                   4/27/2021                1
  8W3EE24                  Yes                       Personal                   4/26/2021                1
  97ZQ1EZ                  Yes                       Personal                   4/26/2021                1
  MN3HV5M                  Yes                       Personal                   4/26/2021                1
  TINB6IN                  Yes                       Personal                   4/24/2021                1
  59OONR1                  Yes                       Personal                   4/26/2021                1
  D5NWGW7                  Yes                       Personal                   4/26/2021                1
  ITBOEGS                  Yes                       Personal                   4/27/2021                1
  NYH1V4H                  Yes                       Personal                   4/26/2021                1
  8GVUK30                  Yes                       Personal                   4/27/2021                1
  YILHV93                  Yes                       Personal                   4/26/2021                1
  ZMJDJ58                  Yes                       Personal                   4/26/2021                1
  H08DIWM                  Yes                       Personal                   4/26/2021                1
  RW6VRJ1                  Yes                       Personal                   4/26/2021                1
  OMM3DWR                  Yes                       Personal                   4/27/2021                1
  FEZ2C19                  Yes                       Personal                   4/26/2021                1
  GA4P29C                  Yes                       Personal                   4/26/2021                1
  2EMQRP0                  Yes                       Personal                   4/23/2021                1
  4CC6OI2                  Yes                       Personal                   4/26/2021                1
  HX7GEFO                  Yes                       Personal                   4/27/2021                1
  1V78GT7                  Yes                       Personal                   4/26/2021                1
  ACFSPL5                  Yes                       Personal                   4/26/2021                1
  36C753P                  Yes                       Personal                   4/26/2021                1
  JHI3NRI                  Yes                       Personal                   4/26/2021                1
  QL2TENG                  Yes                       Personal                   4/26/2021                1
  WW5V8SX                  Yes                       Personal                   4/26/2021                1
  2PXQB79                  Yes                       Personal                   4/26/2021                1
  1ROXF4A                  Yes                       Personal                   4/26/2021                1
  VKA41DQ                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 12 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  53HINAC                  Yes                       Personal                   4/26/2021                1
  N9DUO43                  Yes                       Personal                   4/27/2021                1
  ST842XN                  Yes                       Personal                   4/26/2021                1
  FTIQW76                  Yes                       Personal                   4/26/2021                1
  WLC1RJ0                  Yes                       Personal                   4/26/2021                1
  TQ592YQ                  Yes                       Personal                   4/26/2021                1
  KGDZM54                  Yes                       Personal                   4/26/2021                1
  10A6I7O                  Yes                       Personal                   4/27/2021                1
  GIBGCU8                  Yes                       Personal                   4/26/2021                1
  ERG104U                  Yes                       Personal                   4/27/2021                1
  4UFEWOZ                  Yes                       Personal                   4/26/2021                1
  FQB8O4A                  Yes                       Personal                   4/26/2021                1
  CY3WK0K                  Yes                       Personal                   4/27/2021                1
  IRT1L1W                  Yes                       Personal                   4/26/2021                1
  7L74Z0Z                  Yes                       Personal                   4/27/2021                1
  6X1ZEK8                  Yes                       Personal                   4/27/2021                1
  QC3QW9P                  Yes                       Personal                   4/26/2021                1
  RGKCXRZ                  Yes                       Personal                   4/26/2021                1
  7RY5ILG                  Yes                       Personal                   4/26/2021                1
  M2VV82U                  Yes                       Personal                   4/26/2021                1
  UCNICZR                  Yes                       Personal                   4/26/2021                1
  0GFCEAU                  Yes                       Personal                   4/26/2021                1
  D56AIRI                  Yes                       Personal                   4/26/2021                1
  KQBCXCW                  Yes                       Personal                   4/26/2021                1
  715TRLR                  Yes                       Personal                   4/26/2021                1
  B6OWW0W                  Yes                       Personal                   4/26/2021                1
  K1U376M                  Yes                       Personal                   4/27/2021                1
  AS5T2EU                  Yes                       Personal                   4/27/2021                1
  LX3E7GR                  Yes                       Personal                   4/26/2021                1
  MP9M74A                  Yes                       Personal                   4/26/2021                1
  9JCXIEU                  Yes                       Personal                   4/27/2021                1
  ZUSKNY3                  Yes                       Personal                   4/26/2021                1
  J8X7R78                  Yes                       Personal                   4/26/2021                1
  E11OG5I                  Yes                       Personal                   4/27/2021                1
  TMSQJ4M                  Yes                       Personal                   4/26/2021                1
  PO2TIXG                  Yes                       Personal                   4/26/2021                1
  OGV0HNQ                  Yes                       Personal                   4/23/2021                1
  S8W9CJS                  Yes                       Personal                   4/26/2021                1
  NVGGG6V                  Yes                       Personal                   4/27/2021                1
  P66M0WD                  Yes                       Personal                   4/27/2021                1
  6PNTJ23                  Yes                       Personal                   4/26/2021                1
  G24HEOQ                  Yes                       Personal                   4/26/2021                1
  KQW1FYE                  Yes                       Personal                   4/27/2021                1
  YCN5WQ5                  Yes                       Personal                   4/27/2021                1
  O9S1URS                  Yes                       Personal                   4/27/2021                1
  0VTTOCX                  Yes                       Personal                   4/26/2021                1
  X8TZLEU                  Yes                       Personal                   4/26/2021                1
  YD9X915                  Yes                       Personal                   4/26/2021                1
  DZIUTOJ                  Yes                       Personal                   4/27/2021                1
  Y89VUWI                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 13 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  LOBRK1B                  Yes                       Personal                   4/27/2021                1
  J9Q0FYR                  Yes                       Personal                   4/27/2021                1
  N91QS3C                  Yes                       Personal                   4/27/2021                1
  AKUOPXB                  Yes                       Personal                   4/26/2021                1
  O2AOHFK                  Yes                       Personal                   4/26/2021                1
  TDCGRDL                  Yes                       Personal                   4/26/2021                1
  5ZXBHF5                  Yes                       Personal                   4/27/2021                1
  PN24SP0                  Yes                       Personal                   4/26/2021                1
  DSCHPR0                  Yes                       Personal                   4/26/2021                1
  OLU6VAZ                  Yes                       Personal                   4/27/2021                1
  Y9KCH57                  Yes                       Personal                   4/27/2021                1
  GSQDWHW                  Yes                       Personal                   4/26/2021                1
  0FZNLH1                  Yes                       Personal                   4/26/2021                1
  EQ9GHT1                  Yes                       Personal                   4/27/2021                1
  D7GPWP2                  Yes                       Personal                   4/27/2021                1
  GJJOOAA                  Yes                       Personal                   4/27/2021                1
  Y8WPV88                  Yes                       Personal                   4/26/2021                1
  8G6LWZO                  Yes                       Personal                   4/26/2021                1
  YLX7TLA                  Yes                       Personal                   4/26/2021                1
  4HMCZA3                  Yes                       Personal                   4/26/2021                1
  RDWBCSZ                  Yes                       Personal                   4/26/2021                1
  44X2V6O                  Yes                       Personal                   4/26/2021                1
  6IWPICV                  Yes                       Personal                   4/26/2021                1
  O4A1QG4                  Yes                       Personal                   4/26/2021                1
  HFSLBJT                  Yes                       Personal                   4/27/2021                1
  DHJV18A                  Yes                       Personal                   4/26/2021                1
  J04SANZ                  Yes                       Personal                   4/26/2021                1
  JPLNCTW                  Yes                       Personal                   4/26/2021                1
  NRBPHRV                  Yes                       Personal                   4/27/2021                1
  LR605BD                  Yes                       Personal                   4/26/2021                1
  RYS8AMD                  Yes                       Personal                   4/26/2021                1
  XYIT7JY                  Yes                       Personal                   4/26/2021                1
  I02FHGF                  Yes                       Personal                   4/26/2021                1
  QK8RSKV                  Yes                       Personal                   4/26/2021                1
  11AFHFE                  Yes                       Personal                   4/26/2021                1
  J95CDLH                  Yes                       Personal                   4/26/2021                1
  E2IDUNG                  Yes                       Personal                   4/26/2021                1
  D58JR4X                  Yes                       Personal                   4/26/2021                1
  ME13WAG                  Yes                       Personal                   4/27/2021                1
  R1Q0RQN                  Yes                       Personal                   4/27/2021                1
  RDAQB2A                  Yes                       Personal                   4/27/2021                1
  HPCE7OL                  Yes                       Personal                   4/26/2021                1
  Y622L1Q                  Yes                       Personal                   4/26/2021                1
  HNRNQ8F                  Yes                       Personal                   4/27/2021                1
  7SK2QQR                  Yes                       Personal                   4/23/2021                1
  7OT6T82                  Yes                       Personal                   4/26/2021                1
  LNLF6V7                  Yes                       Personal                   4/26/2021                1
  X0IV2M2                  Yes                       Personal                   4/26/2021                1
  J45UAS1                  Yes                       Personal                   4/26/2021                1
  UHGFTD1                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 14 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  0JGV3M9                  Yes                       Personal                   4/27/2021                1
  QA8G3YD                  Yes                       Personal                   4/27/2021                1
  WLH2B47                  Yes                       Personal                   4/27/2021                1
  1MQDFP2                  Yes                       Personal                   4/27/2021                1
  JK0EZFU                  Yes                       Personal                   4/26/2021                1
  Y2EDUSJ                  Yes                       Personal                   4/27/2021                1
  YP7MM78                  Yes                       Personal                   4/26/2021                1
  33HFE99                  Yes                       Personal                   4/26/2021                1
  KAWCJ15                  Yes                       Personal                   4/27/2021                1
  0H7DDM0                  Yes                       Personal                   4/26/2021                1
  9JWGYOF                  Yes                       Personal                   4/26/2021                1
  F54AZA6                  Yes                       Personal                   4/26/2021                1
  U42RY9X                  Yes                       Personal                   4/23/2021                1
  KC35ITT                  Yes                       Personal                   4/26/2021                1
  2A30LC4                  Yes                       Personal                   4/26/2021                1
  CTQVNQK                  Yes                       Personal                   4/26/2021                1
  HR8LDOR                  Yes                       Personal                   4/26/2021                1
  QMNVM0P                  Yes                       Personal                   4/26/2021                1
  DZ3RNFU                  Yes                       Personal                   4/26/2021                1
  IN2PAY8                  Yes                       Personal                   4/26/2021                1
  98GF9K9                  Yes                       Personal                   4/26/2021                1
  68L64X5                  Yes                       Personal                   4/26/2021                1
  8RZK3U3                  Yes                       Personal                   4/26/2021                1
  0OND5V9                  Yes                       Personal                   4/26/2021                1
  U7TMSAV                  Yes                       Personal                   4/26/2021                1
  Q2DWTOX                  Yes                       Personal                   4/26/2021                1
  0CDBS8V                  Yes                       Personal                   4/27/2021                1
  A553TVN                  Yes                       Personal                   4/26/2021                1
  MNGP1W5                  Yes                       Personal                   4/26/2021                1
  12YZDXQ                  Yes                       Personal                   4/26/2021                1
  UC0TEM5                  Yes                       Personal                   4/26/2021                1
  ZDU4U9D                  Yes                       Personal                   4/26/2021                1
  14ZJNVI                  Yes                       Personal                   4/26/2021                1
  EI7A9VU                  Yes                       Personal                   4/26/2021                1
  NSMJ8WL                  Yes                       Personal                   4/26/2021                1
  P44LKNU                  Yes                       Personal                   4/27/2021                1
  0K38RZT                  Yes                       Personal                   4/26/2021                1
  B5X2C4W                  Yes                       Personal                   4/27/2021                1
  WJDDE6H                  Yes                       Personal                   4/26/2021                1
  1LXBO5U                  Yes                       Personal                   4/26/2021                1
  845QCWL                  Yes                       Personal                   4/27/2021                1
  2TU8U8E                  Yes                       Personal                   4/26/2021                1
  C9GZR72                  Yes                       Personal                   4/23/2021                1
  K2C8IMC                  Yes                       Personal                   4/26/2021                1
  G0M859L                  Yes                       Personal                   4/26/2021                1
  7ETYURD                  Yes                       Personal                   4/26/2021                1
  221E74W                  Yes                       Personal                   4/27/2021                1
  HCGA2U5                  Yes                       Personal                   4/27/2021                1
  ISBFCJF                  Yes                       Personal                   4/26/2021                1
  EDV8QFD                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 15 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  2R5HO12                  Yes                       Personal                   4/26/2021                1
  MPM4UIE                  Yes                       Personal                   4/26/2021                1
  7WVLU04                  Yes                       Personal                   4/27/2021                1
  2N8DZXF                  Yes                       Personal                   4/26/2021                1
  0ZVFOZS                  Yes                       Personal                   4/26/2021                1
  LOYVB8Z                  Yes                       Personal                   4/26/2021                1
  934C7T9                  Yes                       Personal                   4/26/2021                1
  TKF5PI3                  Yes                       Personal                   4/27/2021                1
  NRL1RPW                  Yes                       Personal                   4/27/2021                1
  8LBO4RV                  Yes                       Personal                   4/27/2021                1
  6SSAAVQ                  Yes                       Personal                   4/26/2021                1
  PB4PSPY                  Yes                       Personal                   4/26/2021                1
  E7U6XWG                  Yes                       Personal                   4/27/2021                1
  WBG1IPV                  Yes                       Personal                   4/26/2021                1
  55M7CU6                  Yes                       Personal                   4/26/2021                1
  IARVRJY                  Yes                       Personal                   4/27/2021                1
  F1C5JBE                  Yes                       Personal                   4/27/2021                1
  VW30GRE                  Yes                       Personal                   4/27/2021                1
  SCB5SQ6                  Yes                       Personal                   4/27/2021                1
  E85HO1W                  Yes                       Personal                   4/26/2021                1
  P7X4MRE                  Yes                       Personal                   4/27/2021                1
  E3NR2BF                  Yes                       Personal                   4/26/2021                1
  F9DQPZR                  Yes                       Personal                   4/26/2021                1
  XK15BG2                  Yes                       Personal                   4/27/2021                1
  9OG6ZR8                  Yes                       Personal                   4/26/2021                1
  XPKT5W8                  Yes                       Personal                   4/24/2021                1
  OS08JTN                  Yes                       Personal                   4/26/2021                1
  EQTZF4Z                  Yes                       Personal                   4/26/2021                1
  0D2W38A                  Yes                       Personal                   4/27/2021                1
  MYXAMMO                  Yes                       Personal                   4/26/2021                1
  ZKENG3Y                  Yes                       Personal                   4/27/2021                1
  9RDQRRI                  Yes                       Personal                   4/26/2021                1
  2KPDPW7                  Yes                       Personal                   4/26/2021                1
  L4INH21                  Yes                       Personal                   4/26/2021                1
  SNS6R4D                  Yes                       Personal                   4/27/2021                1
  0YYJ1E3                  Yes                       Personal                   4/26/2021                1
  F8NXGTL                  Yes                       Personal                   4/26/2021                1
  MPTBAEP                  Yes                       Personal                   4/26/2021                1
  VXSSQ6D                  Yes                       Personal                   4/26/2021                1
  AVY3PU2                  Yes                       Personal                   4/26/2021                1
  PD3IUBT                  Yes                       Personal                   4/27/2021                1
  VWFACVB                  Yes                       Personal                   4/26/2021                1
  NINUMGU                  Yes                       Personal                   4/26/2021                1
  XKTA3HF                  Yes                       Personal                   4/27/2021                1
  4DEU2E0                  Yes                       Personal                   4/26/2021                1
  3A47K67                  Yes                       Personal                   4/26/2021                1
  GR3U8S0                  Yes                       Personal                   4/26/2021                1
  WGP32OC                  Yes                       Personal                   4/26/2021                1
  5G28C4R                  Yes                       Personal                   4/26/2021                1
  VUM8FIM                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 16 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  0ZGQ5E6                  Yes                       Personal                   4/26/2021                1
  6FPJT2U                  Yes                       Personal                   4/27/2021                1
  0QS281S                  Yes                       Personal                   4/26/2021                1
  HK6UFVK                  Yes                       Personal                   4/27/2021                1
  XJGRUX6                  Yes                       Personal                   4/27/2021                1
  S508K4H                  Yes                       Personal                   4/26/2021                1
  THPHC3Z                  Yes                       Personal                   4/27/2021                1
  DMML1OI                  Yes                       Personal                   4/26/2021                1
  5ETCDF2                  Yes                       Personal                   4/26/2021                1
  51S52HZ                  Yes                       Personal                   4/26/2021                1
  WNRDO5O                  Yes                       Personal                   4/24/2021                1
  G64U03R                  Yes                       Personal                   4/26/2021                1
  79N0THN                  Yes                       Personal                   4/26/2021                1
  RI45U5W                  Yes                       Personal                   4/26/2021                1
  50B89WA                  Yes                       Personal                   4/26/2021                1
  1O15Q82                  Yes                       Personal                   4/26/2021                1
  5UT9JX6                  Yes                       Personal                   4/27/2021                1
  FZDPI3A                  Yes                       Personal                   4/26/2021                1
  5KTXWSW                  Yes                       Personal                   4/27/2021                1
  J0EE27S                  Yes                       Personal                   4/23/2021                1
  6JMZ9L4                  Yes                       Personal                   4/26/2021                1
  KLQOFMB                  Yes                       Personal                   4/26/2021                1
  E9P3R9X                  Yes                       Personal                   4/27/2021                1
  1WCHHH6                  Yes                       Personal                   4/26/2021                1
  33FO7VG                  Yes                       Personal                   4/27/2021                1
  DHDZS0Z                  Yes                       Personal                   4/26/2021                1
  K8YZVSP                  Yes                       Personal                   4/23/2021                1
  WEFRY9P                  Yes                       Personal                   4/27/2021                1
  K9BX5HB                  Yes                       Personal                   4/27/2021                1
  IC1HYZE                  Yes                       Personal                   4/26/2021                1
  33K0CUY                  Yes                       Personal                   4/26/2021                1
  RW695LJ                  Yes                       Personal                   4/26/2021                1
  L6U03U8                  Yes                       Personal                   4/26/2021                1
  8O8B0FY                  Yes                       Personal                   4/26/2021                1
  UOCJ6PN                  Yes                       Personal                   4/27/2021                1
  8R7I6EE                  Yes                       Personal                   4/26/2021                1
  VVMQM63                  Yes                       Personal                   4/27/2021                1
  A5Y0NZB                  Yes                       Personal                   4/26/2021                1
  1ALMPIA                  Yes                       Personal                   4/27/2021                1
  3NS0AFY                  Yes                       Personal                   4/26/2021                1
  7ASMU4W                  Yes                       Personal                   4/26/2021                1
  TS83LFA                  Yes                       Personal                   4/26/2021                1
  P9FD1TI                  Yes                       Personal                   4/27/2021                1
  BWF60WD                  Yes                       Personal                   4/26/2021                1
  BYJ41SB                  Yes                       Personal                   4/27/2021                1
  W08LO4S                  Yes                       Personal                   4/26/2021                1
  7P74QG4                  Yes                       Personal                   4/27/2021                1
  PPV8L4O                  Yes                       Personal                   4/27/2021                1
  1WYRY7Q                  Yes                       Personal                   4/27/2021                1
  W1EAJA4                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 17 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  NPA6PB4                  Yes                       Personal                   4/26/2021                1
  0UCXZOR                  Yes                       Personal                   4/26/2021                1
  LG736XD                  Yes                       Personal                   4/26/2021                1
  PL2KBIQ                  Yes                       Personal                   4/26/2021                1
  TJ3MGGK                  Yes                       Personal                   4/26/2021                1
  2GF59QF                  Yes                       Personal                   4/26/2021                1
  VARH5AI                  Yes                       Personal                   4/26/2021                1
  U074WSR                  Yes                       Personal                   4/26/2021                1
  N7YMDGE                  Yes                       Personal                   4/26/2021                1
  UK30HP2                  Yes                       Personal                   4/26/2021                1
  H0HLRF0                  Yes                       Personal                   4/27/2021                1
  BGN1IIE                  Yes                       Personal                   4/27/2021                1
  B0CZ34S                  Yes                       Personal                   4/27/2021                1
  5LGVTIR                  Yes                       Personal                   4/26/2021                1
  JHMTZVQ                  Yes                       Personal                   4/26/2021                1
  RERT75M                  Yes                       Personal                   4/27/2021                1
  6MDMD5K                  Yes                       Personal                   4/26/2021                1
  SQ4IIQE                  Yes                       Personal                   4/26/2021                1
  HZ4RA8Q                  Yes                       Personal                   4/26/2021                1
  7QHJ3PW                  Yes                       Personal                   4/26/2021                1
  4QZYWYP                  Yes                       Personal                   4/27/2021                1
  35YZC4F                  Yes                       Personal                   4/26/2021                1
  M10S477                  Yes                       Personal                   4/26/2021                1
  XX7HPD3                  Yes                       Personal                   4/26/2021                1
  BRW51S7                  Yes                       Personal                   4/26/2021                1
  X2HL98E                  Yes                       Personal                   4/27/2021                1
  V1OSHRB                  Yes                       Personal                   4/26/2021                1
  AFOO3G1                  Yes                       Personal                   4/27/2021                1
  IT5VUU5                  Yes                       Personal                   4/26/2021                1
  F5S2U61                  Yes                       Personal                   4/27/2021                1
  5KWTYFY                  Yes                       Personal                   4/26/2021                1
  IGBAEEI                  Yes                       Personal                   4/26/2021                1
  LAN43H1                  Yes                       Personal                   4/26/2021                1
  6THHDXO                  Yes                       Personal                   4/24/2021                1
  Q7IRSXK                  Yes                       Personal                   4/26/2021                1
  JAVZKXV                  Yes                       Personal                   4/26/2021                1
  3OB847O                  Yes                       Personal                   4/26/2021                1
  3ZG4M87                  Yes                       Personal                   4/26/2021                1
  BYQMW0N                  Yes                       Personal                   4/26/2021                1
  4FT351V                  Yes                       Personal                   4/26/2021                1
  HS6B1LK                  Yes                       Personal                   4/26/2021                1
  AA1CZGR                  Yes                       Personal                   4/26/2021                1
  0EZ002B                  Yes                       Personal                   4/26/2021                1
  YNKWJTM                  Yes                       Personal                   4/27/2021                1
  AKEI062                  Yes                       Personal                   4/27/2021                1
  U8Z4MAO                  Yes                       Personal                   4/26/2021                1
  0H0R6EJ                  Yes                       Personal                   4/26/2021                1
  EUQXEL1                  Yes                       Personal                   4/26/2021                1
  XB13K3Z                  Yes                       Personal                   4/26/2021                1
  YRRO01J                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 18 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  SDUD9ZW                  Yes                       Personal                   4/26/2021                1
  NV7HCPB                  Yes                       Personal                   4/26/2021                1
  HKXCS4I                  Yes                       Personal                   4/27/2021                1
  HFTW27G                  Yes                       Personal                   4/27/2021                1
  H3XQL1C                  Yes                       Personal                   4/27/2021                1
  6V4T314                  Yes                       Personal                   4/27/2021                1
  K1NVU2C                  Yes                       Personal                   4/27/2021                1
  1WRGBWN                  Yes                       Personal                   4/26/2021                1
  YLPCLFF                  Yes                       Personal                   4/27/2021                1
  4HX43ZC                  Yes                       Personal                   4/26/2021                1
  FMM0KHG                  Yes                       Personal                   4/27/2021                1
  RU86TAU                  Yes                       Personal                   4/27/2021                1
  8NF5F5V                  Yes                       Personal                   4/27/2021                1
  H8Q7BM8                  Yes                       Personal                   4/27/2021                1
  YC0XLB8                  Yes                       Personal                   4/27/2021                1
  2GM3Y0Y                  Yes                       Personal                   4/27/2021                1
  NR1QBC1                  Yes                       Personal                   4/26/2021                1
  XRCJD0B                  Yes                       Personal                   4/26/2021                1
  2K1706V                  Yes                       Personal                   4/26/2021                1
  QFMKBX3                  Yes                       Personal                   4/27/2021                1
  2NOGHJ7                  Yes                       Personal                   4/27/2021                1
  K1SIF1M                  Yes                       Personal                   4/27/2021                1
  YIHIG00                  Yes                       Personal                   4/26/2021                1
  2YBP5TJ                  Yes                       Personal                   4/26/2021                1
  JXIFOIH                  Yes                       Personal                   4/26/2021                1
  QTOVOUW                  Yes                       Personal                   4/27/2021                1
  K5IL8B5                  Yes                       Personal                   4/26/2021                1
  BXKG8Z9                  Yes                       Personal                   4/27/2021                1
  DF3O285                  Yes                       Personal                   4/27/2021                1
  3LQBC1U                  Yes                       Personal                   4/26/2021                1
  ZQRMGH3                  Yes                       Personal                   4/26/2021                1
  Y7KG02D                  Yes                       Personal                   4/27/2021                1
  Z5R1MK5                  Yes                       Personal                   4/26/2021                1
  E02SZRJ                  Yes                       Personal                   4/27/2021                1
  H8VQZMU                  Yes                       Personal                   4/26/2021                1
  QZW5SPI                  Yes                       Personal                   4/27/2021                1
  M83VLSE                  Yes                       Personal                   4/26/2021                1
  794R4QJ                  Yes                       Personal                   4/26/2021                1
  4KM5JA1                  Yes                       Personal                   4/26/2021                1
  RQOVH9T                  Yes                       Personal                   4/26/2021                1
  8JP15WN                  Yes                       Personal                   4/26/2021                1
  K5UDCPU                  Yes                       Personal                   4/26/2021                1
  20NIEM0                  Yes                       Personal                   4/27/2021                1
  W94LJK5                  Yes                       Personal                   4/27/2021                1
  NZM9FHY                  Yes                       Personal                   4/26/2021                1
  EKJGBU3                  Yes                       Personal                   4/26/2021                1
  1PRRYEN                  Yes                       Personal                   4/27/2021                1
  25E7HEK                  Yes                       Personal                   4/26/2021                1
  WDXTC40                  Yes                       Personal                   4/26/2021                1
  O47TH2P                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 19 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  0CHHDEC                  Yes                       Personal                   4/26/2021                1
  50THIC1                  Yes                       Personal                   4/26/2021                1
  6TG3839                  Yes                       Personal                   4/27/2021                1
  GDLNB0I                  Yes                       Personal                   4/26/2021                1
  HWADETP                  Yes                       Personal                   4/27/2021                1
  4PXXPAT                  Yes                       Personal                   4/27/2021                1
  831JO2Y                  Yes                       Personal                   4/26/2021                1
  QF08XW7                  Yes                       Personal                   4/26/2021                1
  1R88P4M                  Yes                       Personal                   4/26/2021                1
  ET4I7NR                  Yes                       Personal                   4/26/2021                1
  WBB27IY                  Yes                       Personal                   4/24/2021                1
  9HEPY2F                  Yes                       Personal                   4/27/2021                1
  KRE7SD7                  Yes                       Personal                   4/26/2021                1
  XSLTWD0                  Yes                       Personal                   4/26/2021                1
  45GCFI9                  Yes                       Personal                   4/26/2021                1
  AUY8SB2                  Yes                       Personal                   4/26/2021                1
  ST845R2                  Yes                       Personal                   4/26/2021                1
  LK3BS7B                  Yes                       Personal                   4/27/2021                1
  9Z92459                  Yes                       Personal                   4/26/2021                1
  UMFAON0                  Yes                       Personal                   4/26/2021                1
  TBJ7J3X                  Yes                       Personal                   4/26/2021                1
  RXITYKY                  Yes                       Personal                   4/26/2021                1
  S1DBZL3                  Yes                       Personal                   4/26/2021                1
  AY4KSK0                  Yes                       Personal                   4/27/2021                1
  WKGOFJ0                  Yes                       Personal                   4/26/2021                1
  P4Q489F                  Yes                       Personal                   4/27/2021                1
  YFOK13H                  Yes                       Personal                   4/27/2021                1
  39SOTSX                  Yes                       Personal                   4/26/2021                1
  BSFRIZK                  Yes                       Personal                   4/26/2021                1
  KBZ3JH6                  Yes                       Personal                   4/26/2021                1
  LU22AUU                  Yes                       Personal                   4/26/2021                1
  3IBJ8HI                  Yes                       Personal                   4/27/2021                1
  BULFLCO                  Yes                       Personal                   4/26/2021                1
  PWI1ZKU                  Yes                       Personal                   4/26/2021                1
  HPNPK76                  Yes                       Personal                   4/27/2021                1
  WWZEI68                  Yes                       Personal                   4/26/2021                1
  TE6EF9F                  Yes                       Personal                   4/26/2021                1
  5955QF8                  Yes                       Personal                   4/26/2021                1
  MALAUZN                  Yes                       Personal                   4/27/2021                1
  XSP0U49                  Yes                       Personal                   4/26/2021                1
  EOHWIWA                  Yes                       Personal                   4/26/2021                1
  LP6L8QX                  Yes                       Personal                   4/26/2021                1
  TOUMTUB                  Yes                       Personal                   4/26/2021                1
  DO849FM                  Yes                       Personal                   4/27/2021                1
  0F7357B                  Yes                       Personal                   4/26/2021                1
  XU7LB5C                  Yes                       Personal                   4/26/2021                1
  WGK6SS9                  Yes                       Personal                   4/26/2021                1
  O68CQOB                  Yes                       Personal                   4/26/2021                1
  03MHUJ4                  Yes                       Personal                   4/26/2021                1
  OBNBIPU                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 20 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  N7FQ5XT                  Yes                       Personal                   4/26/2021                1
  6NU0MJX                  Yes                       Personal                   4/26/2021                1
  F1Y575A                  Yes                       Personal                   4/26/2021                1
  27959SW                  Yes                       Personal                   4/26/2021                1
  TD3QU0J                  Yes                       Personal                   4/26/2021                1
  RECBXAQ                  Yes                       Personal                   4/27/2021                1
  S3UDWNA                  Yes                       Personal                   4/26/2021                1
  XH5CX3K                  Yes                       Personal                   4/26/2021                1
  KI9L9IY                  Yes                       Personal                   4/26/2021                1
  7UFUPVD                  Yes                       Personal                   4/26/2021                1
  3TPZS8I                  Yes                       Personal                   4/27/2021                1
  3Z2T0EK                  Yes                       Personal                   4/26/2021                1
  LLY20HW                  Yes                       Personal                   4/27/2021                1
  GGLY1CP                  Yes                       Personal                   4/26/2021                1
  YW0T42Y                  Yes                       Personal                   4/26/2021                1
  7H06WYX                  Yes                       Personal                   4/26/2021                1
  JT7MSSC                  Yes                       Personal                   4/26/2021                1
  18PZ0YP                  Yes                       Personal                   4/26/2021                1
  OS3U4FK                  Yes                       Personal                   4/26/2021                1
  HHXPR6V                  Yes                       Personal                   4/26/2021                1
  TS8HEJB                  Yes                       Personal                   4/26/2021                1
  6W6QEHR                  Yes                       Personal                   4/26/2021                1
  TE6NZAQ                  Yes                       Personal                   4/26/2021                1
  A46OO5W                  Yes                       Personal                   4/27/2021                1
  P1J672U                  Yes                       Personal                   4/26/2021                1
  K5MZ8ZN                  Yes                       Personal                   4/26/2021                1
  F7W1M4W                  Yes                       Personal                   4/23/2021                1
  PO0Z0D8                  Yes                       Personal                   4/27/2021                1
  QQ9GKSD                  Yes                       Personal                   4/26/2021                1
  IS0XDZO                  Yes                       Personal                   4/26/2021                1
  CT6YJ1P                  Yes                       Personal                   4/27/2021                1
  Q2Q48LS                  Yes                       Personal                   4/26/2021                1
  A68FLQ1                  Yes                       Personal                   4/26/2021                1
  P63LDYJ                  Yes                       Personal                   4/26/2021                1
  ADP6K48                  Yes                       Personal                   4/27/2021                1
  Z4JGTWS                  Yes                       Personal                   4/26/2021                1
  GUGEC05                  Yes                       Personal                   4/27/2021                1
  4PYQNBN                  Yes                       Personal                   4/26/2021                1
  Y8XC38V                  Yes                       Personal                   4/26/2021                1
  UAGW9IW                  Yes                       Personal                   4/27/2021                1
  P86RW30                  Yes                       Personal                   4/27/2021                1
  3Z9GPUM                  Yes                       Personal                   4/27/2021                1
  QRJLY0F                  Yes                       Personal                   4/26/2021                1
  3UZXWD5                  Yes                       Personal                   4/27/2021                1
  EII8BQM                  Yes                       Personal                   4/27/2021                1
  T2ZN0AY                  Yes                       Personal                   4/26/2021                1
  99YD2GX                  Yes                       Personal                   4/26/2021                1
  YDN7C8G                  Yes                       Personal                   4/27/2021                1
  HB4CJOU                  Yes                       Personal                   4/26/2021                1
  2Q73SS1                  Yes                       Personal                   4/23/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 21 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  1HJJHOA                  Yes                       Personal                   4/26/2021                1
  V0NHNG5                  Yes                       Personal                   4/26/2021                1
  HYKOKY3                  Yes                       Personal                   4/26/2021                1
  PVFZLLE                  Yes                       Personal                   4/26/2021                1
  9WDXKMO                  Yes                       Personal                   4/26/2021                1
  VP8JN8C                  Yes                       Personal                   4/27/2021                1
  6QD3AVE                  Yes                       Personal                   4/27/2021                1
  7X97H6N                  Yes                       Personal                   4/26/2021                1
  V752XZX                  Yes                       Personal                   4/27/2021                1
  Y8EVLH2                  Yes                       Personal                   4/26/2021                1
  EUMU0MR                  Yes                       Personal                   4/26/2021                1
  B2BLHF5                  Yes                       Personal                   4/26/2021                1
  TOU7S6V                  Yes                       Personal                   4/27/2021                1
  XBBP7EG                  Yes                       Personal                   4/26/2021                1
  NEC1Q3M                  Yes                       Personal                   4/26/2021                1
  7VJDP8I                  Yes                       Personal                   4/26/2021                1
  29OJDMO                  Yes                       Personal                   4/27/2021                1
  ENYVUJI                  Yes                       Personal                   4/26/2021                1
  A1RG7PN                  Yes                       Personal                   4/27/2021                1
  ZN9BXW9                  Yes                       Personal                   4/26/2021                1
  ZW8LUEH                  Yes                       Personal                   4/26/2021                1
  AT6VH4U                  Yes                       Personal                   4/26/2021                1
  DZ9716P                  Yes                       Personal                   4/27/2021                1
  O2Z5ET6                  Yes                       Personal                   4/27/2021                1
  EFQN1G4                  Yes                       Personal                   4/26/2021                1
  RT1OYF3                  Yes                       Personal                   4/26/2021                1
  GLYZROF                  Yes                       Personal                   4/26/2021                1
  6PTXF0J                  Yes                       Personal                   4/26/2021                1
  OJCSASH                  Yes                       Personal                   4/26/2021                1
  AUAP1UW                  Yes                       Personal                   4/27/2021                1
  FVRZU0N                  Yes                       Personal                   4/26/2021                1
  13Z1WAZ                  Yes                       Personal                   4/26/2021                1
  6MNAV1G                  Yes                       Personal                   4/26/2021                1
  ZO84WXB                  Yes                       Personal                   4/26/2021                1
  U1GT53J                  Yes                       Personal                   4/27/2021                1
  879I006                  Yes                       Personal                   4/26/2021                1
  RADLHVU                  Yes                       Personal                   4/26/2021                1
  I0O0VKX                  Yes                       Personal                   4/26/2021                1
  ZDYE50A                  Yes                       Personal                   4/26/2021                1
  J4Y5P73                  Yes                       Personal                   4/27/2021                1
  OXDEZ2P                  Yes                       Personal                   4/27/2021                1
  F7M9KQ2                  Yes                       Personal                   4/26/2021                1
  QRU1DCT                  Yes                       Personal                   4/26/2021                1
  BX7S30C                  Yes                       Personal                   4/27/2021                1
  YSC37QK                  Yes                       Personal                   4/26/2021                1
  02FDLD9                  Yes                       Personal                   4/26/2021                1
  BVAUJHP                  Yes                       Personal                   4/27/2021                1
  R872YVM                  Yes                       Personal                   4/26/2021                1
  BBFOOCC                  Yes                       Personal                   4/26/2021                1
  9SKDBKQ                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 22 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  O46ZQVG                  Yes                       Personal                   4/26/2021                1
  9YWI865                  Yes                       Personal                   4/26/2021                1
  YB3LX02                  Yes                       Personal                   4/27/2021                1
  CWKZWQ4                  Yes                       Personal                   4/26/2021                1
  IUYCINC                  Yes                       Personal                   4/26/2021                1
  6SPRO49                  Yes                       Personal                   4/26/2021                1
  JLEYF3M                  Yes                       Personal                   4/26/2021                1
  QKE4CWR                  Yes                       Personal                   4/27/2021                1
  TQB8W6U                  Yes                       Personal                   4/27/2021                1
  4AXRMIG                  Yes                       Personal                   4/26/2021                1
  6CQFVE8                  Yes                       Personal                   4/27/2021                1
  OIKYV0V                  Yes                       Personal                   4/26/2021                1
  JBT22R7                  Yes                       Personal                   4/26/2021                1
  OYLZDSC                  Yes                       Personal                   4/26/2021                1
  JWMGAF1                  Yes                       Personal                   4/26/2021                1
  RYWU7FF                  Yes                       Personal                   4/27/2021                1
  8LBHONK                  Yes                       Personal                   4/27/2021                1
  4MDJOM7                  Yes                       Personal                   4/26/2021                1
  1DHCBZ4                  Yes                       Personal                   4/26/2021                1
  13YUH02                  Yes                       Personal                   4/27/2021                1
  JLDBWCZ                  Yes                       Personal                   4/26/2021                1
  8FVPF38                  Yes                       Personal                   4/26/2021                1
  JHF9GWD                  Yes                       Personal                   4/26/2021                1
  IJANBIU                  Yes                       Personal                   4/26/2021                1
  XP5VF4J                  Yes                       Personal                   4/27/2021                1
  W6Q4AN7                  Yes                       Personal                   4/26/2021                1
  9ZP5KSR                  Yes                       Personal                   4/26/2021                1
  3HTJ3WB                  Yes                       Personal                   4/26/2021                1
  IHGXFFF                  Yes                       Personal                   4/26/2021                1
  HQPP1Q0                  Yes                       Personal                   4/27/2021                1
  6XI5HQW                  Yes                       Personal                   4/26/2021                1
  6Y07L9Z                  Yes                       Personal                   4/26/2021                1
  RLOH5KP                  Yes                       Personal                   4/26/2021                1
  TFUE5Y9                  Yes                       Personal                   4/26/2021                1
  XV4W83G                  Yes                       Personal                   4/26/2021                1
  SDL45SI                  Yes                       Personal                   4/27/2021                1
  4T6SA0T                  Yes                       Personal                   4/27/2021                1
  YY64XMX                  Yes                       Personal                   4/26/2021                1
  SX3ZCZE                  Yes                       Personal                   4/26/2021                1
  NZORJAU                  Yes                       Personal                   4/27/2021                1
  WZ5UXH4                  Yes                       Personal                   4/26/2021                1
  JX3YXXK                  Yes                       Personal                   4/26/2021                1
  YKXD3ON                  Yes                       Personal                   4/27/2021                1
  BWE8Y4M                  Yes                       Personal                   4/26/2021                1
  2KDR1QX                  Yes                       Personal                   4/27/2021                1
  0CMRKUL                  Yes                       Personal                   4/26/2021                1
  AKTD002                  Yes                       Personal                   4/26/2021                1
  SPJV758                  Yes                       Personal                   4/26/2021                1
  BXZM2Y4                  Yes                       Personal                   4/26/2021                1
  TWWRV6K                  Yes                       Personal                   4/27/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 23 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  BCL56AD                  Yes                       Personal                   4/26/2021                1
  LBFPBLF                  Yes                       Personal                   4/26/2021                1
  M6A4MQI                  Yes                       Personal                   4/26/2021                1
  D1RKY6C                  Yes                       Personal                   4/26/2021                1
  68O9IIX                  Yes                       Personal                   4/27/2021                1
  4WKZ311                  Yes                       Personal                   4/26/2021                1
  TSXIH4W                  Yes                       Personal                   4/26/2021                1
  54O1TPR                  Yes                       Personal                   4/26/2021                1
  0XRR3XN                  Yes                       Personal                   4/25/2021                1
  FPM79QV                  Yes                       Personal                   4/26/2021                1
  T9YMUQT                  Yes                       Personal                   4/27/2021                1
  JSIIYN8                  Yes                       Personal                   4/26/2021                1
  MO3OSUD                  Yes                       Personal                   4/26/2021                1
  DOA5PV4                  Yes                       Personal                   4/26/2021                1
  FPCCQAS                  Yes                       Personal                   4/26/2021                1
  ARU455W                  Yes                       Personal                   4/26/2021                1
  7G2ANRC                  Yes                       Personal                   4/26/2021                1
  1YM48Y6                  Yes                       Personal                   4/27/2021                1
  D00ICNB                  Yes                       Personal                   4/27/2021                1
  P1Q66X7                  Yes                       Personal                   4/26/2021                1
  OFF77JH                  Yes                       Personal                   4/25/2021                1
  2UDMZX2                  Yes                       Personal                   4/26/2021                1
  XJ3I5R4                  Yes                       Personal                   4/27/2021                1
  S4XLQME                  Yes                       Personal                   4/26/2021                1
  7FKCSAF                  Yes                       Personal                   4/26/2021                1
  G09EB47                  Yes                       Personal                   4/26/2021                1
  JRVBHAO                  Yes                       Personal                   4/26/2021                1
  PL66UQ3                  Yes                       Personal                   4/26/2021                1
  8R6I5Q1                  Yes                       Personal                   4/26/2021                1
  8QGV4AK                  Yes                       Personal                   4/26/2021                1
  1MGTG7B                  Yes                       Personal                   4/26/2021                1
  GIPCQA0                  Yes                       Personal                   4/26/2021                1
  PP55CYG                  Yes                       Personal                   4/26/2021                1
  LXAPO3N                  Yes                       Personal                   4/26/2021                1
  IBXE8EA                  Yes                       Personal                   4/26/2021                1
  V2MBOO6                  Yes                       Personal                   4/26/2021                1
  HYNOS4X                  Yes                       Personal                   4/27/2021                1
  TOBVHQD                  Yes                       Personal                   4/26/2021                1
  JCZFM13                  Yes                       Personal                   4/26/2021                1
  CI07DY9                  Yes                       Personal                   4/26/2021                1
  P82DA19                  Yes                       Personal                   4/27/2021                1
  ADKG6WT                  Yes                       Personal                   4/26/2021                1
  WTT5LIM                  Yes                       Personal                   4/27/2021                1
  W0TLQWP                  Yes                       Personal                   4/26/2021                1
  9AYAV5S                  Yes                       Personal                   4/26/2021                1
  DKRCUO2                  Yes                       Personal                   4/26/2021                1
  D1UPJH4                  Yes                       Personal                   4/26/2021                1
  5RVHDM0                  Yes                       Personal                   4/26/2021                1
  PQ69LDB                  Yes                       Personal                   4/26/2021                1
  RN3GUGI                  Yes                       Personal                   4/26/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 24 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  CG3Y9RA                  Yes                       Personal                   4/26/2021                1
  667OBSX                  Yes                       Personal                   4/26/2021                1
  MUMAF5Z                  Yes                       Personal                   4/27/2021                1
  ZVQS09X                  Yes                       Personal                   4/26/2021                1
  54MDPC0                  Yes                       Personal                   4/27/2021                1
  RSN3LQJ                  Yes                       Personal                   4/23/2021                1
  7EMR7K7                  Yes                       Personal                   4/26/2021                1
  093D4TG                  Yes                       Personal                   4/27/2021                1
  E2PV1IX                  Yes                       Personal                   4/26/2021                1
  UU2LVT0                  Yes                       Personal                   4/27/2021                1
  7GUSJ4R                  Yes                       Personal                   4/27/2021                1
  21Q8RK6                  Yes                       Personal                   4/26/2021                1
  NS1NKJF                  Yes                       Personal                   4/26/2021                1
  W1EF8B0                  Yes                       Personal                   4/26/2021                1
  IE36ASV                  Yes                       Personal                   4/26/2021                1
  9CXCNS6                  Yes                       Personal                   4/26/2021                1
  CGWD911                  Yes                       Personal                   4/26/2021                1
  FGQN79F                  Yes                       Personal                   4/27/2021                1
  5V92KFL                  Yes                       Personal                   4/26/2021                1
  9WU4AGM                  Yes                       Personal                   4/27/2021                1
  K0BJ06K                  Yes                       Personal                   4/27/2021                1
  1RIYAX5                  Yes                       Personal                   4/27/2021                1
  P3OM8U9                  Yes                       Personal                   4/26/2021                1
  0H3RGSN                  Yes                       Personal                   4/26/2021                1
  E2MI6BD                  Yes                       Personal                   4/26/2021                1
  JCYMGR5                  Yes                       Personal                   4/26/2021                1
  YNE2F4H                  Yes                       Personal                   4/26/2021                1
  HYMPQJB                  Yes                       Personal                   4/26/2021                1
  99WIHH8                  Yes                       Personal                   4/26/2021                1
  L5PT5EM                  Yes                       Personal                   4/26/2021                1
  WY3PNZM                  Yes                       Personal                   4/26/2021                1
  VTRO1AY                  Yes                       Personal                   4/27/2021                1
  AHD3WMY                  Yes                       Personal                   4/26/2021                1
  VPO1V73                  Yes                       Personal                   4/26/2021                1
  1BFOO4Z                  Yes                       Personal                   4/25/2021                1
  OQ66BSK                  Yes                       Personal                   4/26/2021                1
  GVUMM18                  Yes                       Personal                   4/26/2021                1
  1X4I63I                  Yes                       Personal                   4/26/2021                1
  2MQ6ESE                  Yes                       Personal                   4/26/2021                1
  C7QJ93O                  Yes                       Personal                   4/27/2021                1
  5G73NS6                  Yes                       Personal                   4/27/2021                1
  R7OIPLK                  Yes                       Personal                   05/04/2021               1
  Z5E20F4                  Yes                       Personal                   4/30/2021                1
  FV675SH                  Yes                       Personal                   4/28/2021                1
  JBCJVN8                  Yes                       Personal                   4/28/2021                1
  8BQPD8G                  Yes                       Personal                   4/28/2021                1
  MP9WF11                  Yes                       Personal                   05/01/2021               1
  M5O2X5O                  Yes                       Personal                   4/30/2021                1
  5USADY0                  Yes                       Personal                   4/28/2021                1
  DE8B5J9                  Yes                       Personal                   05/01/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 25 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  S7G4O7K                  Yes                       Personal                   4/28/2021                1
  SQ5VAYI                  Yes                       Personal                   4/30/2021                1
  PQZ5JD8                  Yes                       Personal                   4/28/2021                1
  ZJZA6PG                  Yes                       Personal                   4/30/2021                1
  JBW69KI                  Yes                       Personal                   4/30/2021                1
  1X4KQAX                  Yes                       Personal                   05/05/2021               1
  87A4F7F                  Yes                       Personal                   05/01/2021               1
  GBG9C0G                  Yes                       Personal                   4/30/2021                1
  9HCM0GZ                  Yes                       Personal                   05/02/2021               1
  U65SKET                  Yes                       Personal                   4/28/2021                1
  P13H6KC                  Yes                       Personal                   4/29/2021                1
  P9BXZHG                  Yes                       Personal                   4/29/2021                1
  EMFI0E3                  Yes                       Personal                   4/29/2021                1
  GG4OQR5                  Yes                       Personal                   05/03/2021               1
  HLUZCC2                  Yes                       Personal                   4/28/2021                1
  AJPR09A                  Yes                       Personal                   4/29/2021                1
  UP9R36E                  Yes                       Personal                   05/01/2021               1
  WJOSSTA                  Yes                       Personal                   05/05/2021               1
  FSL9IVI                  Yes                       Personal                   05/04/2021               1
  DDSR3H2                  Yes                       Personal                   4/28/2021                1
  CAMQI1B                  Yes                       Personal                   05/03/2021               1
  MU4ELG8                  Yes                       Personal                   4/28/2021                1
  XL2HHYY                  Yes                       Personal                   4/28/2021                1
  ZI0DVPO                  Yes                       Personal                   05/03/2021               1
  ZTR67I0                  Yes                       Personal                   05/03/2021               1
  DC1NIGR                  Yes                       Personal                   05/01/2021               1
  Z8V3955                  Yes                       Personal                   05/01/2021               1
  L6FPIZK                  Yes                       Personal                   4/28/2021                1
  J5LXNLF                  Yes                       Personal                   05/03/2021               1
  4PK6433                  Yes                       Personal                   05/02/2021               1
  MA2FDU5                  Yes                       Personal                   4/29/2021                1
  PHS8UKN                  Yes                       Personal                   05/05/2021               1
  DP3TRBX                  Yes                       Personal                   05/01/2021               1
  H659K1G                  Yes                       Personal                   05/05/2021               1
  I223OUV                  Yes                       Personal                   05/01/2021               1
  RD94OF6                  Yes                       Personal                   05/01/2021               1
  IQR575V                  Yes                       Personal                   05/02/2021               1
  D698T8U                  Yes                       Personal                   4/29/2021                1
  4IZRQO1                  Yes                       Personal                   4/30/2021                1
  G6CLMMY                  Yes                       Personal                   4/28/2021                1
  MWYSBZW                  Yes                       Personal                   4/28/2021                1
  3L381Y5                  Yes                       Personal                   4/28/2021                1
  FLBH3Z4                  Yes                       Personal                   4/28/2021                1
  MK6WMJA                  Yes                       Personal                   05/05/2021               1
  UEDQIU8                  Yes                       Personal                   05/03/2021               1
  N7IKDGB                  Yes                       Personal                   4/30/2021                1
  1IYPTKZ                  Yes                       Personal                   4/29/2021                1
  6MF62E6                  Yes                       Personal                   05/03/2021               1
  OWNHITF                  Yes                       Personal                   4/28/2021                1
  42ZS1Q0                  Yes                       Personal                   05/02/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 26 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  Y7KS8S2                  Yes                       Personal                   4/28/2021                1
  C5UC02P                  Yes                       Personal                   4/30/2021                1
  02O61MW                  Yes                       Personal                   4/28/2021                1
  SSO92ZN                  Yes                       Personal                   4/30/2021                1
  90QCOZZ                  Yes                       Personal                   4/28/2021                1
  NSOO7MQ                  Yes                       Personal                   4/28/2021                1
  8LQ87AW                  Yes                       Personal                   4/30/2021                1
  13Y8DOI                  Yes                       Personal                   4/29/2021                1
  VVDZB1Z                  Yes                       Personal                   05/02/2021               1
  00POC3P                  Yes                       Personal                   4/28/2021                1
  79XUG7O                  Yes                       Personal                   05/05/2021               1
  ECE0U2K                  Yes                       Personal                   4/28/2021                1
  KVGFV7H                  Yes                       Personal                   4/30/2021                1
  LCKXI87                  Yes                       Personal                   4/30/2021                1
  GVX54QF                  Yes                       Personal                   05/02/2021               1
  7SXBQ2L                  Yes                       Personal                   4/28/2021                1
  AHZRXQ6                  Yes                       Personal                   4/29/2021                1
  WDDFODP                  Yes                       Personal                   4/29/2021                1
  AY3KFP0                  Yes                       Personal                   05/02/2021               1
  K1VHGYM                  Yes                       Personal                   05/03/2021               1
  LSW1FV8                  Yes                       Personal                   4/28/2021                1
  0HFXLJ1                  Yes                       Personal                   4/29/2021                1
  YDGF9MH                  Yes                       Personal                   05/03/2021               1
  3GOXK5K                  Yes                       Personal                   05/02/2021               1
  95UK5LU                  Yes                       Personal                   05/01/2021               1
  DMDOSU2                  Yes                       Personal                   4/29/2021                1
  SG853TV                  Yes                       Personal                   05/02/2021               1
  4OEFD2Q                  Yes                       Personal                   4/30/2021                1
  R41N2JS                  Yes                       Personal                   05/05/2021               1
  7WB6SWI                  Yes                       Personal                   05/03/2021               1
  SSMUZ8G                  Yes                       Personal                   4/28/2021                1
  04YOPUP                  Yes                       Personal                   05/03/2021               1
  IMUPAB3                  Yes                       Personal                   05/05/2021               1
  B01MHNO                  Yes                       Personal                   05/03/2021               1
  97AOLIE                  Yes                       Personal                   05/03/2021               1
  F9CH5KO                  Yes                       Personal                   05/01/2021               1
  JYHUY9Y                  Yes                       Personal                   4/28/2021                1
  9GPVDVB                  Yes                       Personal                   05/01/2021               1
  IT87JID                  Yes                       Personal                   4/30/2021                1
  3Y5TR49                  Yes                       Personal                   05/02/2021               1
  YZS6J44                  Yes                       Personal                   05/01/2021               1
  A3B194Z                  Yes                       Personal                   05/01/2021               1
  A1PP8BG                  Yes                       Personal                   4/28/2021                1
  LDH3TNW                  Yes                       Personal                   05/01/2021               1
  OVTBZA4                  Yes                       Personal                   4/28/2021                1
  JH5Q8XI                  Yes                       Personal                   4/30/2021                1
  IXLZVK2                  Yes                       Personal                   4/30/2021                1
  6656P7Z                  Yes                       Personal                   05/01/2021               1
  T21KBHL                  Yes                       Personal                   05/01/2021               1
  T61XLAP                  Yes                       Personal                   4/28/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 27 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  83SIR1B                  Yes                       Personal                   05/05/2021               1
  A6HSTUE                  Yes                       Personal                   05/01/2021               1
  58PHA3I                  Yes                       Personal                   05/02/2021               1
  6NRRCK7                  Yes                       Personal                   4/28/2021                1
  BHE007O                  Yes                       Personal                   05/01/2021               1
  X5KPK84                  Yes                       Personal                   05/01/2021               1
  8JSLOFH                  Yes                       Personal                   05/05/2021               1
  86NCNVK                  Yes                       Personal                   4/29/2021                1
  YAS5JD3                  Yes                       Personal                   4/29/2021                1
  PH1JBZ0                  Yes                       Personal                   4/28/2021                1
  BLJCZYI                  Yes                       Personal                   4/28/2021                1
  LDR6F91                  Yes                       Personal                   05/03/2021               1
  61RPGIR                  Yes                       Personal                   4/29/2021                1
  Y8FK6I3                  Yes                       Personal                   4/29/2021                1
  U4YOHKE                  Yes                       Personal                   4/30/2021                1
  7UNDBJW                  Yes                       Personal                   4/30/2021                1
  H3OVU0R                  Yes                       Personal                   4/30/2021                1
  CJJPP4Y                  Yes                       Personal                   4/28/2021                1
  RYE9IWI                  Yes                       Personal                   4/30/2021                1
  854ITGQ                  Yes                       Personal                   4/28/2021                1
  MDXLK47                  Yes                       Personal                   05/05/2021               1
  6MYMTUR                  Yes                       Personal                   4/28/2021                1
  3RUSYR9                  Yes                       Personal                   4/30/2021                1
  5FGHIQB                  Yes                       Personal                   05/01/2021               1
  MZ0GEUU                  Yes                       Personal                   4/28/2021                1
  L06R72C                  Yes                       Personal                   4/30/2021                1
  4PDPFD9                  Yes                       Personal                   05/05/2021               1
  YIAUPTN                  Yes                       Personal                   4/28/2021                1
  VMRLABR                  Yes                       Personal                   05/04/2021               1
  WCL52FO                  Yes                       Personal                   05/02/2021               1
  O62VP2G                  Yes                       Personal                   05/01/2021               1
  456Q6BD                  Yes                       Personal                   05/05/2021               1
  9MV02G7                  Yes                       Personal                   4/29/2021                1
  B239TR4                  Yes                       Personal                   05/03/2021               1
  6S44NLQ                  Yes                       Personal                   4/30/2021                1
  PE098E6                  Yes                       Personal                   05/01/2021               1
  OIBBCWE                  Yes                       Personal                   05/02/2021               1
  TOZI0MN                  Yes                       Personal                   4/28/2021                1
  TCKJ8UJ                  Yes                       Personal                   4/30/2021                1
  L1PNT1Q                  Yes                       Personal                   4/29/2021                1
  HZF4HZ5                  Yes                       Personal                   05/01/2021               1
  NVA2WQO                  Yes                       Personal                   4/29/2021                1
  17Q6BOU                  Yes                       Personal                   4/29/2021                1
  TKRAO0L                  Yes                       Personal                   05/01/2021               1
  0114GF2                  Yes                       Personal                   05/04/2021               1
  BFVYNIN                  Yes                       Personal                   05/01/2021               1
  KYQ1MUU                  Yes                       Personal                   4/28/2021                1
  059O8X3                  Yes                       Personal                   05/03/2021               1
  9VRWMBB                  Yes                       Personal                   4/28/2021                1
  GGANAXQ                  Yes                       Personal                   4/28/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 28 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  OS4W5P5                  Yes                       Personal                   05/01/2021               1
  WWTEKH4                  Yes                       Personal                   4/29/2021                1
  2UKUL2Z                  Yes                       Personal                   05/03/2021               1
  6CN7BRW                  Yes                       Personal                   4/30/2021                1
  BWDI84S                  Yes                       Personal                   4/29/2021                1
  YIWY32B                  Yes                       Personal                   4/28/2021                1
  K4YQODK                  Yes                       Personal                   4/30/2021                1
  W6YFXRV                  Yes                       Personal                   4/29/2021                1
  T4GCT35                  Yes                       Personal                   4/29/2021                1
  GHR2413                  Yes                       Personal                   05/03/2021               1
  CA11HVK                  Yes                       Personal                   4/30/2021                1
  SL0PL4Z                  Yes                       Personal                   05/01/2021               1
  8T8BM45                  Yes                       Personal                   05/01/2021               1
  3Q8Q4SP                  Yes                       Personal                   4/28/2021                1
  T0DFP19                  Yes                       Personal                   4/30/2021                1
  ZZ8DV5D                  Yes                       Personal                   05/01/2021               1
  74NGYPT                  Yes                       Personal                   4/28/2021                1
  R6WUS0M                  Yes                       Personal                   05/01/2021               1
  FV7Q918                  Yes                       Personal                   4/28/2021                1
  NDMIN1W                  Yes                       Personal                   4/30/2021                1
  NUO7JIA                  Yes                       Personal                   05/01/2021               1
  9YADBT9                  Yes                       Personal                   4/29/2021                1
  8PLKHIC                  Yes                       Personal                   4/30/2021                1
  XPGH5EA                  Yes                       Personal                   4/30/2021                1
  Q7OJFSW                  Yes                       Personal                   4/30/2021                1
  1UDJACR                  Yes                       Personal                   05/02/2021               1
  C8PXSB1                  Yes                       Personal                   05/04/2021               1
  SM6Y8QP                  Yes                       Personal                   4/28/2021                1
  848BCCN                  Yes                       Personal                   4/30/2021                1
  DGAPLRG                  Yes                       Personal                   05/01/2021               1
  JUBKTYM                  Yes                       Personal                   4/29/2021                1
  KLO30PV                  Yes                       Personal                   05/02/2021               1
  ZNSHFPI                  Yes                       Personal                   4/28/2021                1
  53W0WCJ                  Yes                       Personal                   4/28/2021                1
  1F35QRR                  Yes                       Personal                   4/30/2021                1
  G52ASW5                  Yes                       Personal                   05/03/2021               1
  PLKZERO                  Yes                       Personal                   05/02/2021               1
  H03W90O                  Yes                       Personal                   05/05/2021               1
  XJM99AQ                  Yes                       Personal                   05/04/2021               1
  9GF5RH1                  Yes                       Personal                   4/30/2021                1
  U58CYNW                  Yes                       Personal                   4/30/2021                1
  LIC4Q6Q                  Yes                       Personal                   4/28/2021                1
  N3VK1YS                  Yes                       Personal                   4/29/2021                1
  13WCZVH                  Yes                       Personal                   4/28/2021                1
  OBJT44Q                  Yes                       Personal                   4/30/2021                1
  FB9UTPW                  Yes                       Personal                   05/03/2021               1
  POTNLTS                  Yes                       Personal                   4/30/2021                1
  HLI8AQG                  Yes                       Personal                   4/30/2021                1
  OTQ5352                  Yes                       Personal                   05/01/2021               1
  ORWIXZG                  Yes                       Personal                   05/03/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 29 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  S25SMV4                  Yes                       Personal                   4/30/2021                1
  7SEVJQO                  Yes                       Personal                   05/04/2021               1
  9AL28DA                  Yes                       Personal                   4/29/2021                1
  9F68721                  Yes                       Personal                   05/01/2021               1
  IRJMUSN                  Yes                       Personal                   4/28/2021                1
  TJP6SOR                  Yes                       Personal                   4/30/2021                1
  HKWK8WC                  Yes                       Personal                   05/03/2021               1
  83AKMY8                  Yes                       Personal                   05/02/2021               1
  OMS9GTY                  Yes                       Personal                   4/30/2021                1
  87OWQS0                  Yes                       Personal                   4/28/2021                1
  GCDXGQ0                  Yes                       Personal                   05/03/2021               1
  MM1147R                  Yes                       Personal                   05/01/2021               1
  9HPSQ4G                  Yes                       Personal                   05/03/2021               1
  AQL115P                  Yes                       Personal                   05/03/2021               1
  HI9N100                  Yes                       Personal                   05/03/2021               1
  UXDAIAQ                  Yes                       Personal                   4/29/2021                1
  QNP407N                  Yes                       Personal                   05/01/2021               1
  U8ZJPB5                  Yes                       Personal                   05/01/2021               1
  XCGU7D9                  Yes                       Personal                   05/01/2021               1
  B4MV4Y4                  Yes                       Personal                   4/30/2021                1
  0V3D3VY                  Yes                       Personal                   4/29/2021                1
  7WU99JZ                  Yes                       Personal                   4/28/2021                1
  156AL9Q                  Yes                       Personal                   4/30/2021                1
  8GBBGMU                  Yes                       Personal                   05/01/2021               1
  3JL0K9J                  Yes                       Personal                   05/01/2021               1
  R33IF2J                  Yes                       Personal                   4/28/2021                1
  VN1PL83                  Yes                       Personal                   05/02/2021               1
  X02U690                  Yes                       Personal                   05/01/2021               1
  27JUVS8                  Yes                       Personal                   4/29/2021                1
  NRGYVFM                  Yes                       Personal                   4/28/2021                1
  B9LTW9M                  Yes                       Personal                   05/03/2021               1
  QLPM5VD                  Yes                       Personal                   05/02/2021               1
  K93E7K9                  Yes                       Personal                   05/04/2021               1
  A7TODFD                  Yes                       Personal                   4/28/2021                1
  Z1SN5JS                  Yes                       Personal                   05/01/2021               1
  L5EFOYY                  Yes                       Personal                   4/28/2021                1
  F3IMS5E                  Yes                       Personal                   4/30/2021                1
  FV9925O                  Yes                       Personal                   05/03/2021               1
  EL7ZBNL                  Yes                       Personal                   4/28/2021                1
  082727Z                  Yes                       Personal                   05/04/2021               1
  EM8O1XC                  Yes                       Personal                   4/28/2021                1
  W5D1INX                  Yes                       Personal                   4/28/2021                1
  K0CIT2A                  Yes                       Personal                   4/30/2021                1
  EP4BKPL                  Yes                       Personal                   4/28/2021                1
  JOR61BL                  Yes                       Personal                   05/05/2021               1
  GUMXUPC                  Yes                       Personal                   4/30/2021                1
  3YOKKMJ                  Yes                       Personal                   4/30/2021                1
  YT4QO8N                  Yes                       Personal                   4/29/2021                1
  ILFWUIG                  Yes                       Personal                   4/28/2021                1
  EOYIEOA                  Yes                       Personal                   05/02/2021               1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 30 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  MRDC2AO                  Yes                       Personal                   4/30/2021                1
  ELVW8DD                  Yes                       Personal                   4/28/2021                1
  D7H32ZK                  Yes                       Personal                   4/28/2021                1
  3DDK19I                  Yes                       Personal                   4/28/2021                1
  G4R7PG2                  Yes                       Personal                   4/28/2021                1
  L49DWUO                  Yes                       Personal                   05/04/2021               1
  1M6S7H9                  Yes                       Personal                   4/28/2021                1
  0HOZOE9                  Yes                       Personal                   4/28/2021                1
  5U0JZD6                  Yes                       Personal                   4/29/2021                1
  A1UZLQW                  Yes                       Personal                   4/28/2021                1
  6HYR2NL                  Yes                       Personal                   4/30/2021                1
  0KKZNAG                  Yes                       Personal                   4/29/2021                1
  GM4BFPM                  Yes                       Personal                   05/04/2021               1
  9J4AKGU                  Yes                       Personal                   05/05/2021               1
  47PKQ8V                  Yes                       Personal                   4/28/2021                1
  ZHMR2C3                  Yes                       Personal                   05/02/2021               1
  KKWHJ2J                  Yes                       Personal                   05/01/2021               1
  6Y4JI1W                  Yes                       Personal                   05/01/2021               1
  8GMU39H                  Yes                       Personal                   4/29/2021                1
  MEB4GQ1                  Yes                       Personal                   4/29/2021                1
  YL7CRF2                  Yes                       Personal                   05/02/2021               1
  B38UMDE                  Yes                       Personal                   05/03/2021               1
  BOIDRXN                  Yes                       Personal                   4/30/2021                1
  AKYONW4                  Yes                       Personal                   4/30/2021                1
  XRVPJ3K                  Yes                       Personal                   05/03/2021               1
  ZHF1DYH                  Yes                       Personal                   4/29/2021                1
  KIK1GG5                  Yes                       Personal                   05/05/2021               1
  X67MGYO                  Yes                       Personal                   4/28/2021                1
  MN37IXB                  Yes                       Personal                   05/01/2021               1
  NKSJO7R                  Yes                       Personal                   05/03/2021               1
  ARUN2WM                  Yes                       Personal                   05/03/2021               1
  SWKBW5P                  Yes                       Personal                   05/01/2021               1
  78JBCWH                  Yes                       Personal                   4/30/2021                1
  3B8MZNS                  Yes                       Personal                   05/01/2021               1
  M6QI7WZ                  Yes                       Personal                   4/28/2021                1
  GQH0TJR                  Yes                       Personal                   4/28/2021                1
  932LJ0R                  Yes                       Personal                   05/01/2021               1
  507BJ4V                  Yes                       Personal                   4/30/2021                1
  JTTTJE1                  Yes                       Personal                   05/02/2021               1
  KV8H89W                  Yes                       Personal                   4/28/2021                1
  TSGD322                  Yes                       Personal                   05/05/2021               1
  9COVOR7                  Yes                       Personal                   05/05/2021               1
  AGEQ2JL                  Yes                       Personal                   05/04/2021               1
  QIHHU7U                  Yes                       Personal                   05/04/2021               1
  PTEKPI8                  Yes                       Personal                   4/28/2021                1
  7LV24LZ                  Yes                       Personal                   4/29/2021                1
  V2LDHBO                  Yes                       Personal                   4/28/2021                1
  LIWZZ3Z                  Yes                       Personal                   05/01/2021               1
  FPTRAW8                  Yes                       Personal                   05/03/2021               1
  1GM7OMA                  Yes                       Personal                   4/29/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 31 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  2KSNNHC                  Yes                       Personal                   4/28/2021                1
  1EI3VJE                  Yes                       Personal                   05/01/2021               1
  PYDXCPD                  Yes                       Personal                   05/01/2021               1
  GAXZJ9F                  Yes                       Personal                   05/03/2021               1
  ZN70JD0                  Yes                       Personal                   4/28/2021                1
  9LXE0P1                  Yes                       Personal                   05/01/2021               1
  VBNM5XO                  Yes                       Personal                   4/28/2021                1
  G38VKE1                  Yes                       Personal                   05/02/2021               1
  27QSSHN                  Yes                       Personal                   4/28/2021                1
  MMIUQTN                  Yes                       Personal                   4/28/2021                1
  RLWVQZW                  Yes                       Personal                   4/28/2021                1
  AIU93IM                  Yes                       Personal                   05/01/2021               1
  90TC36N                  Yes                       Personal                   05/04/2021               1
  ZT8IVR5                  Yes                       Personal                   4/28/2021                1
  0WONOAV                  Yes                       Personal                   4/30/2021                1
  K9O963M                  Yes                       Personal                   4/30/2021                1
  5QUK69J                  Yes                       Personal                   4/30/2021                1
  GHHUWNU                  Yes                       Personal                   4/30/2021                1
  IZ5F86Z                  Yes                       Personal                   05/02/2021               1
  6OEZJLT                  Yes                       Personal                   05/03/2021               1
  P7PSN83                  Yes                       Personal                   05/05/2021               1
  3D7ZEHY                  Yes                       Personal                   4/29/2021                1
  F0SKZLK                  Yes                       Personal                   05/03/2021               1
  KKGLJ9H                  Yes                       Personal                   05/01/2021               1
  VNCS1EV                  Yes                       Personal                   4/28/2021                1
  C88XH8C                  Yes                       Personal                   05/04/2021               1
  ZY7LLT0                  Yes                       Personal                   4/28/2021                1
  CBM0RJ4                  Yes                       Personal                   05/03/2021               1
  LIBMW6R                  Yes                       Personal                   4/28/2021                1
  M4D88YR                  Yes                       Personal                   4/29/2021                1
  E11AW8B                  Yes                       Personal                   4/30/2021                1
  4JX9TGI                  Yes                       Personal                   4/28/2021                1
  EDT1FVR                  Yes                       Personal                   4/28/2021                1
  MA0SO2J                  Yes                       Personal                   4/28/2021                1
  N7E2N1Q                  Yes                       Personal                   4/29/2021                1
  9YA12PG                  Yes                       Personal                   4/30/2021                1
  67BQ8Q4                  Yes                       Personal                   05/04/2021               1
  359Y5WT                  Yes                       Personal                   4/28/2021                1
  SA613HE                  Yes                       Personal                   05/02/2021               1
  JHWEK08                  Yes                       Personal                   4/29/2021                1
  N0C5T29                  Yes                       Personal                   05/04/2021               1
  6OJN845                  Yes                       Personal                   05/04/2021               1
  4S9ZBCC                  Yes                       Personal                   05/05/2021               1
  716KXIJ                  Yes                       Personal                   4/30/2021                1
  K5ZOX8O                  Yes                       Personal                   4/29/2021                1
  S7XBY4S                  Yes                       Personal                   05/01/2021               1
  XY5W9BJ                  Yes                       Personal                   4/28/2021                1
  03BV8G1                  Yes                       Personal                   05/01/2021               1
  Q31YKJY                  Yes                       Personal                   05/01/2021               1
  DGXEO01                  Yes                       Personal                   4/30/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 32 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  PKKHJ7R                  Yes                       Personal                   4/28/2021                1
  N65F3AB                  Yes                       Personal                   4/28/2021                1
  9NSG1V2                  Yes                       Personal                   4/30/2021                1
  Y6IUWJG                  Yes                       Personal                   05/01/2021               1
  0F5LJA0                  Yes                       Personal                   4/28/2021                1
  KWPTNA8                  Yes                       Personal                   4/28/2021                1
  CSATJCA                  Yes                       Personal                   05/01/2021               1
  KGZTHD3                  Yes                       Personal                   4/30/2021                1
  S94K7N6                  Yes                       Personal                   4/30/2021                1
  6NH56IR                  Yes                       Personal                   4/28/2021                1
  W0E2M1J                  Yes                       Personal                   4/29/2021                1
  HMFJHHU                  Yes                       Personal                   4/29/2021                1
  5BQ28PS                  Yes                       Personal                   4/30/2021                1
  B97V05O                  Yes                       Personal                   4/28/2021                1
  7M1PNFX                  Yes                       Personal                   4/28/2021                1
  D40ZT16                  Yes                       Personal                   4/28/2021                1
  F74QV0M                  Yes                       Personal                   4/29/2021                1
  HQ0UACV                  Yes                       Personal                   4/30/2021                1
  ECLRAS7                  Yes                       Personal                   4/28/2021                1
  ADGHVYE                  Yes                       Personal                   05/01/2021               1
  WYVH8FY                  Yes                       Personal                   4/30/2021                1
  PAURE7E                  Yes                       Personal                   4/29/2021                1
  O9KAFW4                  Yes                       Personal                   05/01/2021               1
  9PNV9I9                  Yes                       Personal                   4/28/2021                1
  XJ1UF06                  Yes                       Personal                   05/02/2021               1
  0SLVJCN                  Yes                       Personal                   4/28/2021                1
  KKSQC4H                  Yes                       Personal                   4/28/2021                1
  NZD5X4V                  Yes                       Personal                   05/02/2021               1
  NYTBV0T                  Yes                       Personal                   05/01/2021               1
  5M2KZ3I                  Yes                       Personal                   05/04/2021               1
  O54B6W1                  Yes                       Personal                   05/03/2021               1
  KIOL8TL                  Yes                       Personal                   05/04/2021               1
  9V7ST9K                  Yes                       Personal                   4/28/2021                1
  34DUM6K                  Yes                       Personal                   4/30/2021                1
  U4O5IZQ                  Yes                       Personal                   05/05/2021               1
  J6HGQNW                  Yes                       Personal                   4/30/2021                1
  3AYZDX7                  Yes                       Personal                   4/30/2021                1
  8JGF7K9                  Yes                       Personal                   4/30/2021                1
  WL7OTMH                  Yes                       Personal                   05/04/2021               1
  9EXI4XI                  Yes                       Personal                   4/30/2021                1
  9PJAMIF                  Yes                       Personal                   05/05/2021               1
  GVOVGD5                  Yes                       Personal                   4/30/2021                1
  8PRGMA3                  Yes                       Personal                   4/29/2021                1
  V8EZ0J8                  Yes                       Personal                   4/28/2021                1
  MUKV80I                  Yes                       Personal                   05/03/2021               1
  ZVJTHC7                  Yes                       Personal                   05/04/2021               1
  5S4P3A0                  Yes                       Personal                   4/30/2021                1
  Z0ZF46F                  Yes                       Personal                   4/29/2021                1
  6VENEMK                  Yes                       Personal                   05/01/2021               1
  2QXZMTV                  Yes                       Personal                   4/30/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 33 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  TCFYEFV                  Yes                       Personal                   4/30/2021                1
  C5B1EIA                  Yes                       Personal                   05/01/2021               1
  YB88QEV                  Yes                       Personal                   4/28/2021                1
  QBIJ3OE                  Yes                       Personal                   05/05/2021               1
  UNWR0QN                  Yes                       Personal                   4/28/2021                1
  XKNWRRA                  Yes                       Personal                   4/28/2021                1
  DIXFKZZ                  Yes                       Personal                   4/30/2021                1
  6DI95S4                  Yes                       Personal                   05/01/2021               1
  6TWTXWN                  Yes                       Personal                   4/28/2021                1
  P59D7WF                  Yes                       Personal                   05/03/2021               1
  6A92ARI                  Yes                       Personal                   4/28/2021                1
  MKKBEBP                  Yes                       Personal                   4/30/2021                1
  SUP2KFR                  Yes                       Personal                   05/01/2021               1
  GBIB35B                  Yes                       Personal                   05/02/2021               1
  FSXBZQB                  Yes                       Personal                   05/02/2021               1
  PH6GVSL                  Yes                       Personal                   4/30/2021                1
  M9819HR                  Yes                       Personal                   05/02/2021               1
  L65HYAN                  Yes                       Personal                   05/01/2021               1
  B26QADW                  Yes                       Personal                   4/30/2021                1
  KIL2BXW                  Yes                       Personal                   4/28/2021                1
  KIL549F                  Yes                       Personal                   4/29/2021                1
  FK4309W                  Yes                       Personal                   05/01/2021               1
  CVP94VT                  Yes                       Personal                   05/01/2021               1
  GR9GCAS                  Yes                       Personal                   4/30/2021                1
  NQND6V8                  Yes                       Personal                   4/30/2021                1
  MDM5K6C                  Yes                       Personal                   4/29/2021                1
  9RR2J5N                  Yes                       Personal                   4/28/2021                1
  8ZDHS3O                  Yes                       Personal                   05/01/2021               1
  JWNMXI5                  Yes                       Personal                   4/30/2021                1
  OA9G01Q                  Yes                       Personal                   4/28/2021                1
  OVIR5WG                  Yes                       Personal                   4/29/2021                1
  PUR4IRG                  Yes                       Personal                   4/30/2021                1
  49MW28Z                  Yes                       Personal                   05/02/2021               1
  J1ZGG36                  Yes                       Personal                   4/30/2021                1
  R0C2KTZ                  Yes                       Personal                   05/01/2021               1
  99Y5ACK                  Yes                       Personal                   05/02/2021               1
  35UA134                  Yes                       Personal                   05/01/2021               1
  1TTWQ36                  Yes                       Personal                   05/01/2021               1
  QYJCH9T                  Yes                       Personal                   05/03/2021               1
  XJPSGKW                  Yes                       Personal                   4/29/2021                1
  7OBO4GU                  Yes                       Personal                   4/28/2021                1
  U7HWP5P                  Yes                       Personal                   05/03/2021               1
  I14OESZ                  Yes                       Personal                   05/04/2021               1
  83QJ6DE                  Yes                       Personal                   05/02/2021               1
  CV51TY6                  Yes                       Personal                   4/30/2021                1
  SSRBM5K                  Yes                       Personal                   4/30/2021                1
  569J58X                  Yes                       Personal                   05/02/2021               1
  322VF3Q                  Yes                       Personal                   05/04/2021               1
  AMW05AZ                  Yes                       Personal                   4/28/2021                1
  QDJVZC9                  Yes                       Personal                   4/29/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 34 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  7IQWCQP                  Yes                       Personal                   05/01/2021               1
  CV5GICT                  Yes                       Personal                   4/28/2021                1
  52JEK3L                  Yes                       Personal                   05/01/2021               1
  CW3KFDC                  Yes                       Personal                   4/28/2021                1
  D5KA3V1                  Yes                       Personal                   05/02/2021               1
  1FQS29W                  Yes                       Personal                   4/30/2021                1
  Q9HKD0I                  Yes                       Personal                   4/30/2021                1
  LQHFBVX                  Yes                       Personal                   05/01/2021               1
  4MDFDT2                  Yes                       Personal                   05/03/2021               1
  JKCB748                  Yes                       Personal                   05/03/2021               1
  T7EHOMI                  Yes                       Personal                   4/29/2021                1
  BU1UJ96                  Yes                       Personal                   4/30/2021                1
  IKCKUGA                  Yes                       Personal                   4/29/2021                1
  OPBZMQ9                  Yes                       Personal                   4/30/2021                1
  ZC2N696                  Yes                       Personal                   05/04/2021               1
  ZMPDN2M                  Yes                       Personal                   05/02/2021               1
  BOW40J5                  Yes                       Personal                   05/02/2021               1
  MKVP2M3                  Yes                       Personal                   4/29/2021                1
  Q5E3KVA                  Yes                       Personal                   4/29/2021                1
  B2U0UHV                  Yes                       Personal                   4/28/2021                1
  KHX8FNL                  Yes                       Personal                   4/28/2021                1
  LZ5H6CY                  Yes                       Personal                   4/29/2021                1
  IP9SS7T                  Yes                       Personal                   05/01/2021               1
  MLEGZ7S                  Yes                       Personal                   4/28/2021                1
  WF8DFKO                  Yes                       Personal                   4/28/2021                1
  JEPA2KH                  Yes                       Personal                   4/28/2021                1
  20QJORE                  Yes                       Personal                   05/01/2021               1
  2RD0YGB                  Yes                       Personal                   05/05/2021               1
  T1RBL5L                  Yes                       Personal                   4/29/2021                1
  XYO1VJ9                  Yes                       Personal                   4/30/2021                1
  D8RCHMK                  Yes                       Personal                   05/05/2021               1
  MNDP7AW                  Yes                       Personal                   4/28/2021                1
  WP3C8BL                  Yes                       Personal                   4/28/2021                1
  98L2T3P                  Yes                       Personal                   4/30/2021                1
  7SML4UQ                  Yes                       Personal                   05/01/2021               1
  FIT92RO                  Yes                       Personal                   4/28/2021                1
  BY101CP                  Yes                       Personal                   4/29/2021                1
  9DL5YVE                  Yes                       Personal                   4/29/2021                1
  WFIKAQR                  Yes                       Personal                   4/29/2021                1
  Q5JAIB9                  Yes                       Personal                   4/28/2021                1
  DSZJ4M0                  Yes                       Personal                   4/28/2021                1
  Q7XQQ6C                  Yes                       Personal                   05/03/2021               1
  J9505ZD                  Yes                       Personal                   4/30/2021                1
  KQA9V2F                  Yes                       Personal                   05/03/2021               1
  X4OSPWH                  Yes                       Personal                   05/01/2021               1
  U3ZLLVW                  Yes                       Personal                   4/28/2021                1
  E3XPRU5                  Yes                       Personal                   4/30/2021                1
  TBM711S                  Yes                       Personal                   05/01/2021               1
  83TPXZZ                  Yes                       Personal                   05/03/2021               1
  F56BDDZ                  Yes                       Personal                   4/28/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 35 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  YQ0VYK2                  Yes                       Personal                   05/02/2021               1
  F9IKHP7                  Yes                       Personal                   4/29/2021                1
  QPOCG3L                  Yes                       Personal                   4/29/2021                1
  WV6A5ZU                  Yes                       Personal                   4/29/2021                1
  C7DTTAP                  Yes                       Personal                   4/28/2021                1
  OF7C8DA                  Yes                       Personal                   05/01/2021               1
  EGR5RHV                  Yes                       Personal                   4/29/2021                1
  F0YNGYJ                  Yes                       Personal                   05/05/2021               1
  DRQJK46                  Yes                       Personal                   05/01/2021               1
  G0Q8O3E                  Yes                       Personal                   4/29/2021                1
  FSDVWDU                  Yes                       Personal                   4/28/2021                1
  99FKMF1                  Yes                       Personal                   4/30/2021                1
  VY3LVLO                  Yes                       Personal                   05/02/2021               1
  1DF5LRO                  Yes                       Personal                   05/02/2021               1
  NSCKLPI                  Yes                       Personal                   4/30/2021                1
  Z163YIN                  Yes                       Personal                   05/04/2021               1
  4KK9WNO                  Yes                       Personal                   4/28/2021                1
  ETTXXL9                  Yes                       Personal                   05/01/2021               1
  TPOA49I                  Yes                       Personal                   4/29/2021                1
  2C40BL2                  Yes                       Personal                   4/29/2021                1
  RFA3VO4                  Yes                       Personal                   4/28/2021                1
  N6A4C22                  Yes                       Personal                   05/05/2021               1
  3IPDONW                  Yes                       Personal                   4/29/2021                1
  3WPLT42                  Yes                       Personal                   4/28/2021                1
  9ROSXPM                  Yes                       Personal                   05/02/2021               1
  CTVXFK4                  Yes                       Personal                   4/29/2021                1
  0MP5WIF                  Yes                       Personal                   4/28/2021                1
  UNA8KFP                  Yes                       Personal                   4/29/2021                1
  EKMEOU7                  Yes                       Personal                   4/28/2021                1
  13W9K5T                  Yes                       Personal                   4/28/2021                1
  XJ4BAN0                  Yes                       Personal                   4/28/2021                1
  P4RFHEO                  Yes                       Personal                   4/29/2021                1
  EIFG0XA                  Yes                       Personal                   05/01/2021               1
  6OKKAM7                  Yes                       Personal                   05/01/2021               1
  CMIJ5G5                  Yes                       Personal                   4/28/2021                1
  Y9QPO0J                  Yes                       Personal                   4/29/2021                1
  4PXT55Q                  Yes                       Personal                   4/28/2021                1
  19RNZ7N                  Yes                       Personal                   4/28/2021                1
  HYEV6OA                  Yes                       Personal                   4/28/2021                1
  EE5I4O5                  Yes                       Personal                   05/01/2021               1
  ODRU24T                  Yes                       Personal                   05/05/2021               1
  G7O53VH                  Yes                       Personal                   05/04/2021               1
  UQ3Q6C7                  Yes                       Personal                   4/28/2021                1
  PZDMILS                  Yes                       Personal                   4/30/2021                1
  VRAHQDR                  Yes                       Personal                   4/29/2021                1
  VL8A7GZ                  Yes                       Personal                   4/29/2021                1
  JOYKJCN                  Yes                       Personal                   4/30/2021                1
  DBBFMIB                  Yes                       Personal                   4/28/2021                1
  0BECYUP                  Yes                       Personal                   4/29/2021                1
  019H0M3                  Yes                       Personal                   05/04/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 36 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  3X8CIGR                  Yes                       Personal                   05/02/2021               1
  5R0AIUB                  Yes                       Personal                   4/30/2021                1
  PYD8NWU                  Yes                       Personal                   4/30/2021                1
  BR55A1J                  Yes                       Personal                   05/01/2021               1
  K5IGTXH                  Yes                       Personal                   4/30/2021                1
  LMDBJ2K                  Yes                       Personal                   4/30/2021                1
  5G1XBK8                  Yes                       Personal                   05/04/2021               1
  91C1IIC                  Yes                       Personal                   05/04/2021               1
  43DQD1O                  Yes                       Personal                   05/03/2021               1
  UXUYST6                  Yes                       Personal                   4/30/2021                1
  XNHS8B1                  Yes                       Personal                   05/05/2021               1
  OLCLC4S                  Yes                       Personal                   05/01/2021               1
  2JFAGVZ                  Yes                       Personal                   4/28/2021                1
  3C6YGL6                  Yes                       Personal                   4/30/2021                1
  KNHLV6T                  Yes                       Personal                   4/29/2021                1
  09BM2LY                  Yes                       Personal                   4/28/2021                1
  BRMKT3V                  Yes                       Personal                   4/28/2021                1
  8JNR4QR                  Yes                       Personal                   4/28/2021                1
  AN18QI2                  Yes                       Personal                   4/28/2021                1
  VH03AUS                  Yes                       Personal                   05/04/2021               1
  YTSUIAI                  Yes                       Personal                   4/29/2021                1
  031GIDB                  Yes                       Personal                   4/28/2021                1
  BG91EA7                  Yes                       Personal                   05/01/2021               1
  45T4QV0                  Yes                       Personal                   4/28/2021                1
  8R9VBNU                  Yes                       Personal                   05/01/2021               1
  EWCGUW9                  Yes                       Personal                   4/30/2021                1
  52HG7AC                  Yes                       Personal                   4/28/2021                1
  WMQLR92                  Yes                       Personal                   4/28/2021                1
  CDDX0M1                  Yes                       Personal                   4/30/2021                1
  YUVLR9O                  Yes                       Personal                   4/28/2021                1
  UCLNMV2                  Yes                       Personal                   05/04/2021               1
  HY2P4PY                  Yes                       Personal                   4/30/2021                1
  XOLOLS9                  Yes                       Personal                   4/28/2021                1
  88IZBKY                  Yes                       Personal                   4/28/2021                1
  QM6VJV8                  Yes                       Personal                   05/03/2021               1
  9Q761V4                  Yes                       Personal                   05/03/2021               1
  AW8LSSY                  Yes                       Personal                   05/04/2021               1
  VAPI3GO                  Yes                       Personal                   4/28/2021                1
  82SJFP8                  Yes                       Personal                   05/04/2021               1
  GPUVZ94                  Yes                       Personal                   4/30/2021                1
  Q400D43                  Yes                       Personal                   05/03/2021               1
  3XH2FKZ                  Yes                       Personal                   4/28/2021                1
  UJZ8G2I                  Yes                       Personal                   4/28/2021                1
  B7UYI9Y                  Yes                       Personal                   4/28/2021                1
  RUVLJR6                  Yes                       Personal                   4/29/2021                1
  PQ2TUAQ                  Yes                       Personal                   4/29/2021                1
  2O0GUXD                  Yes                       Personal                   4/29/2021                1
  EULMGGP                  Yes                       Personal                   05/05/2021               1
  OYN4J6U                  Yes                       Personal                   4/30/2021                1
  PN156J9                  Yes                       Personal                   05/03/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 37 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  04127H6                  Yes                       Personal                   4/30/2021                1
  8ZXIMKM                  Yes                       Personal                   05/04/2021               1
  1N6O50M                  Yes                       Personal                   4/30/2021                1
  6C4U2CQ                  Yes                       Personal                   4/30/2021                1
  4UW4IXS                  Yes                       Personal                   4/29/2021                1
  7R6DW0S                  Yes                       Personal                   05/03/2021               1
  DAUE819                  Yes                       Personal                   4/30/2021                1
  59CAA2E                  Yes                       Personal                   05/02/2021               1
  5L505ID                  Yes                       Personal                   05/01/2021               1
  WLNCPGO                  Yes                       Personal                   4/30/2021                1
  WJJB9DB                  Yes                       Personal                   4/28/2021                1
  POSX1CU                  Yes                       Personal                   05/03/2021               1
  5V0HFLA                  Yes                       Personal                   05/01/2021               1
  D1RJRBJ                  Yes                       Personal                   4/29/2021                1
  3NM6CRV                  Yes                       Personal                   4/28/2021                1
  RI6N51Q                  Yes                       Personal                   05/01/2021               1
  VVBUVPX                  Yes                       Personal                   4/28/2021                1
  G9O3XTG                  Yes                       Personal                   05/03/2021               1
  JR01LAR                  Yes                       Personal                   4/30/2021                1
  QKR5SZT                  Yes                       Personal                   05/01/2021               1
  5WEGA5B                  Yes                       Personal                   05/03/2021               1
  6BCFZJ8                  Yes                       Personal                   4/29/2021                1
  Z9FKOU0                  Yes                       Personal                   05/01/2021               1
  LFARVF9                  Yes                       Personal                   4/29/2021                1
  2PB2M9U                  Yes                       Personal                   05/01/2021               1
  BW8ZQHW                  Yes                       Personal                   05/04/2021               1
  0G23VVW                  Yes                       Personal                   4/29/2021                1
  RFQZZ0Q                  Yes                       Personal                   05/01/2021               1
  5JX2WLU                  Yes                       Personal                   05/03/2021               1
  1P3UUXR                  Yes                       Personal                   4/30/2021                1
  F86SO9D                  Yes                       Personal                   05/02/2021               1
  2P2SZ47                  Yes                       Personal                   4/29/2021                1
  RVRTFE7                  Yes                       Personal                   4/29/2021                1
  TST31KH                  Yes                       Personal                   4/29/2021                1
  HMOBD1H                  Yes                       Personal                   05/01/2021               1
  3BEU2ZX                  Yes                       Personal                   05/01/2021               1
  ITOKDYZ                  Yes                       Personal                   05/05/2021               1
  CPJECXY                  Yes                       Personal                   05/04/2021               1
  ECC3GOP                  Yes                       Personal                   4/30/2021                1
  3USNT3V                  Yes                       Personal                   4/28/2021                1
  DY937KW                  Yes                       Personal                   4/29/2021                1
  5NFTNYI                  Yes                       Personal                   05/03/2021               1
  KVBQTQP                  Yes                       Personal                   4/30/2021                1
  FH132PH                  Yes                       Personal                   05/01/2021               1
  PJAJGYW                  Yes                       Personal                   4/28/2021                1
  NZJ77ZK                  Yes                       Personal                   05/03/2021               1
  HZ5WPQX                  Yes                       Personal                   4/28/2021                1
  59U744G                  Yes                       Personal                   4/28/2021                1
  QHGFE4Q                  Yes                       Personal                   4/29/2021                1
  0T8KMX4                  Yes                       Personal                   4/30/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 38 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  VY5HYBA                  Yes                       Personal                   05/01/2021               1
  8XE7T38                  Yes                       Personal                   05/05/2021               1
  13TJ5MV                  Yes                       Personal                   4/29/2021                1
  2WW3YZO                  Yes                       Personal                   05/02/2021               1
  LDV5PTY                  Yes                       Personal                   05/05/2021               1
  VN7V4UH                  Yes                       Personal                   4/28/2021                1
  X2ESWFO                  Yes                       Personal                   05/03/2021               1
  96WISSU                  Yes                       Personal                   4/28/2021                1
  ZZKRCEW                  Yes                       Personal                   05/02/2021               1
  WWE8VOL                  Yes                       Personal                   05/01/2021               1
  L20UFM7                  Yes                       Personal                   4/29/2021                1
  FSQ6XMZ                  Yes                       Personal                   05/01/2021               1
  688SKSK                  Yes                       Personal                   05/03/2021               1
  3UERAQP                  Yes                       Personal                   05/04/2021               1
  JZKQTDX                  Yes                       Personal                   4/30/2021                1
  U60UZTW                  Yes                       Personal                   4/29/2021                1
  L1FHK8C                  Yes                       Personal                   05/05/2021               1
  U6Q4HNW                  Yes                       Personal                   05/02/2021               1
  AL5YUGT                  Yes                       Personal                   4/29/2021                1
  6IVZAND                  Yes                       Personal                   05/01/2021               1
  B6DJ4IL                  Yes                       Personal                   4/30/2021                1
  VMDICBS                  Yes                       Personal                   05/01/2021               1
  CPO9U0F                  Yes                       Personal                   05/03/2021               1
  8JGKZ8O                  Yes                       Personal                   05/01/2021               1
  P047F6E                  Yes                       Personal                   4/28/2021                1
  RDFTNA3                  Yes                       Personal                   05/01/2021               1
  XP8A3I4                  Yes                       Personal                   4/29/2021                1
  GLCD101                  Yes                       Personal                   05/02/2021               1
  61VFL8Q                  Yes                       Personal                   4/28/2021                1
  5F2LWAY                  Yes                       Personal                   4/28/2021                1
  20OZ4MP                  Yes                       Personal                   05/01/2021               1
  NRSVDX9                  Yes                       Personal                   4/30/2021                1
  DA4K0VQ                  Yes                       Personal                   05/04/2021               1
  LK9KCBZ                  Yes                       Personal                   4/30/2021                1
  C8XUBM9                  Yes                       Personal                   05/05/2021               1
  TGI5NE0                  Yes                       Personal                   05/05/2021               1
  9IIAMMD                  Yes                       Personal                   4/28/2021                1
  CU39ECA                  Yes                       Personal                   4/28/2021                1
  F5EX8MK                  Yes                       Personal                   4/28/2021                1
  LRM8O31                  Yes                       Personal                   4/28/2021                1
  2P5Q0HU                  Yes                       Personal                   05/02/2021               1
  94G9FED                  Yes                       Personal                   4/30/2021                1
  O45RKYT                  Yes                       Personal                   05/02/2021               1
  8KC80XV                  Yes                       Personal                   4/28/2021                1
  QML87M8                  Yes                       Personal                   05/02/2021               1
  AAYD0Y7                  Yes                       Personal                   4/30/2021                1
  OV6PRV0                  Yes                       Personal                   4/29/2021                1
  DQYWI4I                  Yes                       Personal                   4/29/2021                1
  PPSCLEQ                  Yes                       Personal                   4/28/2021                1
  53NFPA9                  Yes                       Personal                   4/28/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 39 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  C22PQVR                  Yes                       Personal                   4/30/2021                1
  P30MKRW                  Yes                       Personal                   4/30/2021                1
  L13B4KN                  Yes                       Personal                   4/28/2021                1
  VGDHVX0                  Yes                       Personal                   4/30/2021                1
  0AP3G2Q                  Yes                       Personal                   05/03/2021               1
  8Y3TCJD                  Yes                       Personal                   05/04/2021               1
  Y0U9UNG                  Yes                       Personal                   4/28/2021                1
  JITXB9S                  Yes                       Personal                   4/29/2021                1
  X3NIQB4                  Yes                       Personal                   4/28/2021                1
  NFN5O3S                  Yes                       Personal                   05/01/2021               1
  A3M7LBA                  Yes                       Personal                   4/30/2021                1
  Q3YMBPX                  Yes                       Personal                   05/03/2021               1
  EBFUFFK                  Yes                       Personal                   4/29/2021                1
  EQLOFJ7                  Yes                       Personal                   05/01/2021               1
  BRZA7EB                  Yes                       Personal                   4/28/2021                1
  5HIY252                  Yes                       Personal                   4/28/2021                1
  32RFP9P                  Yes                       Personal                   4/28/2021                1
  6XZBUIJ                  Yes                       Personal                   05/01/2021               1
  E9K4OH5                  Yes                       Personal                   4/30/2021                1
  NW54U49                  Yes                       Personal                   05/03/2021               1
  7YI9JDS                  Yes                       Personal                   4/28/2021                1
  WGST785                  Yes                       Personal                   4/30/2021                1
  38OVC1K                  Yes                       Personal                   4/30/2021                1
  VW1U766                  Yes                       Personal                   05/04/2021               1
  9D38GQS                  Yes                       Personal                   05/01/2021               1
  SJNV6WO                  Yes                       Personal                   05/04/2021               1
  32K8J2P                  Yes                       Personal                   05/04/2021               1
  08G1K93                  Yes                       Personal                   05/01/2021               1
  X4WMZ64                  Yes                       Personal                   05/03/2021               1
  KUFRZOO                  Yes                       Personal                   05/02/2021               1
  53DORSH                  Yes                       Personal                   4/28/2021                1
  GRX2NGO                  Yes                       Personal                   4/30/2021                1
  A6JS7UT                  Yes                       Personal                   4/28/2021                1
  EEK1GV1                  Yes                       Personal                   4/29/2021                1
  QZZHSZ0                  Yes                       Personal                   4/28/2021                1
  Y54YW75                  Yes                       Personal                   05/01/2021               1
  IU0TLOA                  Yes                       Personal                   05/01/2021               1
  FPSM3HD                  Yes                       Personal                   05/05/2021               1
  WP771MC                  Yes                       Personal                   05/01/2021               1
  T7OYK8U                  Yes                       Personal                   05/04/2021               1
  304FE1G                  Yes                       Personal                   05/02/2021               1
  DF8ALM4                  Yes                       Personal                   05/01/2021               1
  B3O73BV                  Yes                       Personal                   4/29/2021                1
  68DCW70                  Yes                       Personal                   4/30/2021                1
  GINIHZI                  Yes                       Personal                   4/29/2021                1
  3GU36GY                  Yes                       Personal                   4/30/2021                1
  R43I9D0                  Yes                       Personal                   4/28/2021                1
  6T2JVGR                  Yes                       Personal                   4/30/2021                1
  1OPH50T                  Yes                       Personal                   4/28/2021                1
  TKTXYOR                  Yes                       Personal                   4/30/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 40 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  EA4OLTB                  Yes                       Personal                   05/03/2021               1
  XHPZWX2                  Yes                       Personal                   4/30/2021                1
  TWBUIW8                  Yes                       Personal                   5/27/2021                1
  KATO4OT                  Yes                       Personal                   5/30/2021                1
  7NC6HBC                  Yes                       Personal                   5/25/2021                1
  01Q817S                  Yes                       Personal                   06/05/2021               1
  Y84DXBZ                  Yes                       Personal                   06/02/2021               1
  4VYHL9U                  Yes                       Personal                   05/11/2021               1
  SK2S54G                  Yes                       Personal                   5/25/2021                1
  85U1DDR                  Yes                       Personal                   05/09/2021               1
  F7EO455                  Yes                       Personal                   05/12/2021               1
  ESNE3X3                  Yes                       Personal                   5/26/2021                1
  SW90O5R                  Yes                       Personal                   06/02/2021               1
  4X6X3RJ                  Yes                       Personal                   6/14/2021                1
  255ADHC                  Yes                       Personal                   5/23/2021                1
  WLA6Q9J                  Yes                       Personal                   06/04/2021               1
  FN3V638                  Yes                       Personal                   05/07/2021               1
  W6DNFW5                  Yes                       Personal                   5/20/2021                1
  AYJXYHH                  Yes                       Personal                   05/10/2021               1
  OOECFCV                  Yes                       Personal                   5/15/2021                1
  OUI4SEW                  Yes                       Personal                   6/13/2021                1
  RESWMX1                  Yes                       Personal                   05/12/2021               1
  V7EW2GU                  Yes                       Personal                   5/21/2021                1
  C3K3P6K                  Yes                       Personal                   05/10/2021               1
  VD1GZ1C                  Yes                       Personal                   05/10/2021               1
  YOCFC8I                  Yes                       Personal                   05/06/2021               1
  H62QD0R                  Yes                       Personal                   06/07/2021               1
  FDQ1QOJ                  Yes                       Personal                   5/27/2021                1
  WGHO5YF                  Yes                       Personal                   6/14/2021                1
  AYLBB93                  Yes                       Personal                   06/10/2021               1
  9O74VEI                  Yes                       Personal                   5/30/2021                1
  ZFDF3KH                  Yes                       Personal                   5/31/2021                1
  JYRGMT8                  Yes                       Personal                   5/26/2021                1
  W9VZ8QS                  Yes                       Personal                   5/22/2021                1
  5BSNZZP                  Yes                       Personal                   06/05/2021               1
  5029JY2                  Yes                       Personal                   06/11/2021               1
  CE2B8O8                  Yes                       Personal                   05/09/2021               1
  KQOEL3T                  Yes                       Personal                   05/09/2021               1
  T9JK22Q                  Yes                       Personal                   6/13/2021                1
  EBR7PWW                  Yes                       Personal                   5/25/2021                1
  VHRW48D                  Yes                       Personal                   06/10/2021               1
  VD9ZQIK                  Yes                       Personal                   6/27/2021                1
  PBKZ2FD                  Yes                       Personal                   5/16/2021                1
  65S64UG                  Yes                       Personal                   05/09/2021               1
  07MJ7TR                  Yes                       Personal                   06/09/2021               1
  FIVWIQM                  Yes                       Personal                   5/17/2021                1
  82NMKY5                  Yes                       Personal                   06/01/2021               1
  XUYSI9L                  Yes                       Personal                   5/25/2021                1
  BZQV6HB                  Yes                       Personal                   5/31/2021                1
  7L25OLM                  Yes                       Personal                   05/06/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 41 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  UOYPDV0                  Yes                       Personal                   6/13/2021                1
  B44NLBH                  Yes                       Personal                   6/13/2021                1
  M5DR4UI                  Yes                       Personal                   05/06/2021               1
  HEIGT9L                  Yes                       Personal                   05/06/2021               1
  MTZTPZP                  Yes                       Personal                   5/18/2021                1
  VAGFJPE                  Yes                       Personal                   06/05/2021               1
  3QR4JAD                  Yes                       Personal                   5/27/2021                1
  FN46VYJ                  Yes                       Personal                   5/23/2021                1
  A4D846S                  Yes                       Personal                   5/31/2021                1
  V6H3XJC                  Yes                       Personal                   05/07/2021               1
  6B0TYVS                  Yes                       Personal                   06/11/2021               1
  OQD0TDW                  Yes                       Personal                   05/11/2021               1
  IRK0IAR                  Yes                       Personal                   6/13/2021                1
  KGPCEFB                  Yes                       Personal                   5/29/2021                1
  6OW2L9P                  Yes                       Personal                   5/22/2021                1
  OVTQV02                  Yes                       Personal                   5/16/2021                1
  P2AZOK3                  Yes                       Personal                   05/08/2021               1
  VTGCRSI                  Yes                       Personal                   6/27/2021                1
  YPOMI2A                  Yes                       Personal                   5/25/2021                1
  OHR6H0J                  Yes                       Personal                   5/13/2021                1
  CV35RI7                  Yes                       Personal                   5/15/2021                1
  0T1YPLY                  Yes                       Personal                   05/06/2021               1
  J1PYE1B                  Yes                       Personal                   05/06/2021               1
  BV5MG1A                  Yes                       Personal                   5/21/2021                1
  X3IEBGE                  Yes                       Personal                   06/03/2021               1
  XQQUZYR                  Yes                       Personal                   05/08/2021               1
  V3CRPOR                  Yes                       Personal                   05/09/2021               1
  JBRUWPQ                  Yes                       Personal                   05/11/2021               1
  Q03CZD8                  Yes                       Personal                   5/27/2021                1
  39D5WQS                  Yes                       Personal                   5/20/2021                1
  SHM2LEH                  Yes                       Personal                   6/13/2021                1
  9DL87SB                  Yes                       Personal                   06/11/2021               1
  521UNX1                  Yes                       Personal                   5/15/2021                1
  GHSVYCQ                  Yes                       Personal                   05/09/2021               1
  ODWGV6S                  Yes                       Personal                   5/30/2021                1
  DFQTYYK                  Yes                       Personal                   5/30/2021                1
  ENFNZ5F                  Yes                       Personal                   06/09/2021               1
  0FQEMY2                  Yes                       Personal                   5/23/2021                1
  C4APSIZ                  Yes                       Personal                   6/22/2021                1
  4YGMQTW                  Yes                       Personal                   06/04/2021               1
  45F1JYE                  Yes                       Personal                   5/24/2021                1
  R7D5BNR                  Yes                       Personal                   5/28/2021                1
  D5X4UWE                  Yes                       Personal                   05/06/2021               1
  ET6D855                  Yes                       Personal                   5/31/2021                1
  VX0EFX0                  Yes                       Personal                   06/07/2021               1
  4N3MZZ4                  Yes                       Personal                   05/11/2021               1
  ZJIACFR                  Yes                       Personal                   05/10/2021               1
  D3AX94D                  Yes                       Personal                   06/09/2021               1
  RS098BE                  Yes                       Personal                   5/14/2021                1
  U59HQGN                  Yes                       Personal                   05/09/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 42 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  29RP88X                  Yes                       Personal                   05/07/2021               1
  4YH5VZL                  Yes                       Personal                   06/12/2021               1
  3L8YKZ8                  Yes                       Personal                   5/17/2021                1
  2SYW7ID                  Yes                       Personal                   06/05/2021               1
  L8L1N6S                  Yes                       Personal                   5/29/2021                1
  131EWZG                  Yes                       Personal                   5/30/2021                1
  BAVMLLU                  Yes                       Personal                   5/30/2021                1
  IP5J0RO                  Yes                       Personal                   5/26/2021                1
  7KNMP90                  Yes                       Personal                   5/28/2021                1
  U79CN6G                  Yes                       Personal                   5/13/2021                1
  OSC8MLJ                  Yes                       Personal                   5/14/2021                1
  6XU7J3N                  Yes                       Personal                   06/10/2021               1
  ZR3A67G                  Yes                       Personal                   5/21/2021                1
  2Q6Y3HH                  Yes                       Personal                   05/09/2021               1
  TO5N2OV                  Yes                       Personal                   05/10/2021               1
  8Q10JNA                  Yes                       Personal                   05/12/2021               1
  RW1D0O5                  Yes                       Personal                   05/06/2021               1
  Q3XX7F1                  Yes                       Personal                   06/12/2021               1
  L0CWRDY                  Yes                       Personal                   05/10/2021               1
  DYF9NMM                  Yes                       Personal                   05/07/2021               1
  KADVJM6                  Yes                       Personal                   5/23/2021                1
  ZZC3S19                  Yes                       Personal                   06/12/2021               1
  L8V2WSP                  Yes                       Personal                   06/06/2021               1
  0YGN827                  Yes                       Personal                   05/09/2021               1
  PN7GR14                  Yes                       Personal                   5/31/2021                1
  FXHX598                  Yes                       Personal                   5/30/2021                1
  C0P3CPO                  Yes                       Personal                   6/27/2021                1
  28MVSFE                  Yes                       Personal                   5/14/2021                1
  XK16J80                  Yes                       Personal                   05/08/2021               1
  KLKXRZ7                  Yes                       Personal                   6/13/2021                1
  ZZ5IAMN                  Yes                       Personal                   05/09/2021               1
  2YE4LHP                  Yes                       Personal                   5/25/2021                1
  CJ626AS                  Yes                       Personal                   5/24/2021                1
  J3QC2B6                  Yes                       Personal                   5/27/2021                1
  05L6RG6                  Yes                       Personal                   05/09/2021               1
  KEK4OGH                  Yes                       Personal                   6/16/2021                1
  BNMM6G8                  Yes                       Personal                   05/08/2021               1
  0WUYGEE                  Yes                       Personal                   6/22/2021                1
  C5QOZ8K                  Yes                       Personal                   05/08/2021               1
  0GXURB5                  Yes                       Personal                   06/05/2021               1
  F3K2K43                  Yes                       Personal                   05/12/2021               1
  GDEMPIW                  Yes                       Personal                   6/27/2021                1
  GA57N13                  Yes                       Personal                   5/24/2021                1
  IB0560Z                  Yes                       Personal                   06/02/2021               1
  B4R4TGC                  Yes                       Personal                   06/09/2021               1
  LJR1RBT                  Yes                       Personal                   05/08/2021               1
  27I93PN                  Yes                       Personal                   5/30/2021                1
  9O429Z6                  Yes                       Personal                   6/21/2021                1
  DYS9VP0                  Yes                       Personal                   6/14/2021                1
  3P8F0LZ                  Yes                       Personal                   5/22/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 43 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  XOUL24R                  Yes                       Personal                   5/15/2021                1
  KU5O6ZQ                  Yes                       Personal                   06/05/2021               1
  Z54CKQL                  Yes                       Personal                   05/06/2021               1
  T7S8Z06                  Yes                       Personal                   06/05/2021               1
  TO78C15                  Yes                       Personal                   5/28/2021                1
  LFLDE50                  Yes                       Personal                   5/26/2021                1
  LAXYZ1H                  Yes                       Personal                   5/14/2021                1
  8QFMAFN                  Yes                       Personal                   5/15/2021                1
  MM30RIX                  Yes                       Personal                   06/03/2021               1
  VXRXJX8                  Yes                       Personal                   05/06/2021               1
  HPWT0K8                  Yes                       Personal                   06/01/2021               1
  IBOKWRV                  Yes                       Personal                   6/14/2021                1
  RNG8G26                  Yes                       Personal                   5/15/2021                1
  JM253AB                  Yes                       Personal                   05/06/2021               1
  TJ9FFMW                  Yes                       Personal                   5/13/2021                1
  XXKGCWT                  Yes                       Personal                   05/12/2021               1
  NBHRWAU                  Yes                       Personal                   5/25/2021                1
  133FLAD                  Yes                       Personal                   5/15/2021                1
  13ZQO65                  Yes                       Personal                   5/20/2021                1
  PS1VCAZ                  Yes                       Personal                   5/25/2021                1
  44ITTZK                  Yes                       Personal                   06/09/2021               1
  KY08VGL                  Yes                       Personal                   5/14/2021                1
  4PIF69S                  Yes                       Personal                   6/25/2021                1
  M4ZM7FL                  Yes                       Personal                   5/24/2021                1
  U9T5CU8                  Yes                       Personal                   05/06/2021               1
  9PNSADJ                  Yes                       Personal                   6/23/2021                1
  8AFBOTK                  Yes                       Personal                   5/25/2021                1
  ETG8CL7                  Yes                       Personal                   06/12/2021               1
  YNV7P9C                  Yes                       Personal                   6/16/2021                1
  JSK9RNH                  Yes                       Personal                   05/08/2021               1
  R60Q4BH                  Yes                       Personal                   6/15/2021                1
  2B5NQEF                  Yes                       Personal                   5/22/2021                1
  AM2DYCL                  Yes                       Personal                   06/03/2021               1
  W1T2W9V                  Yes                       Personal                   6/25/2021                1
  U0T4Z9K                  Yes                       Personal                   5/17/2021                1
  769BSYZ                  Yes                       Personal                   6/19/2021                1
  NL66NYR                  Yes                       Personal                   05/12/2021               1
  WAH1R6F                  Yes                       Personal                   5/13/2021                1
  YZ4C0RQ                  Yes                       Personal                   05/10/2021               1
  1J7MXNU                  Yes                       Personal                   06/09/2021               1
  DLCOZU3                  Yes                       Personal                   05/12/2021               1
  UFUM1UQ                  Yes                       Personal                   06/01/2021               1
  JDAMU7S                  Yes                       Personal                   06/09/2021               1
  7UWLOH7                  Yes                       Personal                   5/21/2021                1
  HJ54HIM                  Yes                       Personal                   5/31/2021                1
  5EK84AQ                  Yes                       Personal                   06/09/2021               1
  S8XRVC9                  Yes                       Personal                   5/26/2021                1
  36S9UHY                  Yes                       Personal                   5/24/2021                1
  893G4HW                  Yes                       Personal                   05/10/2021               1
  E0BM3GF                  Yes                       Personal                   5/30/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 44 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  JC9R1MY                  Yes                       Personal                   6/25/2021                1
  STVTFGI                  Yes                       Personal                   6/14/2021                1
  KWIL79K                  Yes                       Personal                   5/15/2021                1
  IV75OC2                  Yes                       Personal                   05/07/2021               1
  QI44BZJ                  Yes                       Personal                   5/27/2021                1
  OUFQYE1                  Yes                       Personal                   05/07/2021               1
  6FXM4EJ                  Yes                       Personal                   6/19/2021                1
  NQHEE3B                  Yes                       Personal                   06/05/2021               1
  DHDNVUI                  Yes                       Personal                   05/07/2021               1
  TVXUCYZ                  Yes                       Personal                   6/25/2021                1
  YBAM5C8                  Yes                       Personal                   5/21/2021                1
  1NKLE61                  Yes                       Personal                   06/12/2021               1
  TKG22L7                  Yes                       Personal                   5/17/2021                1
  DFQ5M2I                  Yes                       Personal                   6/24/2021                1
  SSZYFI1                  Yes                       Personal                   6/15/2021                1
  YEOPCR8                  Yes                       Personal                   6/23/2021                1
  BWHBUDY                  Yes                       Personal                   05/06/2021               1
  Q1SGP41                  Yes                       Personal                   06/09/2021               1
  OOKRO91                  Yes                       Personal                   5/15/2021                1
  9BPH1GF                  Yes                       Personal                   05/10/2021               1
  B2Q9AAE                  Yes                       Personal                   5/30/2021                1
  JJF2ZJE                  Yes                       Personal                   06/02/2021               1
  UEHHZK4                  Yes                       Personal                   05/11/2021               1
  GVO17ED                  Yes                       Personal                   6/27/2021                1
  S0LZVSO                  Yes                       Personal                   06/07/2021               1
  9KM1MOR                  Yes                       Personal                   6/21/2021                1
  SDEGT2P                  Yes                       Personal                   5/13/2021                1
  9DVKLWL                  Yes                       Personal                   5/20/2021                1
  VZD9IO7                  Yes                       Personal                   5/19/2021                1
  RZ4TTYG                  Yes                       Personal                   05/12/2021               1
  329MG10                  Yes                       Personal                   5/13/2021                1
  NX39TTE                  Yes                       Personal                   5/25/2021                1
  V0JLZ7D                  Yes                       Personal                   5/24/2021                1
  29H4XB3                  Yes                       Personal                   5/24/2021                1
  RMRPDOP                  Yes                       Personal                   05/07/2021               1
  E9VC7NQ                  Yes                       Personal                   05/07/2021               1
  7C22KLN                  Yes                       Personal                   5/17/2021                1
  5FQXFF3                  Yes                       Personal                   5/26/2021                1
  Y6DXEKN                  Yes                       Personal                   5/23/2021                1
  AE3CXX5                  Yes                       Personal                   06/08/2021               1
  1N3G8FW                  Yes                       Personal                   5/13/2021                1
  UG1A6E9                  Yes                       Personal                   6/25/2021                1
  0AJW7X7                  Yes                       Personal                   6/14/2021                1
  XSV4ZAV                  Yes                       Personal                   5/16/2021                1
  HZVPREM                  Yes                       Personal                   06/07/2021               1
  BHDJ2LO                  Yes                       Personal                   05/07/2021               1
  VRF16KP                  Yes                       Personal                   06/07/2021               1
  7CX2UH8                  Yes                       Personal                   05/07/2021               1
  DIC7WCF                  Yes                       Personal                   6/18/2021                1
  VR68ECO                  Yes                       Personal                   06/02/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 45 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  T8ERJLE                  Yes                       Personal                   05/10/2021               1
  8V8IL8A                  Yes                       Personal                   6/20/2021                1
  V23PIFQ                  Yes                       Personal                   05/07/2021               1
  8A218TK                  Yes                       Personal                   5/13/2021                1
  0KBEX88                  Yes                       Personal                   06/09/2021               1
  YDKB8ES                  Yes                       Personal                   05/11/2021               1
  6WJGWNH                  Yes                       Personal                   5/13/2021                1
  XUG9HB3                  Yes                       Personal                   05/10/2021               1
  PZXS8V7                  Yes                       Personal                   06/12/2021               1
  AITCDCE                  Yes                       Personal                   5/13/2021                1
  PSCIHJD                  Yes                       Personal                   5/13/2021                1
  9BC7DMD                  Yes                       Personal                   5/25/2021                1
  ND6U7FU                  Yes                       Personal                   5/31/2021                1
  WR6JZGN                  Yes                       Personal                   05/07/2021               1
  W54AO22                  Yes                       Personal                   6/26/2021                1
  8J3DO7W                  Yes                       Personal                   06/10/2021               1
  F1PHMDM                  Yes                       Personal                   5/28/2021                1
  UC04DTH                  Yes                       Personal                   5/19/2021                1
  66339LC                  Yes                       Personal                   06/03/2021               1
  3AF200N                  Yes                       Personal                   5/22/2021                1
  LM4EK6J                  Yes                       Personal                   6/19/2021                1
  RED1XS6                  Yes                       Personal                   5/13/2021                1
  SG50CUL                  Yes                       Personal                   6/27/2021                1
  NPH7YJ4                  Yes                       Personal                   05/09/2021               1
  HXYFLK7                  Yes                       Personal                   5/23/2021                1
  9BI1WE7                  Yes                       Personal                   6/15/2021                1
  ICM6DPW                  Yes                       Personal                   5/14/2021                1
  U2A4IGE                  Yes                       Personal                   05/06/2021               1
  15XYITU                  Yes                       Personal                   05/11/2021               1
  BHPUKLW                  Yes                       Personal                   5/25/2021                1
  ZLHNT42                  Yes                       Personal                   6/17/2021                1
  2QZ41E5                  Yes                       Personal                   5/30/2021                1
  WYWMM0T                  Yes                       Personal                   5/25/2021                1
  8BIWPC0                  Yes                       Personal                   5/17/2021                1
  27VCA75                  Yes                       Personal                   06/08/2021               1
  ZT3HG5J                  Yes                       Personal                   5/31/2021                1
  L8FS7U0                  Yes                       Personal                   5/27/2021                1
  8OBUTWC                  Yes                       Personal                   05/09/2021               1
  MMBFFQL                  Yes                       Personal                   5/26/2021                1
  FZY25KY                  Yes                       Personal                   06/05/2021               1
  ZR0DUT7                  Yes                       Personal                   06/06/2021               1
  T3CCY30                  Yes                       Personal                   5/13/2021                1
  3LR8QMT                  Yes                       Personal                   6/26/2021                1
  H7M8QE9                  Yes                       Personal                   6/24/2021                1
  CIXDZ74                  Yes                       Personal                   5/24/2021                1
  PK2GKGB                  Yes                       Personal                   06/10/2021               1
  2JVX6P9                  Yes                       Personal                   5/20/2021                1
  PIN9XZ4                  Yes                       Personal                   5/14/2021                1
  YC1R1SC                  Yes                       Personal                   5/29/2021                1
  ECKMAAH                  Yes                       Personal                   5/20/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 46 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  FD5Y1FJ                  Yes                       Personal                   5/15/2021                1
  RV7KWME                  Yes                       Personal                   05/08/2021               1
  8BT0GN9                  Yes                       Personal                   05/09/2021               1
  XANLVRF                  Yes                       Personal                   5/25/2021                1
  A1YE8XY                  Yes                       Personal                   05/09/2021               1
  YI6WMCH                  Yes                       Personal                   5/26/2021                1
  1T914G0                  Yes                       Personal                   05/12/2021               1
  3AB3JBQ                  Yes                       Personal                   06/08/2021               1
  LI7TJ5P                  Yes                       Personal                   5/18/2021                1
  JFKKJJN                  Yes                       Personal                   5/13/2021                1
  45D3XPJ                  Yes                       Personal                   05/11/2021               1
  1SC5FQL                  Yes                       Personal                   05/09/2021               1
  M927D7J                  Yes                       Personal                   5/20/2021                1
  37CPJPS                  Yes                       Personal                   5/26/2021                1
  S5PTEC4                  Yes                       Personal                   5/13/2021                1
  UBU8UE7                  Yes                       Personal                   05/07/2021               1
  K2CV7FH                  Yes                       Personal                   5/15/2021                1
  U7UDBE2                  Yes                       Personal                   6/14/2021                1
  KZTXTPB                  Yes                       Personal                   05/12/2021               1
  AAS45EU                  Yes                       Personal                   05/06/2021               1
  DJO0PDI                  Yes                       Personal                   06/01/2021               1
  UMR5BHJ                  Yes                       Personal                   5/21/2021                1
  O0EKL07                  Yes                       Personal                   05/09/2021               1
  ZF9O8D6                  Yes                       Personal                   5/15/2021                1
  BCECZ6B                  Yes                       Personal                   06/01/2021               1
  HK11NMI                  Yes                       Personal                   6/23/2021                1
  YOVYHG5                  Yes                       Personal                   05/08/2021               1
  49HZQ3B                  Yes                       Personal                   06/11/2021               1
  GXJFBZN                  Yes                       Personal                   6/16/2021                1
  D9BF37X                  Yes                       Personal                   06/03/2021               1
  71EQ44K                  Yes                       Personal                   05/09/2021               1
  OP91Y6A                  Yes                       Personal                   5/29/2021                1
  VXEKAH4                  Yes                       Personal                   5/14/2021                1
  SUBVV6Y                  Yes                       Personal                   05/10/2021               1
  V8598QC                  Yes                       Personal                   05/09/2021               1
  QRDQPJR                  Yes                       Personal                   5/22/2021                1
  LOO6OUS                  Yes                       Personal                   5/20/2021                1
  TQ0JRZC                  Yes                       Personal                   5/16/2021                1
  RFY925Y                  Yes                       Personal                   06/06/2021               1
  43SKFGW                  Yes                       Personal                   5/30/2021                1
  NK63U04                  Yes                       Personal                   05/10/2021               1
  LF50APO                  Yes                       Personal                   5/21/2021                1
  2EZ1UHP                  Yes                       Personal                   5/19/2021                1
  YTZNK6D                  Yes                       Personal                   05/12/2021               1
  N47J8X4                  Yes                       Personal                   05/09/2021               1
  0ZAZ4QO                  Yes                       Personal                   05/09/2021               1
  CJ0OAY5                  Yes                       Personal                   05/09/2021               1
  KLEPTPW                  Yes                       Personal                   05/07/2021               1
  8I1F2FX                  Yes                       Personal                   6/16/2021                1
  9D0ZOWX                  Yes                       Personal                   5/23/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 47 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  NY9G99B                  Yes                       Personal                   05/10/2021               1
  8KHWMQF                  Yes                       Personal                   5/14/2021                1
  BERSWJ7                  Yes                       Personal                   5/17/2021                1
  TK8XZ74                  Yes                       Personal                   5/24/2021                1
  RUPNLMR                  Yes                       Personal                   05/11/2021               1
  HUSY1CD                  Yes                       Personal                   5/17/2021                1
  SX062QN                  Yes                       Personal                   5/16/2021                1
  H6J8U13                  Yes                       Personal                   06/05/2021               1
  4IQCNDH                  Yes                       Personal                   5/21/2021                1
  RJU69NM                  Yes                       Personal                   06/08/2021               1
  V27SED8                  Yes                       Personal                   05/11/2021               1
  RAU59JP                  Yes                       Personal                   05/11/2021               1
  T6WJF1Z                  Yes                       Personal                   5/14/2021                1
  XU2010L                  Yes                       Personal                   05/06/2021               1
  W7N4C4D                  Yes                       Personal                   5/13/2021                1
  3AS5XB2                  Yes                       Personal                   05/12/2021               1
  O2KZRS6                  Yes                       Personal                   5/22/2021                1
  ES1AODX                  Yes                       Personal                   5/17/2021                1
  XTCMGBC                  Yes                       Personal                   05/06/2021               1
  6T05UOB                  Yes                       Personal                   5/16/2021                1
  WMOU3PB                  Yes                       Personal                   05/11/2021               1
  Z0VVDHT                  Yes                       Personal                   05/09/2021               1
  TRGDFYG                  Yes                       Personal                   6/23/2021                1
  KIW3IOG                  Yes                       Personal                   6/13/2021                1
  ZDV4WZ6                  Yes                       Personal                   5/27/2021                1
  HIGFG3U                  Yes                       Personal                   05/12/2021               1
  476OHOU                  Yes                       Personal                   05/08/2021               1
  XWR2S92                  Yes                       Personal                   5/15/2021                1
  H3UCZM8                  Yes                       Personal                   6/26/2021                1
  MTM5F89                  Yes                       Personal                   5/29/2021                1
  EJTNWTC                  Yes                       Personal                   5/25/2021                1
  CU6LUXL                  Yes                       Personal                   5/19/2021                1
  RNRYB08                  Yes                       Personal                   06/09/2021               1
  MHQHBXS                  Yes                       Personal                   05/07/2021               1
  8HWPBA4                  Yes                       Personal                   06/02/2021               1
  KW324XW                  Yes                       Personal                   5/25/2021                1
  AGW13YX                  Yes                       Personal                   06/01/2021               1
  A8MNMZ4                  Yes                       Personal                   05/07/2021               1
  IMACPHZ                  Yes                       Personal                   5/20/2021                1
  9PKJJZ3                  Yes                       Personal                   5/23/2021                1
  UDAEYH4                  Yes                       Personal                   6/13/2021                1
  2YHRJHJ                  Yes                       Personal                   5/31/2021                1
  VJS00TN                  Yes                       Personal                   06/07/2021               1
  MW2IHWC                  Yes                       Personal                   05/08/2021               1
  HUGKFF7                  Yes                       Personal                   5/14/2021                1
  ODHBHY6                  Yes                       Personal                   5/14/2021                1
  XCYLE8Z                  Yes                       Personal                   05/06/2021               1
  SI4DBAK                  Yes                       Personal                   06/11/2021               1
  NMZLVOS                  Yes                       Personal                   05/10/2021               1
  RMJX521                  Yes                       Personal                   6/19/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 48 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  1Z63HZF                  Yes                       Personal                   06/09/2021               1
  YXH9F08                  Yes                       Personal                   5/27/2021                1
  7NNXGNE                  Yes                       Personal                   5/28/2021                1
  YYWMWGX                  Yes                       Personal                   6/25/2021                1
  CLOZECE                  Yes                       Personal                   06/09/2021               1
  FQ0TTSE                  Yes                       Personal                   5/23/2021                1
  UMCZDUP                  Yes                       Personal                   06/08/2021               1
  L8FATJJ                  Yes                       Personal                   5/31/2021                1
  3XD6QPP                  Yes                       Personal                   05/06/2021               1
  UE8R6C4                  Yes                       Personal                   5/30/2021                1
  BIRBP17                  Yes                       Personal                   06/06/2021               1
  YIZR0V3                  Yes                       Personal                   5/20/2021                1
  Y7NG7F2                  Yes                       Personal                   5/19/2021                1
  8C3RGCR                  Yes                       Personal                   05/06/2021               1
  6GVNEHH                  Yes                       Personal                   5/13/2021                1
  ZKJHJ7Q                  Yes                       Personal                   6/13/2021                1
  KM1NQIS                  Yes                       Personal                   05/11/2021               1
  FHR3383                  Yes                       Personal                   5/18/2021                1
  867815B                  Yes                       Personal                   5/21/2021                1
  LWG79K2                  Yes                       Personal                   5/27/2021                1
  C47CWVG                  Yes                       Personal                   5/29/2021                1
  FB25KYB                  Yes                       Personal                   5/25/2021                1
  XJ57PQR                  Yes                       Personal                   05/07/2021               1
  FIMR2EJ                  Yes                       Personal                   5/31/2021                1
  JPORO7H                  Yes                       Personal                   5/15/2021                1
  7M3JDRW                  Yes                       Personal                   5/27/2021                1
  EA897BQ                  Yes                       Personal                   5/13/2021                1
  1SPZHO5                  Yes                       Personal                   5/20/2021                1
  479S01M                  Yes                       Personal                   05/11/2021               1
  3F3F01A                  Yes                       Personal                   5/18/2021                1
  SUKSARP                  Yes                       Personal                   05/07/2021               1
  PU2I0H0                  Yes                       Personal                   5/24/2021                1
  LUWTH0C                  Yes                       Personal                   06/11/2021               1
  CYCWJ9G                  Yes                       Personal                   05/07/2021               1
  4KU7S3L                  Yes                       Personal                   06/03/2021               1
  17X1TKQ                  Yes                       Personal                   5/22/2021                1
  PE72YYP                  Yes                       Personal                   5/19/2021                1
  61QM3VP                  Yes                       Personal                   5/24/2021                1
  1M2LB7E                  Yes                       Personal                   06/03/2021               1
  OSDIINJ                  Yes                       Personal                   5/13/2021                1
  VQQF795                  Yes                       Personal                   5/15/2021                1
  Y3VGD3P                  Yes                       Personal                   6/20/2021                1
  APY0YB7                  Yes                       Personal                   5/16/2021                1
  OSAQ7P1                  Yes                       Personal                   5/29/2021                1
  PGTRKC2                  Yes                       Personal                   06/08/2021               1
  0JM16U2                  Yes                       Personal                   5/26/2021                1
  8KVR2Y7                  Yes                       Personal                   06/03/2021               1
  MPGMS83                  Yes                       Personal                   05/11/2021               1
  B4W0E1P                  Yes                       Personal                   5/22/2021                1
  R34U4VL                  Yes                       Personal                   6/16/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 49 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  N94WAYW                  Yes                       Personal                   5/31/2021                1
  IA50JJH                  Yes                       Personal                   05/10/2021               1
  LKIEJDD                  Yes                       Personal                   5/13/2021                1
  OBU4DRY                  Yes                       Personal                   06/11/2021               1
  TYR9UHI                  Yes                       Personal                   06/06/2021               1
  FZJBFV8                  Yes                       Personal                   05/12/2021               1
  4YKU4P3                  Yes                       Personal                   5/20/2021                1
  Q2AVTFA                  Yes                       Personal                   05/08/2021               1
  HS5SY8R                  Yes                       Personal                   6/13/2021                1
  B4CUCJM                  Yes                       Personal                   06/09/2021               1
  HHV2P37                  Yes                       Personal                   06/09/2021               1
  UAD9G7L                  Yes                       Personal                   5/22/2021                1
  O8GQEQJ                  Yes                       Personal                   05/10/2021               1
  JJ3JRXZ                  Yes                       Personal                   06/07/2021               1
  8TB22Y2                  Yes                       Personal                   5/19/2021                1
  OIS01FY                  Yes                       Personal                   6/17/2021                1
  O691XUE                  Yes                       Personal                   05/09/2021               1
  1ZVQHJS                  Yes                       Personal                   05/07/2021               1
  6KXI109                  Yes                       Personal                   06/05/2021               1
  B74VGKH                  Yes                       Personal                   5/22/2021                1
  9XMP8NZ                  Yes                       Personal                   5/13/2021                1
  013D4JY                  Yes                       Personal                   5/18/2021                1
  LAPBU7S                  Yes                       Personal                   05/12/2021               1
  4SRSJ9Q                  Yes                       Personal                   5/26/2021                1
  K0M4PZA                  Yes                       Personal                   5/30/2021                1
  1G9WI0Q                  Yes                       Personal                   05/08/2021               1
  LI2C3K9                  Yes                       Personal                   06/09/2021               1
  3N7CDTR                  Yes                       Personal                   6/20/2021                1
  KWA580Y                  Yes                       Personal                   5/20/2021                1
  SK995GT                  Yes                       Personal                   5/14/2021                1
  PES2RVB                  Yes                       Personal                   5/31/2021                1
  XF1IZAO                  Yes                       Personal                   5/23/2021                1
  LR5AZSG                  Yes                       Personal                   05/09/2021               1
  3CBJ912                  Yes                       Personal                   5/23/2021                1
  P7VU6VP                  Yes                       Personal                   05/12/2021               1
  L11O6IU                  Yes                       Personal                   6/19/2021                1
  HXSB85F                  Yes                       Personal                   06/09/2021               1
  SAPSEVW                  Yes                       Personal                   06/05/2021               1
  41IGS4F                  Yes                       Personal                   05/06/2021               1
  SJMRW6R                  Yes                       Personal                   5/24/2021                1
  8XFQYMP                  Yes                       Personal                   5/26/2021                1
  U6H871N                  Yes                       Personal                   06/01/2021               1
  7IB9BHX                  Yes                       Personal                   5/21/2021                1
  CNF1PAS                  Yes                       Personal                   5/16/2021                1
  QRY3PMG                  Yes                       Personal                   6/24/2021                1
  KWB4ZNV                  Yes                       Personal                   06/05/2021               1
  CLE331A                  Yes                       Personal                   5/23/2021                1
  G4TPIU3                  Yes                       Personal                   5/14/2021                1
  T1PX2US                  Yes                       Personal                   5/17/2021                1
  E0QAKN6                  Yes                       Personal                   6/22/2021                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 50 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  S9ZOX76                  Yes                       Personal                   05/08/2021               1
  MTA9QGX                  Yes                       Personal                   5/17/2021                1
  ENEPWB8                  Yes                       Personal                   5/25/2021                1
  YZSE18D                  Yes                       Personal                   6/25/2021                1
  4O4YVOI                  Yes                       Personal                   05/06/2021               1
  CXAEB9O                  Yes                       Personal                   5/22/2021                1
  5FLX3RY                  Yes                       Personal                   5/14/2021                1
  IZNCFHA                  Yes                       Personal                   5/14/2021                1
  WJ9FF9U                  Yes                       Personal                   5/30/2021                1
  LIMAG3E                  Yes                       Personal                   6/25/2021                1
  A9O1T9M                  Yes                       Personal                   05/11/2021               1
  V9W73H5                  Yes                       Personal                   06/04/2021               1
  KYASAMW                  Yes                       Personal                   5/27/2021                1
  RA6WNBG                  Yes                       Personal                   06/08/2021               1
  OARCWWI                  Yes                       Personal                   06/03/2021               1
  GCCE29D                  Yes                       Personal                   5/30/2021                1
  N4ZCVFQ                  Yes                       Personal                   06/02/2021               1
  AO06SLO                  Yes                       Personal                   5/16/2021                1
  7YG9EMB                  Yes                       Personal                   5/13/2021                1
  XUYVXLZ                  Yes                       Personal                   5/16/2021                1
  18ORUGH                  Yes                       Personal                   05/07/2021               1
  JOH9VWJ                  Yes                       Personal                   06/06/2021               1
  9C2SYSE                  Yes                       Personal                   5/27/2021                1
  F7KX41Y                  Yes                       Personal                   5/13/2021                1
  2G91KIA                  Yes                       Personal                   5/16/2021                1
  AZO4EW7                  Yes                       Personal                   06/05/2021               1
  LZRV5VW                  Yes                       Personal                   05/09/2021               1
  WFLLPWS                  Yes                       Personal                   5/31/2021                1
  ZVO4XYA                  Yes                       Personal                   6/17/2021                1
  2S4URX6                  Yes                       Personal                   5/20/2021                1
  PI46C1D                  Yes                       Personal                   06/05/2021               1
  SQZHUZW                  Yes                       Personal                   5/23/2021                1
  O2H8MJC                  Yes                       Personal                   5/17/2021                1
  4YXL8CV                  Yes                       Personal                   05/11/2021               1
  N0HNU7W                  Yes                       Personal                   5/22/2021                1
  9T8TWQT                  Yes                       Personal                   06/12/2021               1
  UUO4WYH                  Yes                       Personal                   6/19/2021                1
  X1WZIW7                  Yes                       Personal                   05/12/2021               1
  GCDTTJA                  Yes                       Personal                   5/26/2021                1
  88ES8FV                  Yes                       Personal                   5/22/2021                1
  R9QE9YJ                  Yes                       Personal                   6/13/2021                1
  3ONZ289                  Yes                       Personal                   06/12/2021               1
  O0XHVYA                  Yes                       Personal                   06/05/2021               1
  UXUJKFU                  Yes                       Personal                   05/06/2021               1
  VYVAR5S                  Yes                       Personal                   6/29/2021                1
  QS49GJO                  Yes                       Personal                   5/21/2021                1
  K8E9AO3                  Yes                       Personal                   5/20/2021                1
  Q1IY133                  Yes                       Personal                   06/08/2021               1
  ETN8EW3                  Yes                       Personal                   05/08/2021               1
  3LDIFOJ                  Yes                       Personal                   5/31/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 51 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  FRDTWV7                  Yes                       Personal                   05/11/2021               1
  DMPFN15                  Yes                       Personal                   05/08/2021               1
  058XPIR                  Yes                       Personal                   05/07/2021               1
  5ZA6KXO                  Yes                       Personal                   06/10/2021               1
  BTW9XVZ                  Yes                       Personal                   06/01/2021               1
  3BKD82T                  Yes                       Personal                   5/14/2021                1
  KXDB4ME                  Yes                       Personal                   08/12/2021               1
  4HXZAV9                  Yes                       Personal                   10/29/2021               1
  PC3TSXT                  Yes                       Personal                   10/30/2021               1
  HMJP33J                  Yes                       Personal                   7/25/2021                1
  CJ35YFB                  Yes                       Personal                   6/30/2021                1
  Z8KOXOT                  Yes                       Personal                   08/09/2021               1
  B06U5F9                  Yes                       Personal                   7/24/2021                1
  R89CQ46                  Yes                       Personal                   7/26/2021                1
  KIYSPOZ                  Yes                       Personal                   11/06/2021               1
  HGSK59U                  Yes                       Personal                   08/10/2021               1
  NJ5G0GE                  Yes                       Personal                   11/06/2021               1
  SXACJ0N                  Yes                       Personal                   10/29/2021               1
  ZHAJN1Q                  Yes                       Personal                   7/24/2021                1
  KRXCIHP                  Yes                       Personal                   10/14/2021               1
  ZYYLSUH                  Yes                       Personal                   8/13/2021                1
  DA4WJCC                  Yes                       Personal                   10/02/2021               1
  5KCZ8R0                  Yes                       Personal                   8/31/2021                1
  K4OMD1G                  Yes                       Personal                   11/02/2021               1
  TUVI1T2                  Yes                       Personal                   10/16/2021               1
  VY9Y9OB                  Yes                       Personal                   08/12/2021               1
  2ZCIM18                  Yes                       Personal                   7/28/2021                1
  SK0AQUW                  Yes                       Personal                   11/03/2021               1
  D6OV554                  Yes                       Personal                   10/16/2021               1
  7801I3R                  Yes                       Personal                   8/30/2021                1
  N7XTYML                  Yes                       Personal                   7/22/2021                1
  94REV79                  Yes                       Personal                   8/29/2021                1
  DPE9CWR                  Yes                       Personal                   07/06/2021               1
  VQKGC63                  Yes                       Personal                   08/02/2021               1
  PXWNAXU                  Yes                       Personal                   7/15/2021                1
  49QB3L3                  Yes                       Personal                   07/06/2021               1
  DZ8G9FA                  Yes                       Personal                   11/02/2021               1
  86WYYLB                  Yes                       Personal                   10/07/2021               1
  2160J6P                  Yes                       Personal                   10/08/2021               1
  GSHJPSI                  Yes                       Personal                   11/02/2021               1
  PX20NJ9                  Yes                       Personal                   7/25/2021                1
  O912IA9                  Yes                       Personal                   7/24/2021                1
  836AQEI                  Yes                       Personal                   08/04/2021               1
  08A8230                  Yes                       Personal                   8/16/2021                1
  T3N36SF                  Yes                       Personal                   7/23/2021                1
  W1RHBVZ                  Yes                       Personal                   7/25/2021                1
  B22DPTJ                  Yes                       Personal                   8/30/2021                1
  7PA69FH                  Yes                       Personal                   11/01/2021               1
  75EBS36                  Yes                       Personal                   10/14/2021               1
  9L19FW9                  Yes                       Personal                   08/08/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 52 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  3V3I1GJ                  Yes                       Personal                   9/28/2021                1
  3P7ICAV                  Yes                       Personal                   11/03/2021               1
  PQXTGT7                  Yes                       Personal                   11/04/2021               1
  UE0GC6D                  Yes                       Personal                   7/24/2021                1
  61E2KXW                  Yes                       Personal                   10/08/2021               1
  U54B0UF                  Yes                       Personal                   07/11/2021               1
  SNZMG7Y                  Yes                       Personal                   10/17/2021               1
  HEYI0NX                  Yes                       Personal                   8/17/2021                1
  IL10VTK                  Yes                       Personal                   11/04/2021               1
  WP51666                  Yes                       Personal                   10/09/2021               1
  21JDZX0                  Yes                       Personal                   10/16/2021               1
  H1IUIZ7                  Yes                       Personal                   11/02/2021               1
  RUDU31L                  Yes                       Personal                   07/11/2021               1
  AOX2GK4                  Yes                       Personal                   11/01/2021               1
  KPZHEQX                  Yes                       Personal                   11/06/2021               1
  MC0H81N                  Yes                       Personal                   10/18/2021               1
  5RTSL1X                  Yes                       Personal                   11/01/2021               1
  UOR6UCT                  Yes                       Personal                   11/02/2021               1
  A3AEPX4                  Yes                       Personal                   10/29/2021               1
  JKXZCH4                  Yes                       Personal                   7/30/2021                1
  JOHZ0XK                  Yes                       Personal                   6/30/2021                1
  R69278J                  Yes                       Personal                   11/03/2021               1
  BE4PTQG                  Yes                       Personal                   8/18/2021                1
  C6IKCS7                  Yes                       Personal                   9/27/2021                1
  3DDZ4D7                  Yes                       Personal                   9/18/2021                1
  S2BB87S                  Yes                       Personal                   10/31/2021               1
  X8GIJG8                  Yes                       Personal                   07/02/2021               1
  82NDN3X                  Yes                       Personal                   7/23/2021                1
  3KUOM54                  Yes                       Personal                   7/23/2021                1
  ZZQL27U                  Yes                       Personal                   08/01/2021               1
  ANINYV6                  Yes                       Personal                   7/25/2021                1
  HJ2R9WZ                  Yes                       Personal                   08/08/2021               1
  3EE72Y4                  Yes                       Personal                   11/05/2021               1
  R5DC0OB                  Yes                       Personal                   11/04/2021               1
  AB5DVC1                  Yes                       Personal                   7/29/2021                1
  P6TYQIR                  Yes                       Personal                   7/23/2021                1
  5UBGDTP                  Yes                       Personal                   08/12/2021               1
  IZYDC4A                  Yes                       Personal                   7/24/2021                1
  IQQW029                  Yes                       Personal                   8/30/2021                1
  KLGXAOT                  Yes                       Personal                   11/02/2021               1
  U2A4WIT                  Yes                       Personal                   9/28/2021                1
  V9UXB40                  Yes                       Personal                   9/15/2021                1
  W4XHVFR                  Yes                       Personal                   10/06/2021               1
  6XO4PYO                  Yes                       Personal                   7/27/2021                1
  CWLJOI6                  Yes                       Personal                   10/24/2021               1
  4919QTX                  Yes                       Personal                   8/29/2021                1
  J08WQ44                  Yes                       Personal                   9/29/2021                1
  XAAPVA9                  Yes                       Corporate                  10/09/2021               1
  WUH75HG                  Yes                       Personal                   8/31/2021                1
  474NCIQ                  Yes                       Personal                   10/01/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 53 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  X8N5P7Q                  Yes                       Personal                   9/17/2021                1
  MZUM2P6                  Yes                       Personal                   11/01/2021               1
  8N0UT4V                  Yes                       Personal                   07/08/2021               1
  IVJ0MTQ                  Yes                       Personal                   10/30/2021               1
  GF4NQQR                  Yes                       Personal                   11/06/2021               1
  CE09FH2                  Yes                       Personal                   7/23/2021                1
  XIVR38V                  Yes                       Personal                   7/24/2021                1
  RXX345M                  Yes                       Personal                   7/29/2021                1
  FYRNLOH                  Yes                       Personal                   11/05/2021               1
  VKMGIEC                  Yes                       Personal                   7/24/2021                1
  8AOKGQZ                  Yes                       Personal                   07/10/2021               1
  Z0I2788                  Yes                       Personal                   7/31/2021                1
  OG53YOZ                  Yes                       Personal                   11/03/2021               1
  EJWJV35                  Yes                       Personal                   10/31/2021               1
  DWJS4IA                  Yes                       Personal                   11/05/2021               1
  P6V0B05                  Yes                       Personal                   11/02/2021               1
  BJF3UHQ                  Yes                       Personal                   11/03/2021               1
  A4UZ1UA                  Yes                       Personal                   10/28/2021               1
  MTYYTVZ                  Yes                       Personal                   10/02/2021               1
  KJ1FBFE                  Yes                       Personal                   9/23/2021                1
  XBCFB4D                  Yes                       Personal                   08/06/2021               1
  I1SPI32                  Yes                       Personal                   8/31/2021                1
  YU3UEZI                  Yes                       Personal                   9/30/2021                1
  IG6RACG                  Yes                       Personal                   7/23/2021                1
  D7I02YZ                  Yes                       Personal                   11/01/2021               1
  F2IHN7Q                  Yes                       Personal                   9/25/2021                1
  QYX6V60                  Yes                       Personal                   10/31/2021               1
  BZ4RTCC                  Yes                       Personal                   10/09/2021               1
  S11NM38                  Yes                       Personal                   10/04/2021               1
  USUQPYP                  Yes                       Personal                   08/03/2021               1
  KB67UV8                  Yes                       Personal                   11/02/2021               1
  OU8UFFF                  Yes                       Personal                   9/30/2021                1
  32RNQAB                  Yes                       Personal                   7/24/2021                1
  RLMEAIS                  Yes                       Personal                   9/23/2021                1
  8ZMC9T8                  Yes                       Personal                   9/14/2021                1
  C46VA9Z                  Yes                       Personal                   07/01/2021               1
  6VZJ00E                  Yes                       Personal                   7/21/2021                1
  0WECRKQ                  Yes                       Personal                   9/18/2021                1
  TU1DRC0                  Yes                       Personal                   07/03/2021               1
  737O8E6                  Yes                       Personal                   7/24/2021                1
  BA0A260                  Yes                       Personal                   08/08/2021               1
  Q95U2AP                  Yes                       Personal                   07/10/2021               1
  A9UFNIY                  Yes                       Personal                   10/19/2021               1
  LA713CG                  Yes                       Personal                   11/05/2021               1
  J0T9DRY                  Yes                       Personal                   8/14/2021                1
  8AZFQNY                  Yes                       Personal                   7/28/2021                1
  CAP70R6                  Yes                       Personal                   10/19/2021               1
  8LSZXT9                  Yes                       Personal                   10/20/2021               1
  H6MUH24                  Yes                       Personal                   10/29/2021               1
  5T9LUK0                  Yes                       Personal                   10/28/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 54 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  3GZ60F2                  Yes                       Personal                   10/07/2021               1
  FCNA7KI                  Yes                       Personal                   08/04/2021               1
  S3VMHY9                  Yes                       Personal                   11/03/2021               1
  X04OYJA                  Yes                       Corporate                  8/18/2021                1
  JWRDLEH                  Yes                       Personal                   10/15/2021               1
  I5HJT3O                  Yes                       Personal                   10/31/2021               1
  1GMV72Z                  Yes                       Personal                   10/07/2021               1
  Z94CD4M                  Yes                       Personal                   11/05/2021               1
  IW7TQ29                  Yes                       Personal                   10/05/2021               1
  QL9DLM6                  Yes                       Personal                   7/27/2021                1
  UOTD0F4                  Yes                       Personal                   11/06/2021               1
  9YF6RCU                  Yes                       Personal                   10/30/2021               1
  6YB77HE                  Yes                       Personal                   11/06/2021               1
  2GII7U7                  Yes                       Personal                   11/04/2021               1
  01IYR3M                  Yes                       Personal                   9/30/2021                1
  PBNTRJT                  Yes                       Personal                   8/28/2021                1
  XCHW9JE                  Yes                       Personal                   9/18/2021                1
  35FTQUU                  Yes                       Personal                   8/14/2021                1
  WYK7NDL                  Yes                       Personal                   11/06/2021               1
  8885LTS                  Yes                       Personal                   10/19/2021               1
  7DW9O3M                  Yes                       Personal                   9/18/2021                1
  KMUFQ0P                  Yes                       Personal                   9/15/2021                1
  J3YN02P                  Yes                       Personal                   8/13/2021                1
  MFW9UD0                  Yes                       Personal                   11/06/2021               1
  6UNG4T2                  Yes                       Personal                   10/09/2021               1
  NIW6U5I                  Yes                       Personal                   9/23/2021                1
  1IT04QT                  Yes                       Personal                   08/09/2021               1
  BUNJIHW                  Yes                       Personal                   11/02/2021               1
  UYFJCMX                  Yes                       Personal                   8/20/2021                1
  WDHEY2A                  Yes                       Personal                   10/05/2021               1
  Q2FZKC7                  Yes                       Personal                   10/14/2021               1
  OH9NYIS                  Yes                       Personal                   7/27/2021                1
  XBXS08D                  Yes                       Personal                   11/05/2021               1
  NFAW5RO                  Yes                       Personal                   10/09/2021               1
  JB21ID2                  Yes                       Personal                   08/07/2021               1
  FOI93NK                  Yes                       Personal                   8/20/2021                1
  5NWUN8E                  Yes                       Corporate                  11/06/2021               1
  3CZ47U8                  Yes                       Personal                   7/16/2021                1
  F4OH1P5                  Yes                       Personal                   11/01/2021               1
  69MKIFO                  Yes                       Personal                   11/05/2021               1
  97Q6R8W                  Yes                       Personal                   11/02/2021               1
  P0W013X                  Yes                       Personal                   7/23/2021                1
  VNLI3FL                  Yes                       Personal                   11/03/2021               1
  M7WMI77                  Yes                       Personal                   10/16/2021               1
  HW52AOA                  Yes                       Personal                   11/02/2021               1
  V3XAHCG                  Yes                       Personal                   08/03/2021               1
  1NO49KG                  Yes                       Personal                   10/19/2021               1
  868ZEDV                  Yes                       Personal                   11/04/2021               1
  VTLQLHV                  Yes                       Personal                   10/06/2021               1
  H5VVKXH                  Yes                       Personal                   11/03/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 55 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  X4FY8YY                  Yes                       Personal                   10/21/2021               1
  YLIRAXG                  Yes                       Personal                   09/06/2021               1
  NV8XHFN                  Yes                       Personal                   07/08/2021               1
  J9MJOZY                  Yes                       Personal                   09/02/2021               1
  1MFKYVF                  Yes                       Personal                   10/07/2021               1
  FYD2EDT                  Yes                       Personal                   10/25/2021               1
  75C9Y0P                  Yes                       Personal                   10/26/2021               1
  D8APF2Y                  Yes                       Personal                   07/02/2021               1
  GNSFN5L                  Yes                       Personal                   08/02/2021               1
  WBS0R24                  Yes                       Personal                   08/04/2021               1
  LDG7FKZ                  Yes                       Personal                   10/19/2021               1
  XFZYC5V                  Yes                       Corporate                  7/14/2021                1
  A0FUAFI                  Yes                       Personal                   07/09/2021               1
  6234DD3                  Yes                       Personal                   9/20/2021                1
  FWUHKN4                  Yes                       Personal                   11/05/2021               1
  XV5ZNNM                  Yes                       Personal                   8/14/2021                1
  VK0GR6B                  Yes                       Personal                   11/04/2021               1
  JA9K682                  Yes                       Personal                   10/16/2021               1
  EM272PG                  Yes                       Personal                   7/19/2021                1
  8WA4D1Y                  Yes                       Personal                   11/01/2021               1
  LMC8YPB                  Yes                       Personal                   10/03/2021               1
  Y70JWGT                  Yes                       Corporate                  07/09/2021               1
  4HEBGRW                  Yes                       Personal                   10/15/2021               1
  AEGK1SO                  Yes                       Personal                   10/08/2021               1
  A0QE1EP                  Yes                       Personal                   10/16/2021               1
  4PTCP1G                  Yes                       Personal                   10/07/2021               1
  65CO2RL                  Yes                       Personal                   9/14/2021                1
  JY16TQY                  Yes                       Personal                   07/12/2021               1
  RJF5Y6I                  Yes                       Personal                   10/13/2021               1
  CZZNW9T                  Yes                       Personal                   9/20/2021                1
  O83OWQ7                  Yes                       Personal                   8/24/2021                1
  C155TDE                  Yes                       Personal                   6/30/2021                1
  TIUMXQ1                  Yes                       Personal                   11/02/2021               1
  E1LXBC8                  Yes                       Personal                   7/28/2021                1
  JSPXRJY                  Yes                       Personal                   9/28/2021                1
  1OKNVJS                  Yes                       Personal                   10/27/2021               1
  5NXVE6I                  Yes                       Personal                   8/26/2021                1
  3BIQFXK                  Yes                       Personal                   11/02/2021               1
  K9DDI5C                  Yes                       Personal                   7/24/2021                1
  J4DZCUC                  Yes                       Personal                   10/31/2021               1
  HWDOYZY                  Yes                       Personal                   11/02/2021               1
  PYVDEJI                  Yes                       Personal                   7/26/2021                1
  677KZDS                  Yes                       Personal                   09/07/2021               1
  FIQAKP7                  Yes                       Personal                   11/02/2021               1
  L4KZTE9                  Yes                       Personal                   8/17/2021                1
  VK4ANPU                  Yes                       Personal                   10/15/2021               1
  UKA7Q03                  Yes                       Personal                   11/04/2021               1
  MA8FIR1                  Yes                       Personal                   10/14/2021               1
  C73CU73                  Yes                       Personal                   09/08/2021               1
  UEWVMQD                  Yes                       Personal                   10/28/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 56 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  LDBWNN5                  Yes                       Personal                   8/20/2021                1
  O22617Z                  Yes                       Personal                   11/04/2021               1
  R5R296O                  Yes                       Personal                   10/29/2021               1
  MNYJNM7                  Yes                       Personal                   11/03/2021               1
  SXXI1GC                  Yes                       Personal                   11/02/2021               1
  6C7E9KZ                  Yes                       Personal                   09/01/2021               1
  EM5AHY4                  Yes                       Personal                   09/08/2021               1
  ZNVGMH5                  Yes                       Personal                   7/24/2021                1
  UEMIY32                  Yes                       Personal                   8/31/2021                1
  CQ2ILKG                  Yes                       Personal                   10/23/2021               1
  LBHSJUG                  Yes                       Corporate                  7/18/2021                1
  HVHWY8H                  Yes                       Personal                   7/24/2021                1
  FJKG527                  Yes                       Personal                   7/23/2021                1
  7FV8GBY                  Yes                       Personal                   10/04/2021               1
  8RRYZYJ                  Yes                       Personal                   10/21/2021               1
  UXGN0L9                  Yes                       Personal                   07/11/2021               1
  2GI172Z                  Yes                       Personal                   11/04/2021               1
  2P9BBWB                  Yes                       Personal                   9/16/2021                1
  CWIDXQ1                  Yes                       Personal                   10/16/2021               1
  R1RK7JV                  Yes                       Personal                   11/04/2021               1
  N3FE4KX                  Yes                       Personal                   7/24/2021                1
  XU7TSRF                  Yes                       Personal                   11/06/2021               1
  AIVUI9H                  Yes                       Personal                   11/03/2021               1
  XSGWJHE                  Yes                       Personal                   10/15/2021               1
  HUQQSAJ                  Yes                       Personal                   7/15/2021                1
  NWJ57GE                  Yes                       Personal                   10/27/2021               1
  5Y10EFR                  Yes                       Personal                   10/08/2021               1
  C9V4UZ2                  Yes                       Personal                   7/27/2021                1
  1E64JRC                  Yes                       Personal                   11/03/2021               1
  FFE243F                  Yes                       Personal                   11/02/2021               1
  G1ST9BM                  Yes                       Personal                   7/28/2021                1
  41RPS6S                  Yes                       Personal                   7/30/2021                1
  9YP28V5                  Yes                       Personal                   10/28/2021               1
  E9SWUDK                  Yes                       Personal                   7/23/2021                1
  G33KRZY                  Yes                       Personal                   11/02/2021               1
  BPQJZTO                  Yes                       Personal                   10/01/2021               1
  U6YNTX9                  Yes                       Personal                   11/05/2021               1
  S9FKJVK                  Yes                       Personal                   08/09/2021               1
  G41MZ30                  Yes                       Personal                   08/06/2021               1
  UIWML5G                  Yes                       Personal                   11/04/2021               1
  9VAWPSF                  Yes                       Personal                   08/01/2021               1
  1QWTXRQ                  Yes                       Personal                   8/25/2021                1
  ZRVFVEZ                  Yes                       Personal                   10/02/2021               1
  USSNSN9                  Yes                       Personal                   11/02/2021               1
  XX7F86N                  Yes                       Personal                   11/02/2021               1
  1ID1XJE                  Yes                       Corporate                  7/24/2021                1
  L70G9J9                  Yes                       Personal                   8/18/2021                1
  TLX6TQA                  Yes                       Personal                   07/07/2021               1
  9SR6CR7                  Yes                       Personal                   08/05/2021               1
  7FZ8U56                  Yes                       Personal                   9/30/2021                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 57 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  5JRD8HV                  Yes                       Personal                   10/27/2021               1
  Q5ZNRZT                  Yes                       Personal                   10/28/2021               1
  SMZX9IZ                  Yes                       Personal                   7/24/2021                1
  T8IZQ3R                  Yes                       Corporate                  07/09/2021               1
  OMREQND                  Yes                       Personal                   07/03/2021               1
  FM4WKF1                  Yes                       Personal                   11/03/2021               1
  93EA1Y0                  Yes                       Personal                   09/08/2021               1
  IQ54K75                  Yes                       Personal                   11/06/2021               1
  INDUK1U                  Yes                       Personal                   10/26/2021               1
  VBGSY8Y                  Yes                       Personal                   10/19/2021               1
  EX7S6MO                  Yes                       Personal                   10/30/2021               1
  UYTXMTT                  Yes                       Personal                   10/15/2021               1
  6DQ69XV                  Yes                       Personal                   10/03/2021               1
  OEXAX14                  Yes                       Personal                   7/23/2021                1
  4X1NAAF                  Yes                       Personal                   9/20/2021                1
  KLCMQ4I                  Yes                       Personal                   11/02/2021               1
  REE7PBN                  Yes                       Personal                   9/27/2021                1
  H9I2I78                  Yes                       Personal                   9/30/2021                1
  Q7KWRCP                  Yes                       Personal                   11/04/2021               1
  P5X7M07                  Yes                       Personal                   07/09/2021               1
  9VEMZCU                  Yes                       Personal                   7/28/2021                1
  GYHZ5VN                  Yes                       Personal                   11/05/2021               1
  ILRTSEM                  Yes                       Corporate                  07/08/2021               1
  RCVM79J                  Yes                       Personal                   7/15/2021                1
  D2O9RWJ                  Yes                       Personal                   7/23/2021                1
  A1S4O98                  Yes                       Personal                   10/12/2021               1
  AQC6JSV                  Yes                       Personal                   11/06/2021               1
  NT7M6OG                  Yes                       Personal                   7/29/2021                1
  U05K0C0                  Yes                       Personal                   11/04/2021               1
  9PP3ERH                  Yes                       Personal                   10/09/2021               1
  164VGPQ                  Yes                       Personal                   11/03/2021               1
  7NN9Z26                  Yes                       Personal                   10/30/2021               1
  02YA3P8                  Yes                       Personal                   07/08/2021               1
  0N49TNZ                  Yes                       Personal                   10/16/2021               1
  UV4Z4G1                  Yes                       Personal                   7/13/2021                1
  FZFUUJQ                  Yes                       Personal                   10/12/2021               1
  E6OBUJV                  Yes                       Personal                   7/24/2021                1
  SAJVWI9                  Yes                       Personal                   08/09/2021               1
  R0F534C                  Yes                       Personal                   10/19/2021               1
  6H8LEQ2                  Yes                       Personal                   7/23/2021                1
  9026MYS                  Yes                       Personal                   7/19/2021                1
  HWNDIEJ                  Yes                       Personal                   7/30/2021                1
  K8KKA0B                  Yes                       Personal                   9/16/2021                1
  SPETV74                  Yes                       Personal                   11/05/2021               1
  55YRK10                  Yes                       Personal                   10/29/2021               1
  SV8HTEJ                  Yes                       Personal                   9/29/2021                1
  06ARW9J                  Yes                       Personal                   08/04/2021               1
  47NF98F                  Yes                       Personal                   9/27/2021                1
  DIXMBPN                  Yes                       Personal                   7/21/2021                1
  69KF2LE                  Yes                       Personal                   11/02/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 58 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  WQM3S9U                  Yes                       Personal                   10/14/2021               1
  RS1MJIR                  Yes                       Personal                   8/15/2021                1
  3YFOYX5                  Yes                       Personal                   07/03/2021               1
  35VAY3R                  Yes                       Personal                   8/22/2021                1
  DU6AUAL                  Yes                       Personal                   11/02/2021               1
  Q9VZC7Q                  Yes                       Personal                   07/12/2021               1
  T5FBZ8L                  Yes                       Personal                   08/05/2021               1
  UEK99P8                  Yes                       Personal                   11/05/2021               1
  EOWX155                  Yes                       Personal                   7/24/2021                1
  8PZ9Z6W                  Yes                       Personal                   7/31/2021                1
  PNLW4LI                  Yes                       Personal                   9/14/2021                1
  0QIZOAM                  Yes                       Personal                   08/10/2021               1
  UUIFMW7                  Yes                       Personal                   10/16/2021               1
  PFVJUA8                  Yes                       Personal                   11/04/2021               1
  YBLA2EU                  Yes                       Personal                   10/16/2021               1
  EZ17A5S                  Yes                       Personal                   10/07/2021               1
  HNENVBM                  Yes                       Personal                   11/03/2021               1
  Y0H6HV1                  Yes                       Personal                   9/30/2021                1
  XNJA52H                  Yes                       Personal                   11/10/2021               1
  QSUHJNM                  Yes                       Personal                   11/17/2021               1
  DJ3APBR                  Yes                       Personal                   11/25/2021               1
  1U81R55                  Yes                       Personal                   11/07/2021               1
  L7JOZW7                  Yes                       Personal                   11/15/2021               1
  AXADN0T                  Yes                       Personal                   11/13/2021               1
  9P6ZI13                  Yes                       Personal                   11/09/2021               1
  P1HKWKZ                  Yes                       Personal                   11/09/2021               1
  4DEANEP                  Yes                       Personal                   11/11/2021               1
  J1F1K6R                  Yes                       Personal                   11/09/2021               1
  557OPOJ                  Yes                       Personal                   11/08/2021               1
  S5VCDRE                  Yes                       Personal                   11/26/2021               1
  Y4KTKWO                  Yes                       Personal                   11/14/2021               1
  LKNGR9O                  Yes                       Personal                   11/15/2021               1
  JKRYJ2B                  Yes                       Personal                   11/13/2021               1
  HT1PTES                  Yes                       Personal                   11/13/2021               1
  1IPAN31                  Yes                       Personal                   11/18/2021               1
  VORDETY                  Yes                       Personal                   11/10/2021               1
  USSSYII                  Yes                       Personal                   11/13/2021               1
  4U52B6W                  Yes                       Personal                   11/11/2021               1
  35DKGRK                  Yes                       Personal                   11/07/2021               1
  09U1ACR                  Yes                       Personal                   11/16/2021               1
  82DBIYE                  Yes                       Personal                   11/13/2021               1
  0WYVFXZ                  Yes                       Personal                   11/08/2021               1
  EBYD8SS                  Yes                       Personal                   11/10/2021               1
  H75D8LF                  Yes                       Personal                   11/10/2021               1
  9W142I9                  Yes                       Personal                   11/09/2021               1
  JBYLOYL                  Yes                       Personal                   11/12/2021               1
  QWJ58ZA                  Yes                       Personal                   11/10/2021               1
  2IVNUJL                  Yes                       Personal                   11/14/2021               1
  CE3EJA0                  Yes                       Personal                   11/12/2021               1
  BUURT46                  Yes                       Corporate                  11/16/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 59 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  3ONQQ94                  Yes                       Personal                   11/23/2021               1
  GXYQPJZ                  Yes                       Personal                   11/08/2021               1
  ZP578DR                  Yes                       Personal                   11/07/2021               1
  0R7WZP4                  Yes                       Personal                   11/18/2021               1
  B3SYS8T                  Yes                       Personal                   11/16/2021               1
  I3FVIGY                  Yes                       Personal                   11/11/2021               1
  R067UJL                  Yes                       Personal                   11/09/2021               1
  K5XEJO4                  Yes                       Personal                   11/10/2021               1
  0FXMGY5                  Yes                       Personal                   11/09/2021               1
  0XX6WLL                  Yes                       Personal                   11/10/2021               1
  TUTLWCV                  Yes                       Personal                   11/10/2021               1
  QYYLYE2                  Yes                       Personal                   11/08/2021               1
  MBMGELQ                  Yes                       Personal                   11/11/2021               1
  2KPKP6D                  Yes                       Personal                   11/13/2021               1
  9VTBO3X                  Yes                       Personal                   11/12/2021               1
  TMGX7F3                  Yes                       Personal                   11/13/2021               1
  B295JAS                  Yes                       Personal                   11/08/2021               1
  5W0OOBA                  Yes                       Personal                   11/10/2021               1
  YAV6DWF                  Yes                       Personal                   11/07/2021               1
  8YOJZTB                  Yes                       Personal                   11/14/2021               1
  E1XOKQK                  Yes                       Personal                   11/07/2021               1
  59X3DP0                  Yes                       Personal                   11/08/2021               1
  CB8VC6N                  Yes                       Personal                   11/21/2021               1
  NOW3BTB                  Yes                       Personal                   11/11/2021               1
  285ENHC                  Yes                       Personal                   11/27/2021               1
  R2YS5AE                  Yes                       Personal                   11/07/2021               1
  T82NJT1                  Yes                       Personal                   11/07/2021               1
  Z7178FU                  Yes                       Personal                   11/07/2021               1
  IZHVZS3                  Yes                       Personal                   11/29/2021               1
  6QOR3NJ                  Yes                       Personal                   11/14/2021               1
  2RMACUV                  Yes                       Personal                   11/11/2021               1
  6JIC99D                  Yes                       Personal                   11/24/2021               1
  9NPHT1B                  Yes                       Personal                   11/21/2021               1
  8JTORLP                  Yes                       Personal                   11/17/2021               1
  4LMHM33                  Yes                       Personal                   11/14/2021               1
  ZCMX31D                  Yes                       Personal                   11/10/2021               1
  ASCBYZU                  Yes                       Personal                   11/18/2021               1
  64X94AD                  Yes                       Personal                   11/19/2021               1
  OHUEYC2                  Yes                       Personal                   11/07/2021               1
  4P9S98D                  Yes                       Corporate                  11/08/2021               1
  SFRE00O                  Yes                       Personal                   11/09/2021               1
  BX9TBT7                  Yes                       Personal                   11/11/2021               1
  0ZATHS3                  Yes                       Personal                   11/15/2021               1
  0XHQI27                  Yes                       Personal                   11/14/2021               1
  0URCMAX                  Yes                       Personal                   11/21/2021               1
  VQRQF0F                  Yes                       Personal                   11/18/2021               1
  8J0UWON                  Yes                       Personal                   11/14/2021               1
  91G4WMP                  Yes                       Personal                   11/07/2021               1
  Z04CDPF                  Yes                       Personal                   11/09/2021               1
  BDJCNL2                  Yes                       Personal                   11/09/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 60 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  9QWLPQY                  Yes                       Personal                   11/09/2021               1
  IFKZ2DW                  Yes                       Personal                   11/28/2021               1
  23815XC                  Yes                       Personal                   11/07/2021               1
  F9ZEGCI                  Yes                       Personal                   11/11/2021               1
  TKHY2T2                  Yes                       Personal                   11/24/2021               1
  SQ0BJ49                  Yes                       Personal                   11/16/2021               1
  ZM4BTLE                  Yes                       Personal                   11/12/2021               1
  HKN06X2                  Yes                       Personal                   11/08/2021               1
  FKPHVJQ                  Yes                       Personal                   11/21/2021               1
  QQGR1OJ                  Yes                       Personal                   11/20/2021               1
  Y0J46T2                  Yes                       Personal                   11/10/2021               1
  7W4K392                  Yes                       Personal                   11/07/2021               1
  DFHNAI7                  Yes                       Personal                   11/19/2021               1
  E4S9PK9                  Yes                       Personal                   11/13/2021               1
  2UHYRUX                  Yes                       Personal                   11/13/2021               1
  7IGRR2I                  Yes                       Personal                   11/20/2021               1
  5RXHESU                  Yes                       Personal                   11/18/2021               1
  ON1SN3M                  Yes                       Personal                   11/21/2021               1
  KP6DIR4                  Yes                       Personal                   11/14/2021               1
  D4F1XVD                  Yes                       Personal                   11/13/2021               1
  ITY2338                  Yes                       Personal                   11/11/2021               1
  64OW269                  Yes                       Corporate                  11/08/2021               1
  WFYYMZH                  Yes                       Personal                   11/20/2021               1
  Q7MWP46                  Yes                       Personal                   11/16/2021               1
  TAAGHIT                  Yes                       Personal                   11/10/2021               1
  1EAQMHV                  Yes                       Personal                   11/08/2021               1
  KCB4X74                  Yes                       Personal                   11/14/2021               1
  PNRN59W                  Yes                       Personal                   11/12/2021               1
  0WG5ECT                  Yes                       Personal                   11/11/2021               1
  EL6FRLE                  Yes                       Personal                   11/21/2021               1
  8I70W8J                  Yes                       Personal                   11/08/2021               1
  7E44JE1                  Yes                       Personal                   11/14/2021               1
  3QDWQ1W                  Yes                       Personal                   11/18/2021               1
  F0IO5TH                  Yes                       Personal                   11/24/2021               1
  P2CKH8O                  Yes                       Personal                   11/15/2021               1
  HXGAY7V                  Yes                       Personal                   11/24/2021               1
  1BZ41LJ                  Yes                       Personal                   11/07/2021               1
  ZKV7CA5                  Yes                       Personal                   11/15/2021               1
  E2QECMJ                  Yes                       Personal                   11/09/2021               1
  DPDFDQB                  Yes                       Personal                   11/12/2021               1
  258X7RB                  Yes                       Personal                   11/09/2021               1
  2G7YWM2                  Yes                       Personal                   11/10/2021               1
  AAIF9GW                  Yes                       Personal                   11/13/2021               1
  8Q8KCDR                  Yes                       Personal                   11/11/2021               1
  N9DA7QT                  Yes                       Personal                   11/08/2021               1
  87KMZB4                  Yes                       Personal                   11/18/2021               1
  HFZ9IKT                  Yes                       Personal                   11/08/2021               1
  XHVYMMS                  Yes                       Personal                   11/07/2021               1
  YQTB2BF                  Yes                       Personal                   11/09/2021               1
  81AMXV8                  Yes                       Personal                   11/10/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 61 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  ADP8MRD                  Yes                       Personal                   11/08/2021               1
  6MKI0VI                  Yes                       Personal                   11/15/2021               1
  NLUYIS4                  Yes                       Personal                   11/07/2021               1
  7K66BG1                  Yes                       Personal                   11/07/2021               1
  R10ROZM                  Yes                       Personal                   11/29/2021               1
  1WF00EO                  Yes                       Personal                   11/12/2021               1
  BB9PSMO                  Yes                       Personal                   11/10/2021               1
  6GCTL7Z                  Yes                       Personal                   11/07/2021               1
  DZ7PU9F                  Yes                       Personal                   11/09/2021               1
  125NX92                  Yes                       Personal                   11/17/2021               1
  JZTYS08                  Yes                       Personal                   11/11/2021               1
  2O5PK36                  Yes                       Personal                   11/23/2021               1
  W93DR18                  Yes                       Personal                   11/12/2021               1
  3ONHED9                  Yes                       Personal                   11/09/2021               1
  OMC0GRR                  Yes                       Personal                   11/13/2021               1
  I4LKIWY                  Yes                       Personal                   11/11/2021               1
  WHGE2HJ                  Yes                       Personal                   11/12/2021               1
  GMEA78L                  Yes                       Personal                   11/16/2021               1
  V8MLW2V                  Yes                       Personal                   11/12/2021               1
  HQNATE4                  Yes                       Personal                   11/20/2021               1
  JJ92N82                  Yes                       Personal                   11/09/2021               1
  KV7T0ZL                  Yes                       Personal                   11/12/2021               1
  ZDW836B                  Yes                       Personal                   11/18/2021               1
  VA9NRH7                  Yes                       Personal                   11/14/2021               1
  V75GMXY                  Yes                       Personal                   11/07/2021               1
  FAWZBKD                  Yes                       Personal                   11/21/2021               1
  YGGZVQ1                  Yes                       Personal                   11/28/2021               1
  5C3S5LT                  Yes                       Personal                   11/07/2021               1
  PNB8BHH                  Yes                       Personal                   11/11/2021               1
  UUWP3D4                  Yes                       Personal                   11/08/2021               1
  FB0PW7N                  Yes                       Personal                   11/08/2021               1
  8MK85F0                  Yes                       Personal                   11/10/2021               1
  5GNVJOJ                  Yes                       Personal                   11/07/2021               1
  R9I6AIR                  Yes                       Personal                   3/24/2022                1
  KAV4LPJ                  Yes                       Personal                   12/18/2021               1
  QJVCHVE                  Yes                       Personal                   2/14/2022                1
  MMS2IIG                  Yes                       Personal                   02/04/2022               1
  7UFU381                  Yes                       Personal                   1/13/2022                1
  07VEGFG                  Yes                       Personal                   01/04/2022               1
  HQBXREU                  Yes                       Personal                   12/04/2021               1
  1LZCUYD                  Yes                       Personal                   1/25/2022                1
  IQZZTFG                  Yes                       Personal                   2/25/2022                1
  X4XUYTD                  Yes                       Personal                   2/21/2022                1
  W6U91AX                  Yes                       Personal                   12/17/2021               1
  7QSZ3P0                  Yes                       Personal                   02/06/2022               1
  KDYKS6U                  Yes                       Personal                   03/02/2022               1
  8VI4LKV                  Yes                       Personal                   12/07/2021               1
  2PH5W7Q                  Yes                       Personal                   01/06/2022               1
  OYINOYY                  Yes                       Personal                   03/07/2022               1
  3HGRX4Y                  Yes                       Personal                   12/30/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 62 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  8ROUOSZ                  Yes                       Personal                   12/19/2021               1
  921TF6D                  Yes                       Personal                   02/05/2022               1
  N8FC12K                  Yes                       Personal                   1/29/2022                1
  0GZQGTF                  Yes                       Personal                   1/20/2022                1
  EN9JU2R                  Yes                       Personal                   2/20/2022                1
  LLB1G0C                  Yes                       Personal                   12/08/2021               1
  9750X5E                  Yes                       Personal                   02/05/2022               1
  UCYULQF                  Yes                       Personal                   02/06/2022               1
  7PL4JMB                  Yes                       Personal                   1/27/2022                1
  PYUJCDQ                  Yes                       Personal                   12/14/2021               1
  8S6NOTF                  Yes                       Personal                   12/13/2021               1
  5OPETEM                  Yes                       Personal                   02/12/2022               1
  IIFMX5G                  Yes                       Personal                   2/14/2022                1
  ZU0LC8R                  Yes                       Personal                   12/15/2021               1
  WVT0LDW                  Yes                       Personal                   12/10/2021               1
  UNII0DH                  Yes                       Personal                   12/08/2021               1
  TA82VSP                  Yes                       Personal                   3/30/2022                1
  HYFKXTB                  Yes                       Personal                   02/05/2022               1
  F3ITF6W                  Yes                       Personal                   03/11/2022               1
  3QXMOQR                  Yes                       Personal                   01/03/2022               1
  TQEQZEE                  Yes                       Personal                   03/08/2022               1
  DSN0CY2                  Yes                       Personal                   01/10/2022               1
  SKAZFRE                  Yes                       Personal                   12/06/2021               1
  WYHBTOY                  Yes                       Personal                   02/05/2022               1
  8NBB8E4                  Yes                       Personal                   2/20/2022                1
  BYV9AK6                  Yes                       Personal                   02/05/2022               1
  U07MO6Z                  Yes                       Personal                   03/01/2022               1
  EZ52C5L                  Yes                       Personal                   1/18/2022                1
  K66XJ7N                  Yes                       Personal                   02/09/2022               1
  TRG7OBV                  Yes                       Personal                   1/27/2022                1
  HXYDW2S                  Yes                       Personal                   02/06/2022               1
  GG8AOAU                  Yes                       Personal                   2/21/2022                1
  S0R6I4C                  Yes                       Personal                   02/06/2022               1
  UT26464                  Yes                       Personal                   02/08/2022               1
  MCE58BC                  Yes                       Personal                   03/05/2022               1
  QUSW4CX                  Yes                       Personal                   2/24/2022                1
  3PWPCOQ                  Yes                       Personal                   02/06/2022               1
  UIKITK2                  Yes                       Personal                   3/21/2022                1
  Q6NN1NN                  Yes                       Personal                   02/02/2022               1
  WJ4A8ZQ                  Yes                       Personal                   02/05/2022               1
  E2JYL1R                  Yes                       Personal                   02/01/2022               1
  104ALMN                  Yes                       Personal                   02/05/2022               1
  PL2MB4C                  Yes                       Personal                   2/28/2022                1
  2ERAW9U                  Yes                       Personal                   01/03/2022               1
  JG1S7MY                  Yes                       Personal                   12/06/2021               1
  92R8R01                  Yes                       Personal                   2/20/2022                1
  P26JVTE                  Yes                       Personal                   02/02/2022               1
  1ZW000F                  Yes                       Personal                   01/05/2022               1
  3TXS1X7                  Yes                       Personal                   02/04/2022               1
  BRS4GFX                  Yes                       Personal                   2/17/2022                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 63 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  WKXIEEU                  Yes                       Personal                   2/28/2022                1
  48D72TD                  Yes                       Personal                   3/20/2022                1
  T8HJY4S                  Yes                       Personal                   2/19/2022                1
  Z6PO9C1                  Yes                       Personal                   1/15/2022                1
  1544NDP                  Yes                       Personal                   01/06/2022               1
  837MQNU                  Yes                       Personal                   12/13/2021               1
  YQJ1J3O                  Yes                       Personal                   3/25/2022                1
  4WIBOK8                  Yes                       Personal                   2/15/2022                1
  PJY6EO6                  Yes                       Personal                   03/12/2022               1
  90428CI                  Yes                       Personal                   3/13/2022                1
  KZ5TGUS                  Yes                       Personal                   12/28/2021               1
  IT0X87M                  Yes                       Personal                   2/15/2022                1
  2OPXZUZ                  Yes                       Personal                   3/13/2022                1
  E9L1BKL                  Yes                       Personal                   1/28/2022                1
  HB9R0LT                  Yes                       Personal                   03/10/2022               1
  TUG4NL9                  Yes                       Personal                   3/20/2022                1
  ASGGF0C                  Yes                       Personal                   12/06/2021               1
  IJ79EZ4                  Yes                       Personal                   1/29/2022                1
  PBAICIW                  Yes                       Personal                   1/26/2022                1
  2LSZ2P0                  Yes                       Personal                   03/02/2022               1
  9WZW043                  Yes                       Personal                   2/18/2022                1
  PB0KENN                  Yes                       Personal                   12/07/2021               1
  AJG13MS                  Yes                       Personal                   12/07/2021               1
  L7MBGLR                  Yes                       Personal                   1/14/2022                1
  PUI4T0S                  Yes                       Personal                   3/15/2022                1
  X9Q8NS7                  Yes                       Personal                   12/05/2021               1
  P6K3V5E                  Yes                       Personal                   02/06/2022               1
  D2CWJHN                  Yes                       Personal                   02/05/2022               1
  I0ITOJQ                  Yes                       Personal                   12/20/2021               1
  3JPC28J                  Yes                       Personal                   03/03/2022               1
  EOQBHLV                  Yes                       Personal                   2/14/2022                1
  TJRMZRJ                  Yes                       Personal                   1/19/2022                1
  XGF7CWO                  Yes                       Personal                   03/10/2022               1
  4KLYRTB                  Yes                       Personal                   3/26/2022                1
  LSACTQY                  Yes                       Personal                   02/04/2022               1
  1C70TNU                  Yes                       Personal                   3/20/2022                1
  11UXQV4                  Yes                       Personal                   1/30/2022                1
  M5P835C                  Yes                       Personal                   3/13/2022                1
  Y8P9LN8                  Yes                       Personal                   3/22/2022                1
  LQ7DLLW                  Yes                       Personal                   3/13/2022                1
  HYHELM4                  Yes                       Personal                   12/11/2021               1
  EQTG7N9                  Yes                       Personal                   2/18/2022                1
  5549FRT                  Yes                       Personal                   02/02/2022               1
  C4FZC1D                  Yes                       Personal                   03/06/2022               1
  MY0PFE5                  Yes                       Personal                   2/27/2022                1
  XNGY4D4                  Yes                       Personal                   3/15/2022                1
  JKRM9JZ                  Yes                       Personal                   12/15/2021               1
  BBSMK9E                  Yes                       Personal                   12/16/2021               1
  KC7CXDT                  Yes                       Personal                   01/10/2022               1
  7ECK6VQ                  Yes                       Personal                   12/01/2021               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 64 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  R7Q2FL2                  Yes                       Personal                   02/08/2022               1
  7AEDUDC                  Yes                       Personal                   3/19/2022                1
  24FFDW4                  Yes                       Personal                   2/27/2022                1
  VO7QBE6                  Yes                       Personal                   2/17/2022                1
  C9Q33W2                  Yes                       Personal                   02/01/2022               1
  JOU07QN                  Yes                       Personal                   03/09/2022               1
  AB3ET5K                  Yes                       Personal                   12/06/2021               1
  QOPE24T                  Yes                       Personal                   2/25/2022                1
  1LE32NX                  Yes                       Personal                   3/26/2022                1
  01NYIWE                  Yes                       Personal                   01/09/2022               1
  C5IL908                  Yes                       Personal                   3/19/2022                1
  ZJZHNB5                  Yes                       Personal                   12/10/2021               1
  JYMYIVC                  Yes                       Personal                   3/21/2022                1
  1PCPA55                  Yes                       Personal                   12/04/2021               1
  PWBTSAC                  Yes                       Personal                   02/05/2022               1
  K61OGC9                  Yes                       Personal                   01/12/2022               1
  AH6FOLO                  Yes                       Personal                   02/05/2022               1
  8KFSTEP                  Yes                       Personal                   3/28/2022                1
  BGFUI5Q                  Yes                       Personal                   03/05/2022               1
  VXF2PY3                  Yes                       Personal                   2/21/2022                1
  Q94M5FF                  Yes                       Personal                   12/20/2021               1
  EXTTB1J                  Yes                       Personal                   01/08/2022               1
  I1P1ZA6                  Yes                       Personal                   03/08/2022               1
  3VRLDXR                  Yes                       Personal                   03/03/2022               1
  AENFBYX                  Yes                       Personal                   12/21/2021               1
  X4F0G0H                  Yes                       Personal                   12/18/2021               1
  382HFG0                  Yes                       Personal                   12/22/2021               1
  RVHTSON                  Yes                       Personal                   12/06/2021               1
  5VNO3YO                  Yes                       Personal                   12/10/2021               1
  V3X4RWC                  Yes                       Personal                   01/04/2022               1
  7GYL7JK                  Yes                       Personal                   2/22/2022                1
  NWKLJFJ                  Yes                       Personal                   2/25/2022                1
  5GZG9NL                  Yes                       Personal                   1/26/2022                1
  TEZ0GEO                  Yes                       Personal                   3/16/2022                1
  4WGHAVF                  Yes                       Personal                   3/23/2022                1
  7Q9KXS7                  Yes                       Personal                   2/23/2022                1
  GEX2XJG                  Yes                       Personal                   3/23/2022                1
  OP6PQ42                  Yes                       Personal                   3/21/2022                1
  715M3Q8                  Yes                       Personal                   12/17/2021               1
  4JAM32Z                  Yes                       Personal                   02/02/2022               1
  K64HVBN                  Yes                       Personal                   3/15/2022                1
  DDZSOU7                  Yes                       Personal                   02/08/2022               1
  S76C81N                  Yes                       Personal                   1/17/2022                1
  TLFG4BX                  Yes                       Personal                   12/10/2021               1
  LXJS1MU                  Yes                       Personal                   12/16/2021               1
  7510SIO                  Yes                       Personal                   2/22/2022                1
  TEMRT85                  Yes                       Personal                   02/07/2022               1
  BZLZ0IZ                  Yes                       Personal                   12/25/2021               1
  URJWIA6                  Yes                       Personal                   2/28/2022                1
  JMMT52W                  Yes                       Personal                   1/29/2022                1




                                                     Private and Confidential
          Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 65 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  WB70W2U                  Yes                       Personal                   3/14/2022                1
  S4YOQ2P                  Yes                       Personal                   02/03/2022               1
  LN35OFR                  Yes                       Personal                   2/25/2022                1
  83LWQ56                  Yes                       Personal                   12/19/2021               1
  XBIQP61                  Yes                       Corporate                  3/16/2022                1
  Y97XS98                  Yes                       Personal                   02/05/2022               1
  AF4NXZ1                  Yes                       Personal                   12/06/2021               1
  4BQRNSA                  Yes                       Personal                   2/24/2022                1
  DR52851                  Yes                       Personal                   03/10/2022               1
  M9SYZ88                  Yes                       Personal                   02/07/2022               1
  1TM4Y3U                  Yes                       Personal                   02/09/2022               1
  THKQMBM                  Yes                       Personal                   2/17/2022                1
  0G1VNP9                  Yes                       Personal                   02/11/2022               1
  SXCAIBR                  Yes                       Personal                   3/26/2022                1
  HQU2D4Y                  Yes                       Personal                   01/05/2022               1
  FF5GPW9                  Yes                       Personal                   3/13/2022                1
  WUQ738L                  Yes                       Personal                   1/14/2022                1
  F14M7FW                  Yes                       Personal                   03/02/2022               1
  V48XMM2                  Yes                       Personal                   01/01/2022               1
  IN41FY1                  Yes                       Personal                   03/04/2022               1
  G6K8Q9F                  Yes                       Personal                   3/29/2022                1
  JKZKOJW                  Yes                       Personal                   02/10/2022               1
  9YAXZH0                  Yes                       Personal                   12/14/2021               1
  M6A4JWL                  Yes                       Personal                   02/02/2022               1
  FMQUESF                  Yes                       Personal                   02/11/2022               1
  C53MXQU                  Yes                       Personal                   02/03/2022               1
  SSFVWGQ                  Yes                       Personal                   02/05/2022               1
  Q9IOOAD                  Yes                       Personal                   02/09/2022               1
  27L6FA6                  Yes                       Personal                   2/16/2022                1
  MH80MUV                  Yes                       Personal                   03/10/2022               1
  PEJA0NN                  Yes                       Personal                   3/24/2022                1
  6MB61GY                  Yes                       Corporate                  2/23/2022                1
  D10EQ89                  Yes                       Personal                   01/03/2022               1
  JQ1LHFU                  Yes                       Personal                   12/07/2021               1
  0KZWZYC                  Yes                       Personal                   02/04/2022               1
  HORU72A                  Yes                       Personal                   03/10/2022               1
  AR9I1XQ                  Yes                       Personal                   02/03/2022               1
  PE7TUEJ                  Yes                       Personal                   02/03/2022               1
  QCXU4TN                  Yes                       Personal                   2/22/2022                1
  VRUHRBX                  Yes                       Personal                   02/05/2022               1
  CGBJN8H                  Yes                       Personal                   02/07/2022               1
  6DK7AKL                  Yes                       Personal                   2/13/2022                1
  2T1KC77                  Yes                       Personal                   02/02/2022               1
  8M2X1M4                  Yes                       Personal                   12/07/2021               1
  M6XJ3YU                  Yes                       Personal                   12/06/2021               1
  S1LQ31N                  Yes                       Personal                   2/16/2022                1
  CBBOC8O                  Yes                       Personal                   2/14/2022                1
  MF6OFYY                  Yes                       Personal                   2/28/2022                1
  JJKFB29                  Yes                       Personal                   12/07/2021               1
  QM8LMDX                  Yes                       Personal                   1/30/2022                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 66 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  JK43XEW                  Yes                       Personal                   3/14/2022                1
  0YKSJ0K                  Yes                       Personal                   12/12/2021               1
  QKTJT99                  Yes                       Personal                   2/15/2022                1
  SLZ655Z                  Yes                       Personal                   12/07/2021               1
  1CUF29F                  Yes                       Personal                   2/17/2022                1
  FLW7PI7                  Yes                       Personal                   3/16/2022                1
  DWFYCGN                  Yes                       Personal                   02/12/2022               1
  0UH9FHK                  Yes                       Personal                   12/18/2021               1
  APC9B2W                  Yes                       Personal                   03/05/2022               1
  ES4MYIN                  Yes                       Personal                   03/07/2022               1
  ITRCNMU                  Yes                       Personal                   01/01/2022               1
  3ELN255                  Yes                       Personal                   1/28/2022                1
  61X02AQ                  Yes                       Personal                   02/05/2022               1
  36EUJ25                  Yes                       Personal                   12/31/2021               1
  TIBMNEP                  Yes                       Personal                   3/28/2022                1
  9HTGTX0                  Yes                       Personal                   2/20/2022                1
  4SKTIUN                  Yes                       Personal                   4/28/2023                1
  XDORVFZ                  Yes                       Personal                   1/30/2023                1
  VUZLVTJ                  Yes                       Personal                   02/11/2023               1
  RBSVH2N                  Yes                       Personal                   02/11/2023               1
  H1JKKSS                  Yes                       Personal                   03/05/2023               1
  IJIXGBB                  Yes                       Personal                   1/31/2023                1
  388ND07                  Yes                       Personal                   5/31/2022                1
  KA9W8PI                  Yes                       Personal                   07/02/2022               1
  X7CPCSC                  Yes                       Personal                   6/14/2022                1
  ZGXREZ1                  Yes                       Personal                   1/13/2023                1
  MKHGCPT                  Yes                       Personal                   12/15/2022               1
  H94GR01                  Yes                       Personal                   04/12/2023               1
  PIHEX87                  Yes                       Personal                   06/01/2022               1
  1X33FQJ                  Yes                       Personal                   02/04/2023               1
  QVWKDHC                  Yes                       Personal                   2/15/2023                1
  62KF31C                  Yes                       Personal                   1/28/2023                1
  QR1RWBH                  Yes                       Personal                   1/30/2023                1
  6ZVZZGZ                  Yes                       Corporate                  4/25/2022                1
  UU47LBQ                  Yes                       Personal                   1/30/2023                1
  XTATEG9                  Yes                       Personal                   06/05/2022               1
  NPX6J4R                  Yes                       Personal                   1/22/2023                1
  LC8RNMT                  Yes                       Personal                   08/03/2022               1
  SA3MI8E                  Yes                       Personal                   12/15/2022               1
  ZJLIM57                  Yes                       Personal                   4/14/2022                1
  EZGZNJQ                  Yes                       Personal                   05/04/2022               1
  8EMDNBG                  Yes                       Personal                   1/30/2023                1
  ZS474IO                  Yes                       Personal                   02/03/2023               1
  2MR500K                  Yes                       Personal                   03/02/2023               1
  JFP8DHT                  Yes                       Personal                   6/24/2023                1
  T97GL8L                  Yes                       Personal                   02/01/2023               1
  06ES2ET                  Yes                       Personal                   04/05/2023               1
  ZAF7ANV                  Yes                       Personal                   2/28/2023                1
  TPB4SVX                  Yes                       Personal                   01/12/2023               1
  0FMSGUP                  Yes                       Personal                   11/29/2022               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 67 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  V3B0TU3                  Yes                       Personal                   1/31/2023                1
  1STPAQW                  Yes                       Personal                   03/05/2023               1
  J7JZI8G                  Yes                       Personal                   2/14/2023                1
  5NT845N                  Yes                       Personal                   1/30/2023                1
  AZUFXTZ                  Yes                       Personal                   05/10/2023               1
  BHKLSIO                  Yes                       Personal                   04/01/2022               1
  NKV5KWI                  Yes                       Personal                   1/27/2023                1
  GD4ZF5S                  Yes                       Personal                   1/16/2023                1
  HWJ7CL6                  Yes                       Personal                   04/05/2022               1
  W2042IP                  Yes                       Personal                   08/07/2022               1
  LP3GHOZ                  Yes                       Personal                   03/08/2023               1
  F9U4BZR                  Yes                       Personal                   2/19/2023                1
  3PNJ4VX                  Yes                       Personal                   8/18/2022                1
  R17DEGY                  Yes                       Personal                   1/30/2023                1
  EJ9CCKY                  Yes                       Personal                   06/11/2022               1
  NIV1JWA                  Yes                       Personal                   1/30/2023                1
  PHPG5G3                  Yes                       Personal                   07/07/2022               1
  CJFPUMT                  Yes                       Personal                   02/01/2023               1
  2790I5O                  Yes                       Personal                   5/24/2022                1
  90GUF26                  Yes                       Personal                   4/28/2023                1
  4BAQI31                  Yes                       Personal                   02/01/2023               1
  KR94OP7                  Yes                       Personal                   12/15/2022               1
  1ANLC2E                  Yes                       Personal                   1/29/2023                1
  N0ODRA9                  Yes                       Personal                   7/21/2022                1
  8AMFGN0                  Yes                       Personal                   1/13/2023                1
  6R2U6L2                  Yes                       Personal                   1/25/2023                1
  S3EXP96                  Yes                       Personal                   9/25/2022                1
  RCOVB2W                  Yes                       Personal                   05/06/2023               1
  SJVL9IW                  Yes                       Personal                   1/30/2023                1
  80GV6WQ                  Yes                       Personal                   2/13/2023                1
  Y61BG5K                  Yes                       Personal                   4/14/2023                1
  I5HWIA3                  Yes                       Personal                   02/01/2023               1
  GPBJ1EV                  Yes                       Personal                   1/31/2023                1
  HUYE144                  Yes                       Personal                   2/13/2023                1
  WE6QAU0                  Yes                       Personal                   11/14/2022               1
  L5EL4C9                  Yes                       Personal                   10/27/2022               1
  CIXY2Z0                  Yes                       Personal                   9/16/2022                1
  2FDMM0B                  Yes                       Personal                   2/15/2023                1
  3X56XIO                  Yes                       Personal                   1/18/2023                1
  OHG8XP4                  Yes                       Personal                   6/16/2022                1
  DE2OZI0                  Yes                       Personal                   04/02/2022               1
  1LN1VVU                  Yes                       Personal                   02/05/2023               1
  8VAXOJA                  Yes                       Personal                   1/29/2023                1
  5M14SEC                  Yes                       Personal                   8/20/2022                1
  XI31894                  Yes                       Personal                   2/17/2023                1
  M30JJLO                  Yes                       Personal                   4/26/2022                1
  PBCACMY                  Yes                       Personal                   05/02/2022               1
  D4G9OW1                  Yes                       Personal                   05/01/2022               1
  ZKGPZ39                  Yes                       Personal                   12/21/2022               1
  JWSD0PW                  Yes                       Personal                   01/05/2023               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 68 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  8E5950Z                  Yes                       Personal                   4/17/2022                1
  94L0U74                  Yes                       Personal                   5/13/2023                1
  01641L0                  Yes                       Personal                   09/11/2022               1
  AVB42NU                  Yes                       Personal                   1/31/2023                1
  X5PHDT0                  Yes                       Personal                   1/13/2023                1
  ALBGSPS                  Yes                       Personal                   02/10/2023               1
  NFHV1Z5                  Yes                       Personal                   08/11/2022               1
  6IA95P2                  Yes                       Personal                   6/24/2023                1
  XZ8KQ4F                  Yes                       Personal                   2/17/2023                1
  CER33SP                  Yes                       Personal                   02/11/2023               1
  E4HBWN0                  Yes                       Personal                   8/29/2022                1
  VO45NSG                  Yes                       Personal                   1/29/2023                1
  98PSFKT                  Yes                       Personal                   02/01/2023               1
  90O70U4                  Yes                       Personal                   3/22/2023                1
  GZMHDHU                  Yes                       Personal                   12/28/2022               1
  PB4PWJD                  Yes                       Personal                   3/24/2023                1
  Y944WYY                  Yes                       Personal                   6/29/2022                1
  XTQFG9D                  Yes                       Corporate                  11/02/2022               1
  8ZRGGZ6                  Yes                       Personal                   02/03/2023               1
  PWO905N                  Yes                       Personal                   02/01/2023               1
  RRCQBJP                  Yes                       Personal                   04/01/2022               1
  90YBF8I                  Yes                       Personal                   02/09/2023               1
  XTQLO64                  Yes                       Personal                   4/26/2022                1
  LAI4UU4                  Yes                       Personal                   1/30/2023                1
  42L3NM4                  Yes                       Personal                   12/17/2022               1
  VNF7KXT                  Yes                       Personal                   4/20/2023                1
  9BQUKII                  Yes                       Personal                   2/17/2023                1
  7S9Y858                  Yes                       Personal                   1/31/2023                1
  3XKJTDC                  Yes                       Personal                   5/14/2022                1
  WI47WJ0                  Yes                       Personal                   12/28/2022               1
  WQAE4LU                  Yes                       Personal                   06/05/2022               1
  0M0887N                  Yes                       Personal                   04/11/2022               1
  DR53HZC                  Yes                       Personal                   5/30/2022                1
  H6P2E60                  Yes                       Personal                   02/04/2023               1
  D2UL6JW                  Yes                       Personal                   2/14/2023                1
  LNJ3092                  Yes                       Personal                   5/18/2023                1
  CLFFXRE                  Yes                       Personal                   10/31/2022               1
  WFYWZ0J                  Yes                       Personal                   01/12/2023               1
  QRCCF0V                  Yes                       Personal                   4/24/2023                1
  UWLIIJC                  Yes                       Personal                   02/12/2023               1
  D08QPX1                  Yes                       Personal                   5/17/2022                1
  BIYOYKM                  Yes                       Personal                   11/24/2022               1
  LEXK7D9                  Yes                       Personal                   1/30/2023                1
  UD7N9U4                  Yes                       Personal                   04/05/2022               1
  ELZRNF4                  Yes                       Personal                   2/22/2023                1
  ER7BI7N                  Yes                       Personal                   04/04/2022               1
  15DR71G                  Yes                       Personal                   06/04/2022               1
  ISX6XGE                  Yes                       Personal                   1/31/2023                1
  XOPGG3G                  Yes                       Personal                   09/02/2022               1
  SBY4XX7                  Yes                       Personal                   2/14/2023                1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 69 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  J2IF0R8                  Yes                       Personal                   7/19/2022                1
  3MJ6ZUL                  Yes                       Personal                   1/14/2023                1
  XLQEVN2                  Yes                       Personal                   06/09/2023               1
  46VFRO0                  Yes                       Personal                   1/24/2023                1
  VA5MP35                  Yes                       Personal                   1/29/2023                1
  AZZ92Y2                  Yes                       Personal                   02/03/2023               1
  BMB45SY                  Yes                       Personal                   5/25/2022                1
  C32TC7N                  Yes                       Corporate                  05/11/2022               1
  28ELBH5                  Yes                       Personal                   4/18/2022                1
  KYT7MVT                  Yes                       Personal                   04/04/2022               1
  F8P8C6C                  Yes                       Personal                   4/30/2023                1
  8QX2LJQ                  Yes                       Personal                   02/09/2023               1
  AV5790K                  Yes                       Personal                   1/30/2023                1
  V9L0S57                  Yes                       Personal                   2/19/2023                1
  3M17MCU                  Yes                       Personal                   12/08/2022               1
  1PDCMBI                  Yes                       Personal                   2/19/2023                1
  CUU23OY                  Yes                       Personal                   01/11/2023               1
  IPS6WXS                  Yes                       Personal                   1/30/2023                1
  ACHVZUK                  Yes                       Personal                   5/23/2022                1
  0HB06IV                  Yes                       Personal                   4/17/2022                1
  B4H1TSP                  Yes                       Personal                   02/01/2023               1
  0XRIA1P                  Yes                       Personal                   02/12/2023               1
  QPZVCKN                  Yes                       Personal                   12/19/2022               1
  EPEI06Z                  Yes                       Personal                   02/12/2023               1
  RIRK03R                  Yes                       Personal                   1/29/2023                1
  VZHTSW5                  Yes                       Personal                   2/18/2023                1
  V0PGCCY                  Yes                       Personal                   8/22/2023                1
  CGP0N1O                  Yes                       Personal                   1/29/2023                1
  LX7QDBA                  Yes                       Corporate                  12/19/2022               1
  WVI7BRT                  Yes                       Personal                   2/15/2023                1
  561GPNC                  Yes                       Personal                   2/17/2023                1
  WTING9W                  Yes                       Personal                   9/17/2022                1
  YI3YU5Y                  Yes                       Personal                   1/30/2023                1
  BQA70MU                  Yes                       Personal                   1/30/2023                1
  L16ZA5X                  Yes                       Personal                   05/05/2022               1
  OTY9FEF                  Yes                       Personal                   1/30/2023                1
  8MRDMIM                  Yes                       Personal                   2/22/2023                1
  DQ8ZXOJ                  Yes                       Personal                   1/22/2023                1
  3MLVY2G                  Yes                       Personal                   7/21/2022                1
  EAP8AW8                  Yes                       Personal                   4/22/2023                1
  SVVV9LK                  Yes                       Personal                   5/26/2022                1
  80PH5JY                  Yes                       Personal                   02/05/2023               1
  5DABC60                  Yes                       Personal                   1/14/2023                1
  ZGFSJQE                  Yes                       Personal                   1/25/2023                1
  GAH9J7O                  Yes                       Personal                   04/05/2022               1
  CXGY8Q6                  Yes                       Personal                   12/13/2022               1
  TWH76TU                  Yes                       Personal                   09/11/2022               1
  JF6V3MP                  Yes                       Personal                   09/10/2022               1
  FPMRK9D                  Yes                       Personal                   2/26/2023                1
  5R54UDZ                  Yes                       Personal                   06/09/2023               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 70 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  Z1VUSG6                  Yes                       Personal                   02/03/2023               1
  K1EE7YY                  Yes                       Personal                   06/01/2022               1
  0T8YQ80                  Yes                       Personal                   03/05/2023               1
  PPD9FRW                  Yes                       Personal                   2/28/2023                1
  ABMEH0E                  Yes                       Personal                   5/28/2022                1
  FZV8RWU                  Yes                       Personal                   3/16/2023                1
  3D4HQ71                  Yes                       Personal                   1/30/2023                1
  DOR6KLU                  Yes                       Personal                   12/11/2022               1
  C7HE41U                  Yes                       Personal                   05/08/2022               1
  YINAX1Q                  Yes                       Personal                   02/01/2023               1
  PULV5QF                  Yes                       Personal                   6/22/2022                1
  4W0MPIW                  Yes                       Personal                   02/05/2023               1
  EW7996C                  Yes                       Personal                   06/09/2023               1
  THRHMJV                  Yes                       Personal                   1/30/2023                1
  INJ5LB5                  Yes                       Personal                   04/01/2022               1
  6BVNS5B                  Yes                       Personal                   5/31/2022                1
  MZDB63I                  Yes                       Personal                   03/01/2023               1
  K62F592                  Yes                       Personal                   10/24/2022               1
  HB90GT1                  Yes                       Personal                   10/15/2022               1
  8UGTVLZ                  Yes                       Personal                   12/16/2022               1
  38ULOYZ                  Yes                       Personal                   1/30/2023                1
  VHOSYAS                  Yes                       Personal                   02/06/2023               1
  2Y17CLT                  Yes                       Personal                   1/31/2023                1
  IFK1QUY                  Yes                       Personal                   5/29/2022                1
  L6FMGAF                  Yes                       Personal                   1/31/2023                1
  VSI2U5C                  Yes                       Personal                   7/17/2022                1
  KLVJVXU                  Yes                       Personal                   1/30/2023                1
  O1WDSNY                  Yes                       Personal                   8/26/2022                1
  KYAZDY9                  Yes                       Personal                   2/15/2023                1
  9RGMSYA                  Yes                       Personal                   1/30/2023                1
  373BF4G                  Yes                       Personal                   5/29/2022                1
  B5H6L50                  Yes                       Personal                   1/31/2023                1
  MI7R2L7                  Yes                       Personal                   12/18/2022               1
  HRC5TUW                  Yes                       Personal                   05/01/2023               1
  X556O71                  Yes                       Personal                   1/29/2023                1
  3IGBHG0                  Yes                       Personal                   08/01/2022               1
  GZH2LBG                  Yes                       Personal                   2/15/2023                1
  IGB89VM                  Yes                       Personal                   08/10/2022               1
  1PESHLH                  Yes                       Personal                   1/30/2023                1
  AVWTS0V                  Yes                       Personal                   02/11/2023               1
  GVEEVPY                  Yes                       Personal                   02/08/2023               1
  8YLBO1R                  Yes                       Personal                   02/01/2023               1
  GCQL4MZ                  Yes                       Personal                   5/25/2022                1
  UIVDD6Q                  Yes                       Personal                   10/13/2022               1
  ZBGZX2Q                  Yes                       Personal                   06/08/2022               1
  YF6EA9J                  Yes                       Personal                   5/30/2022                1
  FGP1OGL                  Yes                       Personal                   3/20/2023                1
  9HHOBSN                  Yes                       Personal                   5/16/2022                1
  1036RI4                  Yes                       Personal                   2/17/2023                1
  TWDDLKO                  Yes                       Personal                   06/06/2023               1




                                                     Private and Confidential
            Case 1:23-cr-00118-AT Document 209-5 Filed 12/21/23 Page 71 of 71
   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 5.2
Our review of the Relevant Customers' accounts on the HEX Customer Database

  HID                      Corresponding             Account type               Date of creation         Classification of
                           account in the HEX        (Personal / Corporate)     (dates in US format)     customer
                           Customer Database?                                                            ("Tier")
  HB34YYS                  Yes                       Personal                   12/16/2022               1
  GRSFXH4                  Yes                       Personal                   5/13/2022                1
  4FA71UN                  Yes                       Personal                   01/08/2023               1
  ITQY9BE                  Yes                       Personal                   1/23/2023                1
  1NSMER9                  Yes                       Personal                   4/22/2023                1
  BQ0XF2T                  Yes                       Personal                   7/22/2022                1
  9Y16J1Y                  Yes                       Personal                   6/23/2022                1
  9F3RHEU                  Yes                       Personal                   1/30/2023                1
  ASMDRB8                  Yes                       Personal                   4/22/2022                1
  PNOCLHL                  Yes                       Personal                   04/11/2022               1
  SMB29HU                  Yes                       Personal                   1/22/2023                1
  K2OLWOM                  Yes                       Personal                   1/31/2023                1
  OT35DMZ                  Yes                       Personal                   2/22/2023                1
  DYEQQNH                  Yes                       Personal                   05/08/2022               1
  RA8YFZV                  Yes                       Personal                   06/06/2022               1
  YQPXH3E                  Yes                       Personal                   02/01/2023               1
  BTH35ZQ                  Yes                       Personal                   04/01/2022               1
  EJB6N37                  Yes                       Personal                   01/10/2023               1
  ZA4YHPW                  Yes                       Personal                   4/25/2022                1
  L0IPRZ2                  Yes                       Personal                   1/29/2023                1
  3ZAZSBN                  Yes                       Personal                   5/25/2022                1
  19B24N3                  Yes                       Personal                   5/20/2022                1
  IB9N06V                  Yes                       Personal                   9/16/2022                1
  U9F87I4                  Yes                       Personal                   5/28/2023                1
  TEEAANK                  Yes                       Personal                   06/12/2022               1
  5HPPQJQ                  Yes                       Personal                   8/15/2022                1
  PQM8SKQ                  Yes                       Personal                   06/03/2022               1
  5SJ6JMU                  Yes                       Personal                   1/30/2023                1
  H8WO0KO                  Yes                       Personal                   6/18/2022                1
  WVXEL6D                  Yes                       Personal                   02/07/2023               1
  X34OKYC                  Yes                       Personal                   2/18/2023                1
  4A66MOV                  Yes                       Personal                   02/10/2023               1
  OLPSVHF                  Yes                       Personal                   1/29/2023                1
  WCLFY4Q                  Yes                       Personal                   1/24/2023                1
  HSE4ZZY                  Yes                       Personal                   8/18/2022                1
  YPFKIMS                  Yes                       Personal                   4/21/2022                1
  6HQXCZ3                  Yes                       Personal                   1/30/2023                1
  EBBBW3T                  Yes                       Personal                   1/15/2023                1
  BTMBTE9                  Yes                       Personal                   2/25/2023                1




                                                     Private and Confidential
